                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

IOWA PUBLIC EMPLOYEES’ RETIREMENT
                                                          No. 17 Civ. 6221 (KPF)
SYSTEM; LOS ANGELES COUNTY EMPLOYEES
RETIREMENT ASSOCIATION; ORANGE
                                                          AMENDED CLASS ACTION
COUNTY EMPLOYEES RETIREMENT SYSTEM;
                                                          COMPLAINT
SONOMA COUNTY EMPLOYEES’ RETIREMENT
ASSOCIATION; and TORUS CAPITAL, LLC, on
                                                          JURY TRIAL DEMANDED
behalf of themselves and all others similarly situated,

             Plaintiffs,

                             - against -

BANK OF AMERICA CORPORATION; MERRILL
LYNCH, PIERCE, FENNER & SMITH
INCORPORATED; MERRILL LYNCH L.P.
HOLDINGS, INC.; MERRILL LYNCH
PROFESSIONAL CLEARING CORP.; CREDIT
SUISSE AG; CREDIT SUISSE GROUP AG;
CREDIT SUISSE SECURITIES (USA) LLC;
CREDIT SUISSE FIRST BOSTON NEXT FUND,
INC.; CREDIT SUISSE PRIME SECURITIES
SERVICES (USA) LLC; THE GOLDMAN SACHS
GROUP, INC.; GOLDMAN, SACHS & CO. LLC;
GOLDMAN SACHS EXECUTION & CLEARING,
L.P.; J.P. MORGAN CHASE & CO.; J.P. MORGAN
SECURITIES LLC; J.P. MORGAN PRIME, INC.;
J.P. MORGAN STRATEGIC SECURITIES
LENDING CORP.; J.P. MORGAN CHASE BANK,
N.A.; J.P. MORGAN INSTITUTIONAL
INVESTMENTS INC.; MORGAN STANLEY;
MORGAN STANLEY CAPITAL MANAGEMENT,
LLC; MORGAN STANLEY & CO. LLC; MORGAN
STANLEY DISTRIBUTION, INC.; PRIME DEALER
SERVICES CORP.; STRATEGIC INVESTMENTS I,
INC.; UBS GROUP AG; UBS AG; UBS AMERICAS
INC.; UBS SECURITIES LLC; UBS FINANCIAL
SERVICES INC.; UBS INVESTMENT BANK; UBS
ASSET MANAGEMENT (US) INC.; UBS FUND
SERVICES (USA) LLC; EQUILEND LLC;
EQUILEND EUROPE LIMITED; and EQUILEND
HOLDINGS LLC,

             Defendants.
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       Plaintiffs Iowa Public Employees’ Retirement System (“IPERS”); Los Angeles County

Employees Retirement Association (“LACERA”); Orange County Employees Retirement

System (“OCERS”); Sonoma County Employees’ Retirement Association (“SCERA”); and

Torus Capital, LLC (“Torus”) (collectively, “Plaintiffs”), individually and on behalf of all

persons and entities who from January 7, 2009, through the present (the “Class Period”) entered

into stock loan transactions with Bank of America, Goldman Sachs, Morgan Stanley, Credit

Suisse, JP Morgan, or UBS (collectively, the “Prime Broker Defendants”) in the United States,

bring this antitrust class action for treble damages and injunctive relief and allege as follows:

                                OVERVIEW OF THE ACTION

       1.      To paraphrase Tolstoy, all efficient markets resemble one another, but each

inefficient market is inefficient in its own way. This case concerns the “stock loan” or “stock

lending” market, which is an inefficient, antiquated, and opaque over-the-counter (“OTC”)

trading market artificially dominated by a handful of large prime broker banks. As set forth

herein, these banks (the “Prime Broker Defendants”) conspired to keep the stock loan market

frozen in this inefficient state to preserve their collective market control and dominance.

       2.      The stock loan market is one of the largest and most important financial markets

in the world. Stock lending is the temporary transfer of stock from one investor to another. In

exchange for cash or noncash collateral and subject to the payment of a “borrowing fee,” the

owner of shares lends (technically, temporarily sells) its stock to the borrower, which in turn

holds the stock for a period of time and then returns the equivalent stock to the lender at the end

of the “borrowing” period.

       3.      Stock lending plays a vital role in maintaining the liquidity of financial markets.

It improves the performance of institutional investors who buy and hold large quantities of shares

of publicly traded companies by allowing them to earn a return on their investments while


                                                  1
holding a stable interest in the company. Stock lending also facilitates a practice known as

“short selling.” Short selling is a trading strategy that involves the sale of a stock that the seller

does not own. For most short sales, the seller must “borrow” the stock from an entity that owns

the stock (the “beneficial owner”) in order to cover the short sale. Selling short without

borrowing stock is like kiting checks—it trades on assets that the trader does not possess at the

time of the trade. Stock lending goes hand in hand with most short selling that occurs in the

United States equities markets today.

        4.      Despite the size and importance of the stock loan market, however, relatively little

is known about this market because transactions are usually only visible to the two parties

directly involved.”1 The stock loan market remains one of the most closed, inefficient, and

opaque major financial markets in the world. Market observers describe stock lending as a

trillion-dollar “mother of all dark pools.”2

        5.      There is no good reason why this market remains so opaque and inefficient.

Stocks themselves trade in a transparent fashion on exchanges like the New York Stock

Exchange that are open widely to market participants. In the stock loan market, by contrast,

there is no central marketplace for stock loan transactions. Borrowers and lenders have no way

to transact with each other or to see the prices paid on both sides of the market. They must

instead transact through intermediaries, which are almost always the Prime Broker Defendants.

        1
           Adam C. Kolasinski, et al., A Multiple Lender Approach to Understanding Supply and
Search in the Equity Lending Market, 68:2 J. OF FIN. 559, 559-60 (2013) (observing that “[t]he
general dearth of empirical research on the equity lending market is inherently linked to its
opacity”).
        2
           Terry Flanagan, Securities Lending: A $2 Trillion ‘Dark Pool,’ MARKETS MEDIA
(Apr. 17, 2015), http://marketsmedia.com/securities-lending-a-2-trillion-dark-pool/. A “dark
pool” is a private exchange or trading venue that, unlike public exchanges, does not publish price
quotations and is therefore opaque or “dark,” as customers have little visibility as to price or
market conditions.



                                                   2
These banks sit in the middle of nearly all stock loan transactions and take a massive cut of

almost every single trade, while keeping the size of that cut largely hidden from other

participants to the transaction.

       6.      Essentially, the Prime Broker Defendants act as “exclusive matchmakers” for

stock lenders and stock borrowers on every trade. If an investor, for example, wants to borrow a

stock to facilitate a short sale, it must contact its broker-dealer. The broker will locate or acquire

the stock from an entity that owns the stock, and the broker will then quote the investor a price

for the trade. For their matchmaking services, which involve very little risk, the Prime Broker

Defendants take approximately 65% of the gross revenues generated each year in the stock loan

market, amounting to more than $9 billion annually—far more than the returns paid to any other

market participant, including the beneficial owners of the stock being lent.

       7.      Borrowers and lenders of stock, who are the members of the proposed Class in

this case, would benefit greatly from greater transparency, efficiency, and competition in the

stock loan market. Since the early 2000s, there has been significant demand from borrowers and

lenders for electronic platforms that would allow them to execute stock loan trades at lower costs

and with better returns.

       8.      Several financial technology companies developed and introduced solutions that

respond to this demand. These companies include Quadriserv/AQS, SL-x, and Data Explorers.

Each of them drew from their founders’ deep experience in financial markets and invested

substantial money, time, and ingenuity to bring to market viable platforms that would greatly

increase transparency and trading efficiency in the stock loan market, for the benefit of

borrowers and lenders alike. Each fell victim to a cartel organized by the Prime Broker




                                                  3
Defendants that conspired to boycott these companies, shut them down, and eliminate them as

threats.

           9.    Quadriserv/AQS and SL-x both developed electronic trading platforms on which

stock loan trades could be executed and centrally cleared at transparent prices.3 These

companies strongly believed that such platforms were a natural step in the evolution of the stock

loan market, and many in the industry (including some within the Prime Broker Defendants’ own

banks) agreed. It is well-established in the academic and empirical literature that trading and

clearing on electronic platforms improves the efficiency of financial markets and improves price

terms for investors. In both cases, however, the Prime Broker Defendants met this threat by

organizing a group boycott of the platforms to starve them of liquidity. They also took parallel

steps to pressure others in the market not to use the platforms and to penalize those who did.

           10.   Through their coordinated actions, the Prime Broker Defendants decimated the

platforms, leaving them struggling to stay afloat. At that point, the Prime Broker Defendants

swooped in, using their ownership and influence over Defendant EquiLend, a vehicle for their

conspiracy, to acquire the crippled platforms. Having bought the platforms, the Prime Broker

Defendants then shut them down and shelved their innovative technology so no one would ever

be able to use it to threaten their stranglehold on the market.. The Prime Broker Defendants used

similar methods to prevent a third company—Data Explorers, which intended to increase market

transparency by offering real-time pricing data to borrowers and lenders—from gaining a

           Central clearing virtually eliminates counterparty risk by interposing a “clearinghouse”
           3

between the two counterparties to the loan. The clearinghouse becomes the borrower to every
lender and the lender to every borrower. In the event one party fails to meet its obligations, the
clearinghouse steps in and assumes the obligation. The clearinghouse maintains sufficient
capital to stand behind every trade it clears. By doing so, the clearinghouse creates a more
efficient market and mitigates systemic risk, allowing borrowers and lenders to trade without
concern of counterparty default.



                                                 4
foothold in the market. This coordinated interference, over seven years, allowed the Prime

Broker Defendants to maintain their role as intermediaries in a market that otherwise was rapidly

evolving toward an electronic exchange-based model.

       11.     The Prime Broker Defendants’ conduct was primarily driven by Defendants

Goldman Sachs and Morgan Stanley. These are the two largest prime brokers in the market,

with the most to lose if the market becomes more open and transparent. As detailed below, from

time to time, senior personnel from these two banks met in person, one-on-one, to reach

agreement on how to protect their dominant market position as the “gatekeepers” of all stock

loan trading. This complaint details the dates and attendees of some of these meetings, along

with the subject matter of the agreements reached at these meetings. To be clear, the fact of

these illicit meetings is not a matter of inference. They are known to have actually occurred.

       12.     To ensure their agreements to boycott and squash the new platforms would be

effective, Goldman Sachs and Morgan Stanley recruited the other Prime Broker Defendants to

join their scheme, including certain banks that were initially receptive to the new platforms.

Goldman Sachs and Morgan Stanley recruited the other Prime Broker Defendants primarily

through Defendant EquiLend, which is a “dealer consortium” that gave the Prime Broker

Defendants a convenient excuse for meeting and coordinating their conduct in the stock loan

market. All of the Prime Broker Defendants were board members of EquiLend, and they agreed

that they would not act individually in the stock loan market, but would instead coordinate their

actions in the market to protect their collective market dominance.

       13.     The masterminds and chief coordinators of the Defendants’ conspiracy were high-

ranking principals at the Prime Broker Defendants. These individuals used a variety of known

forums and channels to communicate with one another to plot and carry out the conspiracy,




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including EquiLend, private dinners, and phone conversations. Such communications, and the

forums and channels through which they took place, were entirely different—and increasingly

so—in their content and purpose from the communications that brokers routinely have with one

another in the ordinary course of the prime brokerage business on a trading desk, such as

discussions to locate shares for borrowing. The communications and coordination among these

principals in furtherance of the conspiracy were not a necessary part of the Prime Broker

Defendants’ everyday broker activities, and could not possibly be mistaken as a necessary part of

those activities.

        14.     Remarkably, in numerous private conversations, multiple personnel from the

Prime Broker Defendants used the same phrasing to describe the stock loan operations of the

Prime Broker Defendants collectively. Specifically, these personnel characterized the Prime

Broker Defendants as “the five families” of the stock loan market—a reference to the five major

New York City organized crimes families of the Italian American Mafia.4 For example, during a

February 26, 2013 meeting with SL-x executives, one Credit Suisse director who was also an

EquiLend board member explained that EquiLend was like “the mafia run by five crime

families,” and proceeded to explain that, as a result, nothing would happen in the market with

regard to SL-x’s platform unless the Prime Broker Defendants jointly allowed it to happen.

        15.     On April 10, 2014, Credit Suisse managing director Shawn Sullivan

recommended “get[ting] all the members of the five families together” to discuss AQS and

related stock loan issues that had emerged in the wake of a recent regulatory development. On

another occasion, the head of securities lending at Bank of America similarly expressed an intent


        4
          See Five Families, WIKIPEDIA, https://en.wikipedia.org/wiki/Five_Families (last
visited Nov. 16, 2017).



                                                6
to convene a meeting of “the five families.” The fact that multiple Prime Broker Defendants

used the same mafia reference to describe themselves collectively shows that they knew they had

formed an illegal cartel. Indeed, it indicates they were proud of it.

       16.     Emails, records of Bloomberg chats, and other electronic messages exchanged

among EquiLend members reflecting the collusive agreement among the Prime Broker

Defendants exist today on the servers of EquiLend and the Prime Broker Defendants who were

its owners. These communications indicate that EquiLend representatives, including CEO Brian

Lamb, had been instructed not to “break rank” and not to take independent actions in the

marketplace until the “EquiLend banks” determined as a group whether they would support any

of the new platforms.

       17.     JP Morgan Managing Director John Shellard admitted during a private meeting

with SL-x executives on August 7, 2013 the existence of a “general agreement among Directors”

of EquiLend “that industry advances should be achieved from within EquiLend,” and a senior

Credit Suisse executive told SL-x executives that “we are only going to do this through

EquiLend.” Brad Levy, Global Head of Goldman Sachs’ Principal Strategic Investments Group,

was even more direct, telling SL-x executives: “You ain’t going to get this done.”

       18.     Time and again, SL-x executives were told privately and in confidence by other

market participants (including large stock lending agents BNY Mellon, State Street, and

Northern Trust) that the Prime Broker Defendants stood between interested customers and the

SL-x platform. In one such meeting on October 12, 2012, Andrew Clayton, Global Head of

Securities Lending at Northern Trust, explained that Northern Trust would like to support SL-x,

but could not do so without the approval of Goldman Sachs. In another instance, BNY Mellon

(then Bank of New York) agreed to extend a $50 million line of credit and to participate actively




                                                  7
on AQS, but abruptly withdrew its support after it was threatened by Goldman Sachs with a

complete loss of further stock loan business from Goldman Sachs.

       19.     Similarly, Morgan Stanley’s European Prime Brokerage Desk threatened its

hedge fund clients with the loss of critical prime brokerage services if they were to “trade away”

their stock lending business to venues such as SL-x. Hedge funds including Renaissance

Technologies, D.E. Shaw, Millennium Management, and SAC Capital were all threatened by

Prime Broker Defendants with retaliation if they moved their stock lending business to AQS.

       20.     The Prime Broker Defendants’ parallel refusals to do business, and their issuance

of common threats to others in the marketplace, had their intended effect. SL-x ran out of

funding by September 2014, forcing it to shut down its platform. The Prime Broker Defendants

then used EquiLend to swoop in and purchase the intellectual property of SL-x (including several

valuable technology patents) when Palamon Capital Partners (the owner of SL-x) looked for

buyers in 2015. Rather than capitalize on this technology for revenue-generating purposes, they

buried it—having acquired it solely for the anticompetitive purpose of keeping it off the market.

       21.     Thus, by late 2015, the Prime Broker Defendants had neutralized the threat from

SL-x. But they began to fear that their collective boycott of Quadriserv/AQS had not been

sufficient to eliminate the threat that platform posed to their control of the market. Goldman

Sachs’ William Conley and Morgan Stanley’s Global Head of Bank Resource Management,

Thomas Wipf, met in person to discuss options. Over a series of private meetings and dinners

(paid for by Mr. Wipf) held in New York City, these two executives reached an explicit

agreement (which, predictably, was later joined by the other Prime Broker Defendants) that the

Prime Broker Defendants would use EquiLend to purchase AQS and bury it, just as they had

done with SL-x. By killing AQS (and the ability of any other market participants to access the




                                                8
platform), the Prime Broker Defendants would remain the exclusive “gateway” through which

all stock loan transactions must pass, subject as always to their extortionate fees. Mr. Conley

and Mr. Wipf gave their plan the apt name of “Project Gateway.”

        22.    With the agreement reached by January 2016, Mr. Wipf reported the details of

this agreement to his Morgan Stanley colleagues internally on a “pipeline call.” On this call, Mr.

Wipf stated that he and Mr. Conley had met and agreed that it was time for both institutions to

“get a hold of this thing”—referring specifically to AQS. Mr. Wipf informed the group that

Goldman Sachs and Morgan Stanley had agreed to launch Project Gateway, whose main purpose

was to use EquiLend to acquire the assets of AQS, to take control of its operations, and to shut it

down.

        23.    The plan succeeded. On July 31, 2016, the Prime Broker Defendants, through

EquiLend, acquired the assets of AQS. As the Prime Broker Defendants planned and intended,

by their joint action, they control all “gateways” to central clearing for stock lending. The

market remains frozen in time, and the Prime Broker Defendants continue to dominate an

inefficient and opaque, OTC market.

        24.    The Prime Broker Defendants similarly used EquiLend to force Data Explorers

out of the market. Data Explorers posed a competitive threat to the Prime Broker Defendants

because it threatened to give borrowers and lenders the pricing transparency they lacked in the

OTC market. Data Explorers had signed up borrowers, lenders, and brokers to its data products,

and the Prime Broker Defendants were terrified that Data Explorers was on the verge of allowing

borrowers to access “wholesale” stock lending data—that is, data showing what beneficial

owners were paid by prime brokers for lending their stock—and vice versa. The Prime Broker

Defendants feared that, if borrowers and lenders saw what their counterparties were paying, they




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would use competition to reduce the Prime Broker Defendants’ outsized intermediary profits. In

the words of Goldman Sachs’ Conley, if wholesale data were revealed to retail customers, “it

will kill our business.”

       25.     The Prime Broker Defendants collectively decided that they could not tolerate a

fully independent entity with access to all market participants’ data. They coordinated a multi-

pronged strategy. First, they each set out to deter their customers from signing up for Data

Explorers, arguing (falsely) that its data was inaccurate. Second, they set up a new unit within

EquiLend—DataLend—that would replicate Data Explorers’ products. Unlike Data Explorers,

however, the Prime Broker Defendants would have complete control over DataLend’s board, and

therefore its product offerings. DataLend’s explicit goal, as EquiLend CEO Brian Lamb told a

number of Data Explorers customers, was to “kill” Data Explorers. The Prime Broker

Defendants promptly signed contracts with DataLend, each specifying that the data it collected

could be aggregated and reported to Prime Broker Defendants but never given to borrowers or

lenders.

       26.     The keystone of the Prime Broker Defendants’ plan was to cut off Data

Explorers’ access to wholesale price data from agent lenders. If the Prime Broker Defendants

could monopolize access to price data for even one side of the stock loan market, they could

ensure borrowers and lenders would never be able to put their data together and seriously

compress dealer spreads. So they targeted a handful of major agent lenders who aggregate

supply for the vast majority of stock loan trades and sought to cut them off from Data Explorers.




                                                10
       27.     DataLend offered the agent lenders essentially the same information they were

getting from Data Explorers, but for low or no cost.5 DataLend offered to provide the

information agent lenders had previously been paying Data Explorers upwards of a million

dollars a year, for almost nothing. The only catch was that DataLend would never provide agent

lenders—or anyone else—with the cross-market wholesale-to-retail transparency that would

allow borrowers and lenders to negotiate dramatically lower spreads with the Prime Broker

Defendants. DataLend quickly signed up all the major agent lenders, undermining Data

Explorers’ agent lender revenues and thus sabotaging its ability to transform the stock loan

market.

       28.     If EquiLend were an independent, profit-seeking firm rather than a screen for the

Prime Broker Defendants’ conspiracy, it would not have offered its data to agent lenders for free

or almost-free. Indeed, the agent lenders should have been some of DataLend’s best customers,

as they were for Data Explorers. But EquiLend did not care about maximizing the value of its

customers; it only cared about protecting the Prime Broker Defendants’ business.

       29.     As a result of their collusion to boycott and squash market entrants, the Prime

Broker Defendants secured their role as permanent toll collectors on every stock loan

transaction—to the detriment of all other market participants and the United States economy as a

whole. The principal victims are the class members in this case, who receive less favorable

financial terms on every transaction and whose trading volume and ability to negotiate prices is

artificially restricted by the bottleneck and information opacity imposed by the Prime Broker




       5
          DataLend was provided to EquiLend members—including each of the major agent
lenders except BNY Mellon—at no additional cost.



                                                11
Defendants. Put simply, the Prime Broker Defendants both raised prices on market participants

and reduced output in the stock loan market—the hallmarks of anticompetitive activity.

       30.     This lawsuit is brought under the federal antitrust laws to address the “supreme

evil of antitrust”: collusion among companies that are supposed to compete.6 Free-market

competition is, and has long been, the fundamental economic policy of the United States. As the

Supreme Court has explained, this policy is enshrined in the Sherman Act, which makes it per se

illegal for competitors (like Defendants here) to conspire and coordinate with each other to limit

competition in the marketplace.7 Absent legal action like this case, the Prime Broker

Defendants’ stranglehold over the stock loan market will persist—to the detriment of Plaintiffs,

the class members, and the United States economy as a whole.

                                 JURISDICTION AND VENUE

       31.     Plaintiffs bring this action under Sections 4 and 16 of the Clayton Act, 15 U.S.C.

§§ 15 and 26, to recover treble damages and costs of suit, including reasonable attorneys’ fees,

against Defendants for the injuries to Plaintiffs and the Class, alleged herein, arising from

Defendants’ violations of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       32.     The Court has subject matter jurisdiction over this action pursuant to Sections 4

and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26, as well as pursuant to 28 U.S.C. §§ 1331

and 1337(a).



       6
           Verizon Commc’ns v. Law Offices of Curtis V. Trinko, 540 U.S. 398, 408 (2004).
       7
          See N. Pac. Ry. Co. v. U.S., 356 U.S. 1, 4 (1958) (“The Sherman Act was designed to
be a comprehensive charter of economic liberty aimed at preserving free and unfettered
competition as the rule of trade. It rests on the premise that the unrestrained interaction of
competitive forces will yield the best allocation of our economic resources, the lowest prices, the
highest quality and the greatest material progress, while at the same time providing an
environment conducive to the preservation of our democratic political and social institutions.”).



                                                 12
        33.     Defendants’ activities, and those of their co-conspirators, were within the flow of,

were intended to, and had a substantial effect on interstate commerce.

        34.     The Court has jurisdiction over Defendants pursuant to the nationwide contacts

test provided for by 15 U.S.C. § 22. Most Defendants are subject to personal jurisdiction in the

United States because they were formed in or have their principal places of business in the

United States. The other Defendants are members of the conspiracy and are subject to personal

jurisdiction in the United States because the conspiracy was directed at, carried out in substantial

part in, and had the intended effect of, causing injury to Plaintiffs and class members residing in,

located in, or doing business throughout the United States. For example, Defendants directly

conspired through and with EquiLend, whose principal place of business is in New York City.

By way of another example, the conspiracy involved boycotting AQS, a platform located in New

York City. They also met and conspired at EquiLend Board of Directors meetings in New York

City and elsewhere, including at private dinners in New York City.

        35.     Defendants are also subject to personal jurisdiction because each, either directly

or through its respective agents or affiliates, transacted business throughout the United States,

including in this District, that was directly related to the claims at issue in this action.

Specifically, the stock loans at issue were regularly traded through the desks of the Prime Broker

Defendants located in New York City. The Prime Broker Defendants are also subject to personal

jurisdiction here because their affiliates conducted stock lending in the United States as their

agents, and if they did not, the Prime Broker Defendants would have to have made those trades

themselves.

        36.     Additionally, the Court has jurisdiction over most Defendants because they have

their principal place of business in New York State.




                                                   13
        37.      The Court also has jurisdiction over Defendants pursuant to N.Y. C.P.L.R. § 302,

because Defendants transact business in New York State; Defendants had substantial contacts

with New York State; Defendants committed overt acts in furtherance of Defendants’ conspiracy

in New York State; each Defendant is an agent of the other Defendants; Defendants’ conspiracy

was directed at, and had the intended effect of, causing injury to persons residing in, located in,

or doing business in New York State; and Defendants own, use, or possess real property in New

York State.

        38.      Venue is proper in this District pursuant to 15 U.S.C. §§ 15(a) and 22, because all

Defendants are found or transact business in this District.

        39.      Venue is also proper pursuant to 28 U.S.C. § 1391(b), (c), and (d), because during

the relevant period all Defendants resided, transacted business, were found, or had agents in this

District; a substantial part of the events or omissions giving rise to these claims occurred in this

District; and a substantial portion of the affected interstate trade and commerce discussed herein

was carried out in this District.

                                             PARTIES

        A.       Plaintiffs

        40.      Plaintiff Iowa Public Employees’ Retirement System (“IPERS”) was founded by

the Iowa Legislature in 1953. Its primary purposes are “to provide a secure core retirement

benefit to Iowa’s current and former public employees, as well as attracting and retaining quality

public service employees.”8 IPERS has over $31 billion in assets, collects over $1 billion in

contributions every year, and pays nearly $2 billion in retirement, death, and disability benefits


        8
             IPERS’ History, IPERS, https://www.ipers.org/about-us/ipers-history (last visited Nov.
16, 2017).



                                                 14
every year. It has 350,000 members and beneficiaries. Between 2009 and the present, IPERS

has lent significant volumes of stock to the Prime Broker Defendants and their stock borrower

clients.

           41.   Plaintiff Los Angeles County Employees Retirement Association (“LACERA”) is

a public pension fund organized under California’s County Employee Retirement Law of 1937,

Cal. Gov’t Code §§ 31450 et seq., with its principal place of business in Pasadena, California.

LACERA has provided retirement, disability, and death benefits to eligible County employees,

retirees, and their beneficiaries since 1938. As of June 30, 2016, LACERA had over 165,000

members and held net assets in trust for pension benefits totaling $53.8 billion. Between 2009

and the present, LACERA has lent significant volumes of stock to the Prime Broker Defendants

and their stock borrower clients.

           42.   Plaintiff Orange County Employees Retirement System (“OCERS”) is organized

under California’s County Employee Retirement Law of 1937, Cal. Gov’t Code §§ 31450 et seq.,

and has been providing retirement, death, disability, and cost-of-living benefits to employees of

Orange County and certain districts for over 70 years. OCERS has over $14 billion in assets.

Between 2009 and the present, OCERS has lent significant volumes of stock to the Prime Broker

Defendants and their stock borrower clients.

           43.   Plaintiff Sonoma County Employees’ Retirement Association (“SCERA”) is

organized under California’s County Employee Retirement Law of 1937, Cal. Gov’t Code

§§ 31450 et seq., and provides benefits to thousands of employees of Sonoma County and has

assets of approximately $2.4 billion. Between 2009 and the present, SCERA has lent significant

volumes of stock to the Prime Broker Defendants and their stock borrower clients. SCERA has

also borrowed significant volumes of stock from its prime broker, Defendant Credit Suisse.




                                                15
           44.   Plaintiff Torus Capital, LLC (“Torus”) is a proprietary trading firm with its

headquarters in Greenwich, Connecticut. Between 2009 and the present, Torus has borrowed

significant volumes of stock from Prime Broker Defendants Goldman Sachs and Bank of

America.

           B.    Defendants

           45.   Whenever reference is made to any act, deed, or transaction of any entity, the

allegation means that the corporation engaged in the act, deed, or transaction by or through its

subsidiaries, affiliates, officers, directors, agents, employees, or representatives while they were

actively engaged in the management, direction, control, or transaction of the entity’s business or

affairs.

           46.   Bank of America Defendants. Defendant Bank of America Corporation

(“BAC”) is a corporation organized and existing under the laws of the State of Delaware, with its

principal place of business in Charlotte, North Carolina. Until sometime after BAC’s 2009

acquisition of Merrill Lynch & Co., BAC offered prime brokerage services through its subsidiary

Banc of America Securities LLC, a limited liability company organized under the laws of the

State of Delaware with its principal place of business in New York, New York. Banc of

America Securities LLC merged into Defendant Merrill Lynch, Pierce, Fenner & Smith

Incorporated, effective November 1, 2010.

           47.   On January 1, 2009, BAC acquired Merrill Lynch & Co., Inc. and its subsidiaries.

Defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated (“MLPFS”) is a corporation

organized and existing under the laws of the State of Delaware with its principal place of

business in New York, New York. It is a wholly-owned subsidiary of BAC. MLPFS is

registered as a broker-dealer with the U.S. Securities and Exchange Commission (“SEC”), and is

a clearing Member of the OCC.


                                                  16
       48.     Defendant Merrill Lynch Professional Clearing Corp. (“MLPCC”) is a

corporation organized and existing under the laws of the State of Delaware, with its principal

place of business in New York, New York. MLPCC is registered as a broker-dealer with the

SEC, and is a clearing Member of the OCC.

       49.     Defendant Merrill Lynch L.P. Holdings, Inc. (“MLLPH”) is a corporation

organized and existing under the laws of the State of Delaware, with its principal place of

business in New York, New York. It is a subsidiary of BAC. MLLPH is a part owner of

EquiLend through Defendant EquiLend Holdings LLC.

       50.     As used herein, the term “Bank of America” includes Defendants BAC, MLPFS,

MLPCC, MLLPH, and their parents, subsidiaries, and affiliates (including Banc of America

Securities LLC). During the Class Period, Bank of America directly engaged in stock lending

transactions with class members. Bank of America agreed with the other Defendants to boycott

AQS and SL-x (and then acquire them) and thwart Data Explorers. During the Class Period,

Bank of America was a co-owner of EquiLend and Bank of America employees served on

EquiLend’s Board of Directors in, at least, 2012, 2013, 2014, 2015, 2016, and 2017.9 Bank of

America employees served on the OCC’s Board of Directors in 2008, 2009, 2010, 2011, 2012,

2013, 2014, 2015, 2016, and 2017 and on the Depository Trust Clearing Corporation’s

(“DTCC”) Board of Directors in 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017.

       51.     Bank of America regularly transacts business in and has substantial contacts with

New York, New York. For instance, one of Bank of America’s largest branch offices is located

at the “Bank of America Tower,” in New York, New York. According to BAC’s website, it has


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          Information about EquiLend’s Board of Directors prior to 2012 is not currently
publicly accessible.



                                                17
at least 50 financial centers or ATMs in New York, New York. BAC also has many direct and

indirect subsidiaries in New York, New York, and offered prime brokerage services through

those subsidiaries in New York, New York, during the relevant period. As discussed above,

MLLPH, MLPCC, and MLPFS each have their principal place of business in New York, New

York. MLLPH, MLPCC, and MLPFS each engaged in stock lending transactions with class

members in New York, New York during the relevant period. In addition, BAC also engaged in

stock lending transactions with class members in New York, New York (either directly or

through affiliates and agents) during the relevant period.

       52.     Credit Suisse Defendants. Defendant Credit Suisse Group AG (“CSG”) is a

corporation organized and existing under the laws of Switzerland, with its principal place of

business in Zurich, Switzerland. Defendant Credit Suisse AG (“CS”) is a corporation organized

and existing under the laws of Switzerland with its principal place of business in Zurich,

Switzerland. It is a wholly-owned subsidiary of CSG.

       53.     Defendant Credit Suisse Securities (USA) LLC (“CSSUS”) is a limited liability

company organized and existing under the laws of the State of Delaware, with its principal place

of business in New York, New York. CSSUS is a wholly-owned subsidiary of CS, and thus

ultimately of CSG. CSSUS is registered as a broker-dealer with the SEC, and is a clearing

Member of the OCC.

       54.     Defendant Credit Suisse Prime Securities Services (USA) LLC (“CSPSS”) is a

limited liability company organized and existing under the laws of the State of Delaware, with its

principal place of business in New York, New York. CSPSS is registered as a broker-dealer with

the SEC.




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          55.      Defendant Credit Suisse First Boston Next Fund, Inc. (“CSFBNF”) is a

corporation organized and existing under the laws of the State of Delaware, with its principal

place of business in New York, New York. It is a wholly-owned subsidiary of CS, and thus

ultimately of CSG. CSFBNF is a part owner of EquiLend through Defendant EquiLend

Holdings LLC.

          56.      As used herein, the term “Credit Suisse” includes Defendants CSG, CS, CSSUS,

CSPSS, CSFBNF, and their parents, subsidiaries, and affiliates. Credit Suisse transacts business

in New York, New York. During the Class Period, Credit Suisse, directly or through its affiliate

agents, engaged in securities lending with class members. Credit Suisse agreed with the other

Defendants to boycott AQS and SL-x (and then acquire them) and thwart Data Explorers.

During the Class Period, Credit Suisse was a co-owner of EquiLend and Credit Suisse employees

served on EquiLend’s Board of Directors in, at least, 2012, 2013, 2014, 2015, 2016, and 2017.10

In addition, CS was engaged in discussions and signed a non-disclosure agreement with SL-x

prior to Defendants’ implementation of the boycott.

          57.      Credit Suisse regularly transacts business in and has substantial contacts with

New York, New York. For instance, in their 2016 Annual Report, CS and CSG listed their main

office in the Americas as being located in New York, New York.11 CS is registered to do

business in New York, has direct and indirect subsidiaries in New York, New York, and in 2016,

all 105 of CS’s U.S.-based employees were located in New York, New York. As discussed

above, CSSUS, CSPSS, and CSFBNF each have their principal place of business in New York,


           Information about EquiLend’s Board of Directors prior to 2012 is not currently
          10

publicly accessible.
          11
                See Credit Suisse Group AG & Credit Suisse AG, Annual Report 2016, at A-12
(2017).



                                                    19
New York. CSSUS and CSPSS engaged in stock lending transactions with class members in

New York, New York during the relevant period. In addition, CSG, CS, and CSFBNF also

engaged in stock lending transactions with class members in New York, New York (either

directly or through affiliates and agents) during the relevant period.

       58.     Goldman Sachs Defendants. Defendant The Goldman Sachs Group, Inc.

(“GSG”) is a corporation organized and existing under the laws of the State of Delaware, with its

principal place of business in New York, New York. GSG is a direct part owner of EquiLend

through Defendant EquiLend Holdings LLC.

       59.     Defendant Goldman Sachs & Co. LLC (“GSC”) is a corporation organized and

existing under the laws of the State of Delaware, with its principal place of business in New

York, New York. GSC is a wholly-owned subsidiary of GSG, is registered as a broker-dealer

with the SEC, and is a clearing Member of the OCC.

       60.     Defendant Goldman Sachs Execution & Clearing, L.P. (“GSEC”) is a Limited

Partnership organized and existing under the laws of the State of Utah, with its principal place of

business in New York, New York. GSEC is or was until recently a wholly-owned subsidiary of

GSG, is registered as a broker-dealer with the SEC, and engaged in prime brokerage services in

the United States before transferring its brokerage services to GSC in 2016.

       61.     As used herein, the term “Goldman Sachs” includes Defendants GSG, GSC,

GSEC, and their parents, subsidiaries, and affiliates. During the Class Period, Goldman Sachs,

itself and through its affiliate agents, directly engaged in securities lending transactions with

class members. Goldman Sachs agreed with the other Defendants to boycott AQS and SL-x (and

then acquire them) and thwart Data Explorers. During the Class Period, Goldman Sachs was a

co-owner of EquiLend and Goldman Sachs employees served on EquiLend’s Board of Directors




                                                 20
in, at least, 2012, 2013, 2014, 2015, 2016, and 2017.12 Goldman Sachs employees served on the

OCC’s Board of Directors in 2008, 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017

and on DTCC’s Board of Directors in 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and

2017.

        62.    Goldman Sachs regularly transacts business in and has substantial contacts with

New York, New York. As discussed above, GSG, GSC, and GSEC each have their principal

place of business in New York, New York. GSC and GSEC engaged in stock lending

transactions with class members in New York, New York during the relevant period. In

addition, GSG also engaged in stock lending transactions with class members in New York, New

York (either directly or through affiliates and agents) during the relevant period.

        63.    JP Morgan Defendants. Defendant J.P. Morgan Chase & Co. (“JPMC”) is a

corporation organized and existing under the laws of the State of Delaware, with its principal

place of business in New York, New York.

        64.    Defendant J.P. Morgan Securities LLC (“JPMS”) (formerly known as “J.P.

Morgan Securities Inc.”) is a limited liability company organized and existing under the laws of

the State of Delaware, with its principal place of business in New York, New York. JPMS is

registered as a broker-dealer with the SEC, and is a clearing Member of the OCC. JPMS is also

the successor in interest to J.P. Morgan Clearing Corp., itself a successor to Bear Stearns

Securities Corp. Both J.P. Morgan Clearing Corp. and Bear Stearns Securities Corp. were

engaged in prime brokerage services in the United States, and were part owners of EquiLend




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           Information about EquiLend’s Board of Directors prior to 2012 is not currently
publicly accessible.



                                                 21
through Defendant EquiLend Holdings LLC. J.P. Morgan Clearing Corp. merged with JPMS in

2016.

        65.      Defendant J.P. Morgan Prime, Inc. (“JPMP”) is a corporation organized and

existing under the laws of the State of Delaware, with its principal place of business in New

York, New York. JPMP is a wholly-owned subsidiary of JPMS, and thus ultimately of JPMC. It

is registered as a broker-dealer with the SEC, and provides prime brokerage services in the

United States.

        66.      Defendant J.P. Morgan Institutional Investments Inc. (“JPMII”) is a corporation

organized and existing under the laws of the State of Delaware, with its principal place of

business in New York, New York. JMPII is registered as a broker-dealer with the SEC.

        67.      Defendant J.P. Morgan Strategic Securities Lending Corp. (“JPMSSL”) is a

corporation organized and existing under the laws of Delaware, with its principal place of

business in Wilmington, Delaware. JPMSSL is a subsidiary of JPMC, and is a part owner of

EquiLend through Defendant EquiLend Holdings LLC.

        68.      Defendant J.P. Morgan Chase Bank, N.A. (“JPMCB”), a wholly-owned

subsidiary of JPMC, is a federally chartered national banking association with its principal place

of business in New York, New York. JPMCB was formerly a part owner of EquiLend through

Defendant EquiLend Holdings LLC.

        69.      As used herein, the term “JP Morgan” includes Defendants JPMC, JPMS, JPMP,

JPMII, JPMSSL, JPMCB, and their parents, subsidiaries, and affiliates (including J.P. Morgan

Clearing Corp. and Bear Stearns Securities Corp.). During the Class Period, JP Morgan, itself

and through its affiliate agents, directly engaged in securities lending transactions with class

members. JP Morgan agreed with the other Defendants to boycott AQS and SL-x (and then




                                                 22
acquire them) and thwart Data Explorers. During the Class Period, JP Morgan was a co-owner

of EquiLend and JP Morgan employees served on EquiLend’s Board of Directors in, at least,

2012, 2013, 2014, 2015, 2016, and 2017.13 JP Morgan employees served on the OCC’s Board of

Directors in 2009 and on DTCC’s Board of Directors in 2008, 2009, 2010, 2011, 2012, 2013,

2014, 2015, 2016, and 2017.

       70.     JP Morgan regularly transacts business in and has substantial contacts with New

York, New York. As discussed above, JPMC, JPMS, JPMP, MPJII, and JPMCB each have their

principal place of business in New York, New York. JPMS, JPMP, and JPMII engaged in stock

lending transactions with class members in New York, New York during the relevant period. In

addition, JPMC, JPMSSL, and JPMCB also engaged in stock lending transactions with class

members in New York, New York (either directly or through affiliates and agents) during the

relevant period.

       71.     Morgan Stanley Defendants. Defendant Morgan Stanley (“MS”) is a corporation

organized and existing under the laws of the State of Delaware, with its principal place of

business in New York, New York.

       72.     Defendant Morgan Stanley Capital Management, LLC (“MSCM”) is a limited

liability company organized and existing under the laws of the State of Delaware, with its

principal place of business in New York, New York. MSCM is a wholly-owned subsidiary of

MS.

       73.     Defendant Morgan Stanley & Co. LLC (“MS&C”) (formerly known as Morgan

Stanley & Co., Inc.) is a limited liability company organized and existing under the laws of the


       13
           Information about EquiLend’s Board of Directors prior to 2012 is not currently
publicly accessible.



                                                23
State of Delaware, with its principal place of business in New York, New York. MS&C is a

registered broker-dealer with the SEC and a clearing Member of the OCC.

       74.     Defendant Prime Dealer Services Corp. (“PDSC”) is a corporation organized and

existing under the laws of the State of Delaware, with its principal place of business in New

York, New York. PDSC is a wholly-owned subsidiary of MS&C, and thus ultimately of MS. It

is also a registered broker-dealer with the SEC. PDSC engages in securities borrowing and

lending in support of MS&C’s prime brokerage services.

       75.     Defendant Strategic Investments I, Inc. (“SII”), a subsidiary of MS, is a

corporation organized and existing under the laws of the State of Delaware, with its principal

place of business in New York, New York. SSI is a part owner of EquiLend through Defendant

EquiLend Holdings LLC.

       76.     Defendant Morgan Stanley Distribution, Inc. (“MSDI”) is a corporation organized

and existing under the laws of the State of Pennsylvania, with its principal place of business in

New York, New York. MSDI is registered with as a broker-dealer with the SEC.

       77.     As used herein, the term “Morgan Stanley” includes Defendants MS, MSCM,

MS&C, PDSC, SII, MSDI, and their parents, subsidiaries, and affiliates. During the Class

Period, Morgan Stanley, itself and through its affiliate agents, directly engaged in securities

lending with class members. Morgan Stanley agreed with the other Defendants to boycott AQS

and SL-x (and then acquire them) and to thwart Data Explorers. During the Class Period,

Morgan Stanley was a co-owner of EquiLend and Morgan Stanley employees served on

EquiLend’s Board of Directors in, at least, 2012, 2013, 2014, 2015, 2016, and 2017.14 Morgan


       14
           Information about EquiLend’s Board of Directors prior to 2012 is not currently
publicly accessible.



                                                 24
Stanley employees served on the OCC’s Board of Directors in 2010, 2011, 2012, 2013, and 2014

and on DTCC’s Board of Directors in 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and

2017.

        78.    Morgan Stanley regularly transacts business in and has substantial contacts with

New York, New York. As discussed above, MS, MSCM, MS&C, PDSC, SII, and MSDI each

have their principal place of business in New York, New York. MS, MS&C, PDSC, and MSDI

engaged in stock lending transactions with class members in New York, New York during the

relevant period. In addition, MSCM and SII also engaged in stock lending transactions with

class members in New York, New York (either directly or through affiliates and agents) during

the relevant period.

        79.    UBS Defendants. Defendant UBS Group AG (“UBSG”) is a corporation

organized and existing under the laws of Switzerland with its principal places of business in

Basel and Zurich, Switzerland. Defendant UBS AG is a corporation organized and existing

under the laws of Switzerland with its principal places of business in Basel and Zurich,

Switzerland. It is a wholly-owned subsidiary of UBSG.

        80.    Defendant UBS Americas Inc. (“UBSA”), is a corporation organized and existing

under the laws of the State of Delaware, with its principal place of business in Stamford,

Connecticut. UBSA is a part owner of EquiLend through Defendant EquiLend Holdings LLC.

        81.    Defendant UBS Securities LLC (“UBSS”) is a limited liability company

organized and existing under the laws of Delaware, with its principal place of business in New

York, New York. It is a subsidiary of UBSA, and thus ultimately of UBSG. UBSS is a

registered broker-dealer with the SEC and a clearing Member of the OCC.




                                                25
       82.     Defendant UBS Financial Services Inc. (“UBSFS”) is a corporation organized and

existing under the laws of Delaware, with its principal place of business in Weehawken, New

Jersey. UBSFS is a registered broker-dealer with the SEC and a clearing Member of the OCC.

       83.     Defendant UBS Investment Bank (“UBSIB”) is a corporation organized and

existing under the laws of England, with its principal place of business in London, England.

UBSIB, a subsidiary of UBS AG, provides prime brokerage services. It was formerly known as

UBS Warburg until it changed its name in 2003.

       84.     Defendant UBS Asset Management (US) Inc. (“UBSAM”) is a corporation

organized and existing under the laws of the State of Delaware, with its principal place of

business in New York, New York. UBSAM is a registered broker-dealer with the SEC.

       85.     Defendant UBS Fund Services (USA) LLC (“UBSFSU”) is a corporation

organized and existing under the laws of the State of Delaware, with its principal place of

business in Hartford, Connecticut. UBSFSU is a registered broker-dealer with the SEC.

       86.     As used herein, the term “UBS” includes Defendants UBSG, UBS AG, UBSA,

UBSS, UBSFS, UBSIB, UBSAM, UBSFSU, and their parents, subsidiaries, and affiliates.

During the Class Period, UBS, itself and through its affiliate agents, directly engaged in

securities lending with class members. UBS agreed with the other Defendants to boycott AQS

and SL-x (and then acquire them) and thwart Data Explorers. During the Class Period, UBS was

a co-owner of EquiLend and UBS employees served on EquiLend’s Board of Directors in, at

least, 2012, 2013, 2014, 2015, 2016, and 2017.15 UBS employees served on DTCC’s Board of




       15
           Information about EquiLend’s Board of Directors prior to 2012 is not currently
publicly accessible.



                                                26
Directors in 2009. Moreover, UBS AG and UBSIB were engaged in discussions and signed non-

disclosure agreements with SL-x prior to Defendants’ implementation of the boycott.

       87.     UBS regularly transacts business in and has substantial contacts with New York,

New York. For instance, UBS AG has a major branch office, which serves as one of its U.S.

headquarters, in New York, New York. This “flagship” office employs over 150 employees, and

derives substantial revenue for UBS, in New York, New York. UBSA, UBSS, UBSFS, and

UBSAM are each registered to do business in New York, and UBSIB maintains an office in New

York, New York. As discussed above, UBSS and UBSAM both have their principal place of

business in New York, New York. UBSS, UBSFS, UBSAM, and UBSFSU engaged in stock

lending transactions with class members in New York, New York during the relevant period. In

addition, UBSG, UBS AG, UBSA, and UBSIB also engaged in stock lending transactions with

class members in New York, New York (either directly or through affiliates and agents) during

the relevant period.

       88.     EquiLend Defendants. Defendant EquiLend Holdings LLC is a limited liability

company organized and existing under the laws of the State of Delaware, with its principal place

of business in New York, New York. Defendant EquiLend LLC is a limited liability company

organized and existing under the laws of the State of Delaware, with its principal place of

business in New York, New York. It is a subsidiary of EquiLend Holdings LLC. Defendant

EquiLend Europe Limited is a private limited company incorporated in England and Wales, with

its principal place of business in London, United Kingdom. It is a subsidiary of EquiLend

Holdings LLC.




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       89.     As used herein, “EquiLend” includes Defendants EquiLend Holdings LLC,

EquiLend LLC, EquiLend Europe Limited and their parents, subsidiaries, and affiliates. 16

EquiLend is owned in part by Defendants Bank of America, Credit Suisse, Goldman Sachs, JP

Morgan, Morgan Stanley, and UBS. As explained below, EquiLend conspired with the Prime

Broker Defendants to prevent the emergence of efficient electronic trading systems in stock

lending markets.

       90.     EquiLend regularly transacts business in and has substantial contacts with New

York, New York. For instance, EquiLend Europe Limited has multiple officers and directors

based in New York. As discussed above, EquiLend Holding LLC and EquiLend LLC both have

their principal place of business in New York, New York and are registered to do business in

New York.

                                 FACTUAL ALLEGATIONS

I.     OVERVIEW OF THE STOCK LOAN MARKET

       A.      The History and Function of the Stock Loan Market

       91.     Stock lending plays a vital role in capital markets and has been called the “oil in

the efficient market machine.”17 By July 2015, the market value of securities on loan globally

was approximately $1.75 trillion.

       92.     Although the stock loan market has existed for decades, it saw a massive increase

in volume in the mid-1960s, as a flourishing U.S. economy attracted investors. The increased

sophistication of financial market participants and their use of increasingly complex financial

       16
           Allegations that an individual was a board member of EquiLend mean that the
individual was on the board of at least one EquiLend entity.
       17
           Quadriserv Comment Letter on SEC Extension of Temporary Interim Final Rule
204T, File No. S7-30-08, (June 19, 2009), https://www.sec.gov/comments/s7-30-08/s73008-
126.pdf.



                                                28
instruments (such as convertible securities, futures, options, and other derivative instruments)

and transactions (including corporate mergers, acquisitions, and restructurings) fueled the need

for increased liquidity and market stability through the borrowing of stock. The trading

strategies underlying the growth in the derivatives and options markets relied on effective

hedging and risk management, and the upsurge in mergers and restructuring transactions created

opportunities for stock traders to speculate for profit on the success of these proposed

transactions by buying one company long and selling another short.

       93.     The dramatic rise in trading activity on Wall Street that took place in the 1960s

and 1970s made it difficult for securities exchanges, their members, and the securities

depositories to settle (or consummate) the increased volume of securities transactions that they

were processing, which led to unprecedented massive settlement failures. The automation of

securities trading together with an increase in stock lending activity enabled securities firms to

begin to reduce the number of settlement failures by borrowing the securities underlying the

trades and providing these securities “on loan” to the traders to settle the transactions that were

driving their investment strategies. This booming growth in the stock loan market continued

throughout the 1980s and 1990s with the advent of index products and increasingly more

complex trading strategies. All of these strategies required the ability to borrow and lend shares

of stock.

       94.     A primary use of stock lending is to facilitate short selling. Short selling is used

for many purposes, including to profit from an expected downward price movement, to provide

liquidity in response to unanticipated buyer demand, or to hedge the risk of a long position in the

same security or a related security. For example, a seller may short sell a stock at a price certain

with the belief that the stock price will decrease, at which point the seller can then buy the stock




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at the lower price and makes a profit on the difference. Or a seller may short sell a stock to

hedge against potential price volatility in related securities that it already owns.

        95.     In most instances, short sellers do not own the stock being sold. In these cases, to

ensure that it can deliver the stock on the settlement date, the seller must confirm it will be able

to arrange to “borrow” the stock from an existing “beneficial owner” via a process known as a

“locate.” Practically speaking, when traders wish to take a short position, they typically use the

services of broker-dealers who provide the “locate,” execute the short trade, and borrow the

underlying stock necessary to settle that trade (assuming the broker-dealer does not have the

stock in inventory itself).

        96.     Stock lending is also commonly used to finance transactions, through the lending

of stock against cash. Recent data indicates that U.S. equities comprise nearly half of all

securities available for lending (the pie chart on the left), and account for over 30% of the

securities on loan (the pie chart on the right). The below graphics are drawn from the first

quarter of 2015.




                                                Figure 1




                                                  30
       B.       The Structure of the Stock Loan Market

       97.      The stock lending market involves a number of participants:

                (a)     Stock lenders, who own the stock and make it available to loan, are

referred to as the “beneficial owners.” By lending out stock that would otherwise sit idle in

their portfolios, these lenders are able to generate additional revenues on the securities.

                (b)     Agent lenders act as intermediary agents for the beneficial owners to

facilitate the lending of the beneficial owner’s stock. Agent lenders are typically custodian

banks (such as State Street and BNY Mellon/Bank of New York), large asset managers (such as

Blackrock and Vanguard) who maintain the lenders’ securities portfolios in custodial accounts,18

or in some cases specialist third-party lending agents that are neither custodians nor asset

managers (such as eSeclending). These agent lenders interact with broker-dealers to facilitate

the trade and the beneficial owners pay them a portion of the lending fee received by the

beneficial owners. The size of that portion is established by a contract between the beneficial

owner and the lending agent.

                (c)     Broker-dealers include the Prime Broker Defendants Bank of

America/Merrill Lynch, Credit Suisse, Goldman Sachs, JP Morgan, Morgan Stanley, and UBS.

These broker-dealers act as intermediaries or “matchmakers” on every stock loan trade, bringing

together a prospective borrower looking to borrow a certain stock with a lender (often through its

agent lender) who has this stock available. The broker-dealers do not reveal to the lender the

amount of the fee that they are receiving from the borrower, nor do they tell the borrower the

amount of the fee they are paying to the lender. The broker-dealers typically take a huge cut of

the proceeds on each trade, and act as the gatekeepers for which trades are made, between whom,

       18
             Custodial banks who act as agent lenders are sometimes called “custodial lenders.”



                                                 31
and at what price. Neither the borrowers nor lenders know how big of a cut the broker-dealer

takes out of each transaction.

               (d)     Stock borrowers are typically investors engaged in investment strategies

that require short selling or risk hedging activities. In order to engage in these investment

strategies, these funds need to borrow the stocks underlying their hedges or short sale trades. In

addition to putting up cash as collateral for the borrowing, stock borrowers also typically pay a

fee, or accept a below-market interest rate on their cash collateral, which is allocated among the

broker-dealer and the beneficial owner of the stock.19

       98.     The stock loan market is an “over-the-counter” (“OTC”) market, meaning that

there is no central marketplace or exchange through which market participants can send their

bids and offers to the entire market or obtain real-time trading data such as price and volume

information. Instead, stock loan transactions go through a broker-dealer intermediary that

provides the prospective borrower with a single price for the transaction in an opaque market

with very limited information.

       99.     For example, when a fund wants to borrow stock, it must contact its prime broker

directly, via the telephone or an electronic message. The prime broker will give the borrower a

yes or no to the trade and, if yes, a price. The borrower must either agree or decline to trade,

with very limited opportunities to “price shop” by calling competing broker-dealers and

comparing their offers (as that is costly and causes delay). Trades are executed without other

       19
            This “fee” sometimes comes in whole or in part in the form of a below-market interest
rate on cash collateral. In other words, lenders will pay borrowers interest on the borrowers’ cash
collateral, but will pay a rate of return below the market rate for cash loans. The difference
between the market interest rate and the “refund” rate paid by lenders on borrowers’ collateral is
commonly understood by all parties as a cost borrowers pay for a stock loan. Hard to borrow
stocks often come with a “negative refund,” meaning that the borrower gets no interest on its
collateral and pays an additional rate to borrow the stock.



                                                 32
market participants being aware of the pricing terms on which the transaction was effected. As a

result, there is little to no price transparency for end users. The stock borrower thus has very

little visibility into the price at which other parties might be willing to transact. This process is

inefficient and opaque and severely limits price competition, which helps keep the fees collected

by prime brokers very high.

       100.    The stock loan market can be visualized, in simplified form, as follows:




                                                Figure 2

       101.    As Figure 2 illustrates, under the current market structure, the ultimate borrowers

of securities have no viable way to transact directly with lenders. Instead, they must negotiate

with and borrow securities from the Prime Broker Defendants, who in turn source the requested

securities from the lenders (through their agents). Indeed, stock lending transactions are




                                                  33
conducted almost exclusively by both lenders and borrowers through intermediary agents—the

agent lenders on the lender side and the broker-dealers on the borrower side.20

       102.    The Prime Broker Defendants dominate the market for stock lending. The market

for prime brokerage services—which encompasses stock lending—is highly concentrated.

Between 2014 and 2017, the top 10 prime brokers accounted for between 89% and 95% of the

market, with the Prime Broker Defendants alone holding between 76% and 80% market share.

One analyst estimated in 2013 that the Prime Broker Defendants realized approximately 80% of

the total securities lending-related revenue generated by the top 10 prime brokers.

       103.    In the OTC stock loan market, the Prime Broker Defendants’ advantage is

enhanced by their complete control over real-time price data, which is unavailable to both

borrowers and lenders. (As in many OTC markets, real-time trading volumes and prices can

only be guessed at through discretionary self-reports and incomplete or delayed data from

service providers.) Because customers have little visibility into this market, they have little

practical ability to compare or negotiate with the Prime Broker Defendants. Consequently, there

is no market mechanism that imposes consistency in pricing or any restraint on the Prime Broker

Defendants from charging different customers whatever they like.

       104.    The lack of real-time price information has been a limiting factor in establishing

best-execution metrics, and has made performance benchmarking of service providers like the

Prime Broker Defendants close to impossible. These concepts are second nature to investors in

other, more efficient markets and help generate better economic terms for investors. But their


       20
           Viktoria Baklanova, et al., Reference Guide to U.S. Repo and Securities Lending
Markets, Federal Reserve Bank of New York Staff Reports, No. 740, 27 (Sept. 2015, rev. Dec.
2015), https://www.newyorkfed.org/medialibrary/media/research/staff_reports/
sr740.pdf.



                                                 34
benefits are denied to participants in the stock loan market. In essence, the inefficient OTC

structure of the stock loan market prevents borrowers and lenders from using the natural forces

of competition to drive pricing, as it should in any market.

        105.    Despite its name, stock “loan” transactions do involve an exchange of legal title.

The lender transfers title of the security to the borrower for the duration of the loan—with an

irrevocable obligation to return equivalent securities at a later date—and the borrower in turn

transfers legal title of collateral to the lender. The collateral is usually cash or safe securities like

U.S. Treasuries. The loaned stock is marked-to-market daily, with the amount of collateral

required to be posted by the borrower adjusted accordingly.

        106.    Although the lender technically gives up legal ownership, the economic benefit of

any corporate actions accruing to the benefit of the stock holder (such as a stock split or dividend

payment) are typically retained by the lender—although any voting rights associated with the

stock are not. Stock loans are typically “open,” meaning that the loan has no specific term or

tenor. Either party can terminate the loan at any time. When the trade concludes, the borrower

returns the “equivalent” securities to the lender, along with any outstanding fee.21 The lender is

obligated to return the collateral.

        107.    In a typical stock loan transaction, a lender that is sitting on a portfolio of

securities acts through its custodial bank or other third-party lending agent. The custodial bank




        21
            Because securities are generally fungible, it is understood that the borrower will
return the “equivalent” securities to the lender at the end of the loan’s term—i.e., will return the
same amount and kind of stock that was borrowed (e.g., one hundred shares of Amazon stock),
without the expectation that these are the same shares that were borrowed from the lender.



                                                   35
often has access to the stock portfolios of any number of institutional clients and can draw from

the aggregate basket of securities in its custodial accounts to lend out.22

       108.    The borrowers, in turn, are required to place orders for stock to be borrowed

through one of several broker-dealers (including the Prime Broker Defendants) who interface

with the agent lenders to secure the stock to be borrowed. The agent lender transacts directly

with the broker-dealer, who in turn interfaces with the borrowers.

       109.    Stock loan documentation is highly standardized. Each stock loan uses a Master

Securities Lending Agreement (“MSLA”), which provides uniformity across transactions and

establishes the legal rights and obligations of the parties to the transaction. The Prime Broker

Defendants have established MSLA agreements with each of their agent lender counterparts and

borrower clients.

       110.    The following figure illustrates the make-up of stock lenders in the market over

the Class Period:23




       22
            While most agent lenders tend to be the custodial banks (such as BNY Mellon) who
generally administer and maintain a pension fund or endowment’s securities portfolio in their
custodial accounts, there are also a select few institutions that have established a specialist
practice as agent lenders as an alternative to custodial banks. These specialist agent lenders are
often large asset management or investment management firms who will also act as securities
lending agents on behalf of their clients.
       23
           Viktoria Baklanova, et al., Reference Guide to U.S. Repo and Securities Lending
Markets, Federal Reserve Bank of New York Staff Reports, No. 740, 55 (Sept. 2015, rev. Dec.
2015), https://www.newyorkfed.org/medialibrary/media/research/staff_reports/
sr740.pdf.



                                                 36
                                               Figure 3

       111.    While stock lending was historically an ancillary business for large lenders, they

increasingly use stock lending as an important income-enhancing strategy. Essentially, through

stock lending, lenders can collect “rental” fees on otherwise idle assets. In return for lending the

stock, the lender receives collateral from the borrower (consisting of cash or “safe” securities)

that the lender holds (and can invest) for the duration of the loan. Upon the termination of the

loan, the stock-for-collateral transaction is unwound, and the lender receives any outstanding

fees from the borrower in compensation for the loan.

       112.    Stock borrowers pay a fee for the right to use the borrowed stock, often as part of

executing a short sale trade. That fee is ultimately allocated in part to the broker-dealer as

intermediary and in part to the stock lender and its agent. The borrowing rate depends in large

part on whether the stock is listed as a “hard to borrow” or “general collateral.” “Hard to

borrow” is a designation applied to securities in short supply or for volatility reasons. “General



                                                 37
collateral” stocks are highly liquid securities that a broker-dealer has “reasonable assurance” to

believe will be readily available in the market upon a borrower’s request. These designations

change frequently, and are often updated every 24 hours.

       113.    In the current OTC market structure, borrowers and lenders are required to use the

services of and transact through the Prime Broker Defendants. The Prime Broker Defendants set

the price and terms of the trade, and in return take a hefty fee. Indeed, their complete domination

and intermediation of this market means that they take a large share of the economics of nearly

every stock loan trade. In 2016, for example, the Prime Broker Defendants skimmed more than

65% off a pot of some $9.15 billion in total industry revenue.24 These profits far exceed the

benefit of the service provided by the Prime Broker Defendants, who take virtually no risk in

brokering these transactions and whose “matching” function could be done far more efficiently.

       C.      The Lack of Evolution in the Stock Loan Market

       114.    Financial markets typically evolve over time. Many financial markets have

evolved from an inefficient and high-transaction-cost OTC market to an exchange where

participants can meet and transact. Although the stock loan market has made other markets more

efficient, it has not itself grown more significantly efficient over time. The stock loan market

today remains almost exclusively an opaque, OTC market that has not been meaningfully

improved, or scarcely even been touched, by more modern, transparent trading methods.

       115.    There is no natural reason for the stock loan market to continue to operate this

way. There are no technological or structural reasons that this market could not be transformed

into a modernized electronic marketplace, as has happened with a number of other financial

       24
           See Sec Lending Experts Discuss Last Year’s Top Trades, Global Investor/ISF (Jan.
31, 2017), http://www.globalinvestormagazine.com/Article/3657556/Sec-lending-experts-
discuss-last-years-top-trades.html.



                                                38
services markets. The quintessential example of a modern centrally-cleared electronic trading

platform is the publicly-traded stock exchange. Stocks (or equities) are almost entirely traded on

technology-driven electronic exchange platforms, which afford participants instantaneous

information on trading flow, pricing and volume. These exchanges also provide a marketplace

through which buyers and sellers can directly transact via clearing brokers (such as Charles

Schwab, or any other broker with a membership on the relevant exchange) who provide access to

and “sponsorship” on the exchange for a minimal and transparent fee. This allows sellers of

securities to offer shares to the entire market and take the highest price, and buyers of securities

to make an offer to the entire market and take the lowest price, via a central limit order book.

But this is the Prime Broker Defendants’ nightmare for the stock loan market.

       116.    Electronic trading is unquestionably beneficial to market participants. It provides

greater price and volume transparency on market trades, expands the number and type of

potential counterparties, and does not involve a fee-extracting “middleman” or intermediary

between the buyer and seller.25 Consequently, such trading results in greater efficiency and

significantly better prices for both sides. This method of trading is the norm for the securities of

most publicly traded companies.

       117.    The efficiencies created by electronic trading would reduce the cost of portfolio

management strategies for investors, increase the number of borrowers, reduce the cost of

       25
           As a technical matter, an electronic exchange has a clearinghouse and clearing
brokers standing between the parties to match their trades and eliminate counterparty risk, but
they do so on a transparent commission basis. In other words, the profits from these services
come from the increased transaction volume that is driven by transparency and low fees—like
the $4.95 fee that Charles Schwab charges for an equity trade. In contrast, in OTC markets the
middleman stands in the center of an opaque market with the explicit objective of capturing the
largest possible spread between transacting parties; that is, profits are driven by exploiting the
middleman’s informational advantage as against both sides and these prices are consequently not
transparent or low.



                                                 39
borrowing, and stimulate more stock loan trading and investment. It would also increase the

returns that lenders earn on their portfolios. All of this would further lower the cost for

companies to raise capital in the equity markets.

       118.    But the stock loan market has none of this. It is devoid of a central marketplace

where buyers and sellers can transact or view pricing and volume information across the entire

market. As a result, borrowers today complain that the Prime Broker Defendants’ “middleman”

pricing is volatile and opaque. Lenders suffer from this same price opacity, and further complain

that they cannot lend out more than a small fraction of their available stock as transactions are

bottlenecked with the Prime Broker Defendants. The inability of borrowers and lenders to find

and transact with each other results in a massive waste of economic resources, yielding

artificially higher costs of investment and lower returns on investment. All market participants

would benefit from a more modern and efficient stock loan market. That is, all participants

except the Prime Broker Defendants.

       119.    A direct effect of the outdated OTC market structure is that the Prime Broker

Defendants are able to exploit the inefficiencies to reap inflated profits at the expense of

borrowers and lenders. Bringing lenders and borrowers together in a regulated, centralized

trading platform would lower the cost of borrowing and increase the returns on lending. In that

trading environment, investors can trade anonymously in real time on electronic platforms, with

live, executable pricing and with any qualified trading partner.

       120.    On the New York Stock Exchange or NASDAQ, for example, buyers and sellers

(via the electronic platform) make offers to “all” potential counterparties simultaneously—with

the platform system matching trades primarily based on price. The seller gets the highest price

offered and the buyer gets the lowest price available. It is only a function of the Prime Broker




                                                 40
Defendants’ illegal, collusive and monopolistic practices that the modern stock loan market does

not operate in this manner.26

II.     DEFENDANTS CONSPIRE TO INHIBIT COMPETITION IN THE STOCK
        LOAN MARKET

        121.    Led by Goldman Sachs and Morgan Stanley, the Prime Broker Defendants were

motivated to conspire to prevent new entrants in the stock loan market from successfully offering

electronic trading and clearing platforms and additional pricing transparency that would threaten

the Prime Broker Defendants’ collective dominance of this lucrative market. The threats they

faced were so credible that the Prime Broker Defendants did not dare act unilaterally, and so they

agreed to act as a cartel.

        122.    The Prime Broker Defendants organized and effectuated their conspiracy in large

part through EquiLend, a “dealer consortium” formed in 2001 and effectively controlled by the

Prime Broker Defendants. For most if not all of the Class Period, the ten owners of EquiLend

included all six of the Prime Broker Defendants: Bank of America (formerly Merrill Lynch),

Credit Suisse, Goldman Sachs, JP Morgan, Morgan Stanley, and UBS. Since its inception, the

Prime Broker Defendants have dominated and controlled EquiLend through its Board of

Directors. They have jointly held a majority of the Board seats from the outset and, through the

Board, jointly control EquiLend itself. Because of the Prime Broker Defendants’ joint control


        26
            At present, broker-dealers (including but not limited to the Prime Broker Defendants)
still have a role in a cleared market. Only institutions that are clearing members of a
clearinghouse can transact through a CCP. Clearing members have contributed to the
capitalization of the clearinghouse, and are usually broker-dealers. However, clearing members
can and do sponsor access to CCPs through “agency trading” businesses, in which they vouch for
a counterparty’s credit with the clearinghouse, for a modest fee. The clearinghouse then clears
the trade, having marked the transaction against the sponsoring clearing member’s credit. This
fee is predictable, transparent, and low, in contrast to the grossly inflated bid/ask spreads that are
the lifeblood of the Prime Broker Defendants’ stock loan desks.



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and their overall clout in the market, the other owners of EquiLend effectively acquiesce to the

Prime Broker Defendants.

       123.    Beyond serving as a vehicle for the Prime Broker Defendants to meet and

coordinate their conduct, EquiLend does little if anything of real value in the stock loan market.

EquiLend ostensibly offers a bilateral (i.e., one-to-one) trading platform for stock loan

transactions along with post-trading, administrative, and other services. But its trading platform

is widely considered to be “archaic” and “entrenched” with very poor functionality, and

EquiLend has done very little to develop it in a meaningful way. Rather than pursue EquiLend’s

business interests, the Prime Broker Defendants systematically used EquiLend for illicit

purposes: (i) as a forum to discuss and agree on their anticompetitive plans, (ii) to coordinate

their boycott of AQS, SL-x, Data Explorers, and other market innovations, and (iii) to pressure

other EquiLend member banks to make sure they “understood” what their direction was to be

and not to “break ranks” with the Prime Broker Defendants.

       124.    They did this in connection with EquiLend meetings and while attending

numerous dinners and industry conferences and events ostensibly on behalf of EquiLend.27 They

did this explicitly in Bloomberg chats, text messages, internal memoranda, recorded phone calls,

and emails that still reside today on EquiLend’s and the Prime Broker Defendants’ servers. They

did this by, among other things, instructing EquiLend’s then-CEO, Brian Lamb, to advance an

       27
            The former Vice President of Morgan Stanley’s securities lending desk has previously
testified that there was a high level of interaction and cooperation among supposedly horizontal
competitors in the market: “The securities lending industry is very close-knit industry. . . .
Persons employed in the securities lending industry frequently interact, both professionally and
socially. For example, I would regularly have lunches, dinners and casual drinks with securities
lending employees working at various prime brokers. . . . [including] the very firms with which
[I was] competing fiercely for business.” Decl. of Michael A. Manzino in Supp. of Pls’ Opp. to
Summ. J. dated Nov. 7, 2011 at ¶4, Overstock .com Inc. v. Morgan Stanley & Co., CGC-07-
460147 (Cal. Super. Ct. San Francisco Cnty. Nov. 10, 2011).



                                                42
agenda through EquiLend to halt the widespread dissemination of pricing data to the market at

large.

         125.   One industry publication was prescient in this regard: Global Custodian once

described EquiLend as a “cartel-cum-service provider” formed to protect the “economics” of an

industry that “double[s] or triple[s] the price” of lent securities “before passing them on to hedge

fund managers.”28 As noted, a Credit Suisse director characterized EquiLend as “the mafia run

by five crime families.”

         A.     Early 2000s: New Entrants Introduce Price Transparency and Electronic
                Trading

         126.   In the early 2000s, several firms entered the stock loan market with the goal of

introducing price transparency and electronic trading. Drawing on considerable experience in

financial markets, these firms developed and launched offerings that were fully viable,

technologically and commercially. They would have succeeded but for Defendants’ collusion.

                1.     Quadriserv introduces limited price transparency to the stock loan market

         127.   Quadriserv Inc. (“Quadriserv”) was formed in 2001 by a group of industry

veterans with the goal of developing and supplying financial applications for the stock loan

market. Quadriserv’s founders included Martin Hakker, Sr., who had built more than 30 global

exchange trading and clearing systems over a 25-year career, Gregory DePetris, a former

commodities floor broker and proprietary trader who had already founded a number of other

innovative and successful market structure technology companies, and Joseph Weinhoffer, a




         28
           Hybrid or horror: Can custody and prime brokerage be mixed?, GLOBAL CUSTODIAN
(Dec. 1, 2009), https://www.globalcustodian.com/Magazine/2009/Winter-/Hybrid-or-horror--
Can-custody-and-prime-brokerage-be-mixed-/?p=3.



                                                 43
former agency securities lending executive. It was apparent to these industry veterans that the

market was ready to evolve.

       128.    In the early 2000s, Quadriserv created Quadriserv Data Services Inc. (“QDS”),

which developed a market data service to bring some transparency to pricing in the stock loan

market. Using a “give to get” model—by which a participant could gain access to the data only

if it contributed data on its own stock loan transactions—QDS collected stock loan trading data

each day from, initially, a group of fewer than a dozen pension funds, agent lenders, hedge

funds, and small prime brokers. QDS assembled this data and made the full dataset, containing

data from all participants, available to each participant the following day.

       129.    Although the dataset was limited and not real-time, it gave participating hedge

funds and agent lenders valuable insight into how stock loan transactions were being priced

across the broader market. One large hedge fund, QDS’s first paying customer, later shared with

QDS that the data empowered it to save many millions of dollars by renegotiating prices with its

prime broker. This limited example shows just how valuable price transparency can be to

investors.

               2.      Data Explorers provides additional price transparency and analytics

       130.    Data Explorers was formed in 2002 by Charles Sackville and Mark Faulkner, an

author of numerous publications regarding securities lending.29 Data Explorers’ services initially


       29
            See Mark C. Faulkner, An Introduction to Securities Lending, International Securities
Lending Association, https://www.canseclend.com/wp-content/uploads/2016/02/Introduction
_to_Securities_Lending_Canada.pdf (3d ed. 2006); http://www.bankofengland.co.uk/markets/
Documents/gilts/securitieslending.pdf (1st ed. 2004). An Introduction to Securities Lending was
originally commissioned by the Securities Lending and Repo Committee, the International
Securities Lending Association, the London Stock Exchange, the London Investment Banking
Association, the British Bankers’ Association and the Association of Corporate Treasurers, and
was first published in 2004.



                                                 44
targeted agent lenders, whose pension fund clients were seeking to analyze the revenue streams

they were earning and the risk they were assuming in connection by lending securities.

       131.      Data Explorers believed that, given the tools of modern technology, there was no

good reason for the stock loan market to be so opaque. Data Explorers thus endeavored to

modernize the stock loan market by gathering complete stock loan transaction data from market

participants and providing lenders, borrowers, and broker-dealers with access to the aggregated

dataset. At first, Data Explorers gathered data from agent lenders, aggregating it and giving back

very basic price information that would let agent lenders see how well their prices fared against

other lenders.

       132.      Data Explorers offered only data that showed how market participants were faring

relative to similarly situated players, with agent lenders only able to access aggregated

“wholesale” data relating to the lending side of stock loan transactions, and borrowers only able

to view retail or bid-side data relating to the borrowing side of transactions. For example, a

borrower could see how its trades were priced relative to other borrowers, and lenders could see

data comparing them to other lenders. In the opaque world of stock lending, even this limited

insight was very welcome and met with strong demand.

       133.      Data Explorers launched a product called Performance Explorer, which allowed

agent lenders to type in a ticker symbol to see the average lending rate for that security, based on

the underlying data that was provided by participating agent lenders. Performance Explorer was

followed by Transaction Explorer, a more advanced technology that gave agent lenders access to

a deep array of “wholesale” data—but not the “retail” data from the borrower side of stock loan

transactions—that Data Explorers had compiled from banks and other agent lenders.




                                                 45
       134.    Data Explorers also used a “give to get” model, by which a participant could gain

access to the data only if it contributed data on its own stock loan transactions. Agent lenders

provided their data without hesitation, so that they could gain visibility into the rates at which

securities were lent, and analytics such as utilization rates by security (i.e., the number of shares

that agent lenders were willing to lend divided by the number of shares that had actually been

loaned out).

       135.    Data Explorers provided a separate version of Transaction Explorer to borrower

clients, with the underlying transaction data provided on the same “give to get” basis. This

version of Transaction Explorer enabled borrowers to access “bid rates” (what borrowers were

paying to borrow securities), along with analytics showing how liquid or illiquid a given security

was, how heavily borrowed or “short” a security was, and how many buy-side players were

borrowing a security.

       136.    Data Explorers kept wholesale data strictly segregated from retail or “bid-side”

data within Transaction Explorer. Data Explorers did this to avoid conflict with the Prime

Broker Defendants, who were opposed to technology that would allow agent lenders to view bid-

side data, or borrowers to view wholesale data. With borrowing and lending data segregated in

their separate silos, the Prime Broker Defendants remained the only market participants who

knew the size of the spread between what hedge funds were charged to borrow and what agent

lenders were paid to lend.

       137.    By 2007, every major agent lender was participating in Transaction Explorer,

along with approximately 20 borrower clients who participated in the bid-side version of the

technology. Lenders and borrowers showed strong interest because they could put their own

transactions in context, gauging their price negotiations with broker-dealers and creating other




                                                 46
important performance markers for their own deals. This added value was enough to convince

many lenders and borrowers to open their books to Data Explorers.

       138.    Data Explorers tried to convince the prime brokers that the value of market level

data was worth sharing access to their own data. For example, Data Explorers could provide

market share analyses allowing prime brokers to gauge how they stood with their competitors.

Over time, Data Explorers secured access to several of the Prime Broker Defendants’ pricing

data in return for providing them with data analytics that, among other things, allowed the Prime

Broker Defendants to see, for the first time, accurate data on their market share within the stock

loan market.

       139.    The Prime Broker Defendants, however, were uniformly insistent that the wall

between wholesale and retail data be maintained. They constantly demanded assurances from

Data Explorers that borrowers’ and lenders’ data were being segregated in Transaction Explorer

and repeatedly called Data Explorers with accusations that data was leaking from one side to the

other. Despite Data Explorers’ assurances, the Prime Broker Defendants’ desire to collectively

enforce that wall never abated.

               3.      Quadriserv creates Quadriserv Securities and matches more than $2
                       billion of open stock loan transactions

       140.    Although QDS’s data services began to give agent lenders and hedge funds some

insight into pricing in the stock loan market, those market participants had no way to act directly

on this newfound knowledge. In 2005, Quadriserv set out to solve this problem.

       141.    Quadriserv created Quadriserv Securities, Inc. and registered it as a broker-dealer.

Quadriserv Securities’ broker-dealer status enabled it to serve as an intermediary between

borrowers and lenders in the stock loan market. It also enabled Quadriserv Securities to raise

capital, which gave market participants confidence that it was a creditworthy counterparty—



                                                47
confidence that helped entice agent lenders and pension funds to make their stocks available

through Quadriserv Securities for loan directly to hedge funds.

       142.    Borrower and lender identities remained anonymous throughout the transaction.

Quadriserv Securities matched trades for a flat, disclosed fee—unlike the large spreads in the

traditional stock loan market, which were undisclosed and unknown to all market participants

except the Prime Broker Defendant.

       143.    The Quadriserv Securities product offering was immediately popular with

borrowers and lenders, who were starved for this type of offering. By late 2005, more than $2

billion of open stock loan transactions had been matched on the platform, effectively maxing out

the credit exposure Quadriserv Securities was capable of assuming, given its limited capital base.

In order to grow and accommodate the demand from market participants for electronic,

transparent trading services, Quadriserv needed to expand its platform and find a large provider

of capital that would stand behind, conceivably, all of the securities lending activity in the

industry.

               4.      Quadriserv creates AQS to develop an anonymous, electronic platform
                       with central clearing of stock loan transactions

       144.    Through subsidiary Automated Equity Finance Markets, Inc. (“AQS”),

Quadriserv next developed an electronic platform that would match borrowers and lenders

directly in the stock loan market. AQS promised to “enhance the profitability and performance

of lenders and borrowers alike by reducing spreads, and increasing the overall efficiency of the

securities lending marketplace.”30


       30
           Quadriserv, Inc. Highlights Securities Lending Innovations At TradeTech 2007,
NASDAQ - GLOBENEWSWIRE (March 9, 2007), https://globenewswire.com/news-
release/2007/03/09/356337/115225/en/Quadriserv-Inc-Highlights-Securities-Lending-
Innovations-At-TradeTech-2007.html.



                                                 48
       145.    AQS’s ambition was to become a platform for the entire stock loan market. To do

that, AQS pursued access to central clearing. As noted above, central clearing largely eliminates

counterparty risk by interposing a “clearinghouse” between the two counterparties to the loan.

The clearinghouse becomes the borrower to every lender and the lender to every borrower. The

clearinghouse maintains sufficient capital to stand behind every trade it clears. By doing so, the

clearinghouse creates a more efficient market and mitigates systemic risk, allowing borrowers

and lenders to trade without concern of counterparty default.

       146.    Quadriserv/AQS saw that combining loan matching with a direct route to clearing

(via a broker) for stock loans would represent a significant advance for the stock loan market.

The AQS platform provided a live view of prices, so borrowers and lenders could ask their

brokers what the market looked like and get a real-time idea of what prices were. Bringing

lenders and borrowers together in a regulated, centralized trading platform would lower the cost

to borrowers of borrowing and increase the returns to lenders on lending. In such an

environment, investors could trade anonymously in real time on electronic platforms, with live,

executable pricing and with any qualified trading partner.

       147.    The Prime Broker Defendants, however, viewed central clearing as a dangerous

pathway through which others could challenge their grip on the stock loan market. The Prime

Broker Defendants had long represented their “intermediary” role to clients as a valuable service

that protected clients from credit and counterparty risk by standing between clients and lenders in

every stock loan trade. Central clearing would largely usurp this function, leaving clients to

question the value of the Prime Broker Defendants’ intermediary services. As one industry




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veteran summarized, the very “idea of a securities lending CCP [central counterparty] is

anathema to the broker-dealers that continue to intermediate loans.”31

       148.    In or around 2005 and 2006, AQS began quietly negotiating with the Options

Clearing Corporation, a U.S.-based central counterparty clearinghouse and the world’s largest

derivatives clearing organization, to provide AQS with central clearinghouse services. The OCC

Board of Directors is comprised of the five exchanges that own 100% of its equity,32 along with

eight broker-dealers and three “independents.”

       149.    Several of the Prime Broker Defendants are regularly represented on the OCC

Board, and they wield considerable influence there despite not having a formal majority.33

Accordingly, when approaching OCC Board members regarding its product, AQS went one-by-

one to those who it believed would be its advocates. This campaign was designed to deploy

supportive Board members to persuade other Board members expected to oppose any move

toward central clearing, by explaining that opposition to clearing was both bad for the market

and contrary to the Prime Broker Defendants’ own customers’ wishes.

       150.    When AQS approached OCC in 2005 and 2006, the OCC Board of Directors

included the following individuals from the Prime Broker Defendants: Frank J. Bisingnano, the

       31
        The Legends: Joe Weinhoffer, GLOBAL CUSTODIAN, https://www.globalcustodian.
com/GC-Legends/Weinhoffer,-Joe/.
       32
            These exchanges are the Chicago Board Options Exchange, Incorporated;
International Securities Exchange, LLC; NASDAQ OMX PHLX, LLC; NYSE MKT LLC; and
NYSE Arca, Inc. See 2016 Annual Report, OCC, https://www.theocc.com/components/docs/
about/annual-reports/occ-2016-annual-report. Each of these five board members has an absolute
veto right concerning OCC decisions.
       33
           For instance, Bank of America (or Merrill Lynch, as predecessor) and Goldman Sachs
each sat on OCC’s board each year from 2008 to 2017. A Morgan Stanley representative sat on
OCC’s board from 2010 to 2014. JPMorgan employees held OCC board seats from 2008 to
2009. See OCC, Annual Reports (2008-16), https://www.theocc.com/about/corporate-
information/annual-reports/.



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Chief Administrative Officer of Prime Broker Defendant JP Morgan Chase; Daniel B. Coleman,

the Managing Director and Head of Equities for the Americas for Prime Broker Defendant UBS;

John P. Davidson III, Managing Director of Equity Infrastructure at Prime Broker Defendant

Morgan Stanley; Mitchell J. Lieberman, Managing Director, Global Securities Services for

Prime Broker Defendant Goldman Sachs; Richard R. Lindsey, President Bear, Stearns Securities

Corp.,34 and Gary Yetman, Managing Director of Prime Broker Defendant Merrill Lynch. This

made them an influential faction on the OCC Board.

       151.    Wayne Luthringshausen, the Chief Executive Officer of OCC at the time, was

supportive of AQS’s efforts and wanted to give AQS the ability to clear stock loans via OCC.

But he knew certain Prime Broker Defendants would be concerned about giving AQS access to

central clearing because it would pose a threat to their way of doing business in the stock loan

market. From the Prime Broker Defendants’ perspective, AQS—by centralizing and

standardizing the specific nature of counterparty credit in the stock loan industry—threatened to

eliminate or neutralize the leverage that the Prime Broker Defendants wielded over other broker-

dealers and bank trading counterparties. In particular, Mr. Luthringshausen understood that

Mitchell J. Lieberman of Goldman Sachs, who was very influential on the OCC Board, would

likely oppose giving AQS any access to OCC clearing.

       152.    As a result, Mr. Luthringshausen, in his role as CEO, took pains to have direct

discussions with AQS. He conducted the majority of the negotiations with AQS without

unnecessarily involving the Board and planned specific Board votes concerning the proposed

deal at times when he knew its most vigorous opponent, Goldman Sachs’ Mr. Lieberman, was

not likely to attend. These efforts ultimately resulted in the successful passage of a proposed

       34
            Bear Stearns was acquired by JP Morgan in 2008.



                                                51
deal with AQS by the OCC Board—a result that garnered Mr. Leiberman significant criticism

from within Goldman Sachs for having been “asleep at the wheel” during OCC’s AQS approval

process.

       153.    This event motivated Goldman Sachs determined to organize the other Prime

Broker Defendants to ensure that similar events that threatened their tight hold on the market did

not happen in the future.

       B.      2009-2011: The Market’s Evolution Accelerates

               1.     AQS launches with a clearing agreement with OCC

       154.    On January 7, 2009, Quadriserv launched AQS and announced an agreement with

OCC whereby OCC would act as the central counterparty for all securities lending transactions

submitted through the AQS platform. By working with OCC, AQS was able to offer a platform

that would “match lenders and borrowers using a hybrid auction and continuous price discovery

mechanism” where “matched loans will be processed through the OCC, which will provide

central counterparty guarantees.”35 AQS offered a “hybrid auction” which allowed borrowers

and lenders to interact directly with each other (via a clearing broker which provided access to

the OCC)36 and in which every transaction had a unique traceable identifier.

       155.    AQS immediately received strong encouragement from the Federal Reserve Bank

of New York (under then-President Timothy Geithner) to launch its product swiftly, given the


       35
          OCC Formalizes Agreement With Quadriserv To Launch Centralized Securities
Lending Marketplace, OCC, (Jan. 7, 2009),
https://www.theocc.com/about/newsroom/releases/2009/01_07.jsp.
       36
            While there are only a handful of top prime brokers, there are over sixty brokerage
firms with stock lending clearing privileges at OCC today. See Member Directory, OCC,
https://theocc.com/membership/member-information (last visited Nov. 16, 2017). Access to
OCC clearing, which can be provided by any of these firms, is a commodity service and, in a
normal market, would be priced accordingly.



                                                52
regulator’s recognition that improved systemic risk controls in the stock loan market might help

to stabilize the reeling financial markets in the wake of the 2008 credit crisis. The Federal

Reserve’s support gave AQS credibility in the market and considerable momentum.

       156.    In early 2009, OCC began centrally clearing stock loan transactions for AQS. By

late 2009, AQS announced it had also reached agreement with Eurex, a European clearinghouse,

to provide clearing services for stock loan transactions conducted on AQS involving European

equities. The combination of U.S. and European central clearing (through OCC and Eurex),

together with the electronic, transparent marketplace offered by AQS, promised to move the

stock lending market into the modern world of efficient trading.

       157.    Illustrating its promise, certain prime brokers (or at least elements within them not

beholden to the bank’s stock lending desk) supported and even invested in AQS during this time.

Bank of America, for example, followed up its initial investment with a larger one in 2009.37 As

noted, these investments in and active participation on AQS were good for Bank of America in

light of the support and demand for AQS in the market. Hedge fund clients were contacting

competing prime brokers that were uniformly opposed to AQS, and switching to Bank of

America, expressly referencing AQS in their decisions to do so.

       158.    AQS was designed to attract broad-based participation by lenders and borrowers

in order to create alternative stable pools of supply and demand. By centralizing counterparties,

AQS could reduce traditional lending risks such as counterparty default risk while providing

guaranteed mark-to-market payments, mandatory corporate action settlements, and rebate rate

payments through OCC.

       37
            Citi also invested in AQS early on, but did not participate when AQS looked to
recapitalize in 2009. Many clients encouraged Goldman to invest, but Brad Levy and Darren
Cohen from their Principal Strategic Investments (“PSI”) Group declined to do so.



                                                53
       159.      AQS’s goal was to provide equal access to all market participants to an automated

centralized marketplace through a single point of contact for trading, clearing, settlement and

post-transaction processing—much like the traditional stock market. AQS enabled individual

lenders and borrowers to trade in a common instrument in a common credit environment for the

benefit of all market participants. The AQS platform provided previously unrealized benefits to

market participants, including price discovery, trade matching, and clearing. The OCC, as

central counterparty to all AQS transactions, provided anonymous trading by becoming the

borrower to the lender and the lender to the borrower, guaranteed delivery of securities versus

cash upon close-out of any stock loan transaction, guaranteed daily mark-to-market payments,

and guaranteed rebate payments.

       160.      Further demonstrating its feasibility and value, AQS won the support of entities

such as one of the largest lenders of stock (asset manager Barclays Global Investors), one of the

largest borrowers of stock (the quantitative hedge fund Renaissance Technologies), the oldest

venture capital fund in the country (Bessemer Ventures), and one of the largest exchanges in the

world (Deutsche Bourse, through its Eurex AG and International Securities Exchange

subsidiaries).

       161.      By September 2009, the AQS platform was primed to offer a marketplace where

lenders and borrowers could directly execute stock loan transactions via clearing brokers and

centrally clear them via straight-through processing, in conjunction with its partnerships with

OCC, DTC, and SunGard’s Loanet platform as a reconciliation system. This was a direct and

imminent threat to the Prime Broker Defendants’ privileged position in the stock loan market.

       162.      AQS also obtained both a financial investment and a commitment from SunGard

to connect AQS to its industry-standard back-end system Loanet. SunGard’s Loanet is the




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universal accounting and settlement processing system for securities lending, which settles

through the Depository Trust Company (“DTC,” a subsidiary of the DTCC). Since its

establishment in 1980, Loanet has aimed to provide the highest degree of automation possible by

integrating securities lending activity with its clients’ trading, bookkeeping, stock record, risk,

capital, credit, regulatory, settlement, and funding systems. It was designed to become the single

point of entry to control and automate the flow of information among all systems that are

involved in the securities lending process, and is used by over 250 broker-dealers. SunGard

integrated its Loanet Smart Loan technology with AQS in or around October 2010.

       163.    In October 2010, John Grimaldi, executive vice president and general manager of

SunGard’s Loanet business unit, commented that “SunGard’s Loanet customers have responded

favorably to the first phase of our integration with the AQS securities lending market, which

includes seamless access to AQS’ liquidity and price discovery mechanisms. We are confident

our customers will also respond favorably to our next set of initiatives with AQS, featuring

greater trading and inventory control.”38

       164.    As noted, Quadriserv was able to explain that AQS had the “ability to enhance the

profitability and performance of lenders and borrowers alike by reducing spreads, and increasing

the overall efficiency of the securities lending marketplace.”39 It did this by taking direct aim at

the “existing inefficiencies and large spreads in the securities lending industry” by providing

“confidential, un-conflicted daily price discovery and transparency by anonymously and directly


       38
           SunGard Integrates Loanet Smart Loan with Quadriserv AQS, FINEXTRA (Oct. 6,
2010), https://www.finextra.com/news/announcement.aspx?pressreleaseid=35958.
       39
           Quadriserv, Inc. Highlights Securities Lending Innovations At TradeTech 2007,
NASDAQ - GLOBENEWSWIRE (March 9, 2007), https://globenewswire.com/news-
release/2007/03/09/356337/115225/en/Quadriserv-Inc-Highlights-Securities-Lending-
Innovations-At-TradeTech-2007.html.



                                                 55
connecting borrowers and lenders of securities.”40 “As a result, pension funds better realize the

full intrinsic value of the securities they are lending, while hedge funds and other asset managers

reduce short-selling costs by borrowing securities directly from beneficial owners of assets.”41

       165.       In other words, Quadriserv/AQS could simultaneously make more money for

stock lenders and save money for stock borrowers by drastically reducing the more-than-65% cut

skimmed off the top by the Prime Broker Defendants. For this reason, numerous agent lenders

supported AQS as well.

       166.       Quadriserv had conducted extensive research to quantify AQS’s potential to

transform the market. This analysis was based in part on historical trading data from and

comparisons to three other recently modernized financial products markets (the equity options

market, the cash equities market, and the futures market). This analysis showed that

repositioning an intermediary that was keeping the lion’s share of the profits for itself—i.e., the

Prime Broker Defendants and other broker-dealers—would provide substantial financial benefits

to both lenders and borrowers in the stock loan market.

       167.       AQS looked carefully at three historical precedents of markets that moved to

electronic trading from an OTC system: equity options, cash equities, and futures. AQS took

data from all these examples, and extrapolated what the implications would be for volume

growth in stock lending—that is, if stock lending were more fluid, more liquid, and easier to

trade, all of which would increase the market volume. After taking historical variables into

consideration and analyzing data from the 1990s to the mid-2000s from multiple sources—ISE

(International Securities Exchange) for options, Archipelago Equities (for equities), and ICE


       40
            Id.
       41
            Id.



                                                  56
(Intercontinental Exchange) for futures—AQS estimated that automation in the stock loan

market would have the effect of compressing spreads by approximately 32%.

       168.    AQS estimated that the overall revenue stream in the stock loan market would

decrease due to spread compression, but volume growth would occur and revenues would be

redistributed among the various market constituents. By reducing the role of the Prime Broker

Defendants as middlemen, stock borrowers would pay significantly less, and stock lenders would

make significantly more. AQS’s modeling predicted that stock lenders’ slice would grow

because of the greater revenue they would receive, and stock borrowers’ slice would grow by

virtue of the significant reduction in fees they would pay.

       169.    Specifically, Quadriserv’s analysis found that the modernization promised by

AQS was predicted to reduce by more than 30% the total fees paid by borrowers and to

redistribute total revenues more fairly as between the lenders/beneficial owners, the agent

lenders, and the broker-dealers. In other words, the AQS platform could simultaneously make

more money for stock lenders and save money for stock borrowers (while improving systemic

financial system risks) by reducing and redistributing the 65% cut skimmed off the top by the

Prime Broker Defendants.

       170.    Quadriserv embarked on a marketing campaign to introduce its product to

participants in the existing stock loan market. When presented with the improvements AQS

would make to the existing market structure, it became clear to AQS that the Prime Broker




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Defendants perceived a threat. But in the words of Joe Weinhoffer, one of the founders of

AQS/Quadriserv, he was willing to “fight[] the prime brokers with Quadriserv.”42

       171.   Once the Prime Broker Defendants circled the wagons, as further discussed

below, AQS began to receive veiled and not-so-veiled threats. AQS executives canvassing the

market to gain support for the AQS platform were repeatedly told, in no uncertain terms, that

there would be severe repercussions for crossing the Prime Broker Defendants in the stock loan

space. During a meeting with the DTCC on April 8, 2008, for example, AQS executives were

originally told by DTCC’s Managing Director and General Manager Fixed Income Clearance

and Settlement Group, Thomas Costa, that “this sounds great, but who’s going to start your car

in the morning?”

              2.      SL-x enters the market

       172.   Another innovative entity that emerged in the stock lending space around this

time was SL-x (i.e., securities lending exchange). Like AQS, SL-x developed a platform

offering an electronic marketplace for stock lending transactions. Founded in late 2010 and

primarily developed over the course of the following two years, SL-x offered an electronic,

front-end trading system for stock loans, employing a patented electronic trading system

designed to build upon the relationship-based facets of the OTC model.

       173.   As noted, in the OTC stock loan market, borrowers and lenders had to contact the

Prime Broker Defendants by telephone or instant messages in order to get a quote for a stock

loan trade. SL-x promised to replace this inefficient method with an electronic system where



       42
          Legends of Securities Lending, GLOBAL CUSTODIAN, https://www.globalcustodian.
com/Magazine/2009/Securities-Lending-and-Financing-Black-Book-/Legends-of-Securities-
Lending/?fullstory=true&p=13.



                                               58
broker-dealers could communicate bids and offers much more efficiently on an electronic

platform. This would drive price transparency and competition for the benefit of investors.

       174.    Having observed the difficulties encountered by AQS’s more ambitious market

offering, however, SL-x executives took care to design a product intended to be less disruptive to

the existing market structure, while still taking steps toward a more efficient system. To do so,

SL-x built an electronic platform where bids and offers were shared between prime brokers,

broker-dealers, and agent lenders, enhanced with real-time pricing data. In addition to all of the

benefits of central clearing, SL-x aimed to replace one-on-one communications via phone call,

Bloomberg message, or even fax with an on-screen platform that tied traders into their existing

market contacts simultaneously. Participants could check the price and quantity of recent

completed loans in real time, negotiate with many people at once in addition to one-to-one, and

get an unprecedented peek at which lenders had baskets of stock to loan out without picking up

the phone.

       175.    SL-x had a real-time display of the price and quantity of completed loans (through

SL-x), which anyone with an account could view. Using a screen rather than a telephone or

other antiquated devices meant negotiations could happen with one or more parties

simultaneously. SL-x also performed preliminary matching/screening to make sure the agent

lenders with whom the broker was negotiating were likely to have enough relevant stock to get to

a deal, increasing matching rates.

       176.    For lenders, more of their stocks would be visible to potential borrowers through

their agent lender’s network of broker-dealer counterparts, allowing for more loans and more

investment returns on their stock portfolio. Similarly, borrowers ultimately would find the

stocks they wanted more readily, and with a new pricing benchmark.




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       177.    The trade data SL-x intended to provide was real-time pricing information

(including stock name, trade time, trade quantity, and trade price) on a live ticker viewable by all

platform participants, providing an up-to-the-minute stream of available, actionable stock loan

prices for all SL-x users. As SL-x CEO Peter Fenichel later explained: “The addition of real

time data fills an important gap in the information available for stock loan transactions, and our

system’s unique capabilities will streamline customers’ workflow as well as reduce their capital

requirements, and provide relief to their counterparty credit constraints on centrally cleared

trades.”43 In addition to the real time information from the SL-x system, SL-x worked to

integrate data and analytics from other market sources.

       178.    The SL-x platform also permitted central clearing (through Eurex Clearing, a

central counterparty based in Germany) of all transactions in Belgian, Dutch, French, German,

and Swiss stocks executed on the platform, and it took steps to access central clearing in the U.S.

as well. Central clearing through SL-x would reduce risk to banks, allowing them to keep less

capital on hand in case of a default, making bank balance sheets stronger and freeing up capital

for other investments. Traders would have a better window into the marketplace, allowing loans

to be made faster, and more loans to be made overall, all within existing networks of contacts.

       179.    While SL-x did not plan to offer anonymous trading between end-borrowers and

lenders immediately upon launch, the platform would immediately have increased competition in

the stock lending market and compressed trading spreads—reducing costs for borrowers,

increasing returns for lenders, and shrinking the outsized profits the Prime Broker Defendants

were able to capture in the OTC system. Broker-dealers and agent lenders using the system

       43
            Georgina Lavers, Lending Given Path Between SL-x and Markit, SECURITIES
LENDING TIMES (Oct. 9, 2013), http://www.securitieslendingtimes.com/securitieslendingnews
/article.php?article_id=218939.



                                                 60
could trade anonymously from the start, or request or reveal identification during negotiations.

By providing access to live trading data and an electronic mechanism for the traders to request

additional quotes, borrowers communicating with their broker-dealers would have access to

more pricing and trade information, which they could use to negotiate lower trade pricing and

better assess competing quotes between different broker-dealers.

       180.    The SL-x trading platform was also designed to apply technological innovations

drawn from social networking to the stock loan market. Broker-dealers and agent lenders would

benefit from automated matched transactions for easy-to-borrow stock. For hard-to-borrow

stocks, SL-x offered an innovative bilateral trading feature permitting simultaneous one-to-one

and one-to-many negotiations. The connections between negotiating parties were designed to

retain existing market relationships using social networking techniques amongst known partners

instead of a marketplace connecting all possible parties. Broker-dealers could even view prices

in an order book, pre-trade. SL-x had developed a patented program to progressively reveal

information about each party, and important criteria such as number and price of securities and

the nature and amount of collateral.

       181.    Broker-dealers participating in a centrally-cleared SL-x stock loans trading

platform were estimated to receive more than $8 billion in capital savings benefits through

balance sheet risk weighting and the zeroing out of counterparty credit risk when facing a central

counterparty. Additionally, broker-dealers could have benefited from reduced operational and

administrative costs through the efficiencies of an electronic trading system compared to the

OTC market.

       182.    Beginning in the fall of 2011, SL-x began marketing itself as the “softer,

friendlier” market innovation that would not pose a threat to the prime brokers’ existing




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relationships or revenue stream. But this was no comfort to the Prime Broker Defendants. To

the Prime Broker Defendants, SL-x was still a “Trojan horse” that could come to threaten their

hold on the market and disintermediate them.

       183.    As detailed below, when meeting with representatives of SL-x, certain personnel

of the Prime Broker Defendants indicated that they appreciated the value of the technology SL-x

had developed. But behind closed doors, they were alarmed by the way SL-x provided price

disclosure on trades. That SL-x would list prices (post-trade) on a real-time ticker threatened to

draw back the curtain of opacity that the Prime Broker Defendants had collectively maintained,

as no one (including SL-x) knew how much the prime brokers were charging on stock loans.

       184.    It was this trade data transparency that, in the words of SL-x executives, the Prime

Broker Defendants found “most controversial” and caused the “color to drain out of their face”

when explained at in-person sales meetings. As explained by Deutsche Bank’s Head of Supply

Trading, Kevin Soobadoo, in one such meeting that took place with SL-x executives in October

2012, among the prime brokers’ concerns about SL-x was that it provided “too much

transparency,” or at least “too much immediate transparency,” for comfort. JP Morgan requested

the ability to turn off the real-time ticker, or block certain trades from being included, a request

that SL-x declined.

               3.      Data Explorers continues to expand, and the Prime Broker Defendants
                       begin to organize against it

       185.    By 2009, Data Explorers had spent years and invested considerable resources to

amass market data from agent lenders and beneficial owners. Beneficial owners had proved

especially eager to enjoy the transparency that Data Explorers was working to provide, so that as

lenders they could have an informed assessment of how well they were making use of their stock

portfolio. Up to this point, the Prime Broker Defendants had tolerated Data Explorers’ growing



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presence, in part because they were content to use Data Explorers’ information for their own

decision making, and because of Data Explorers’ willingness to ensure that borrowers never saw

lending-side data, and vice versa.

       186.    As the Prime Broker Defendants knew, however, Data Explorers always intended

that its product offerings would evolve along with the market, to provide the type of real-time,

actionable pricing data that market participants wanted. As new entrants like AQS and SL-x

pushed the market forward toward fully electronic and transparent stock loan trading, and Data

Explorers’ product portfolio continued to expand among borrowers and lenders, the Prime

Broker Defendants grew increasingly wary that Data Explorers would eventually package data

that would expose the breadth of the price gap between borrowers and lenders—the gap from

which dealer profits were drawn.

       187.    The Prime Broker Defendants’ fears were crystallized by Data Explorers’

building success among major hedge funds. Through 2009, Data Explorers had largely been

focused on agent lenders, who were anxious to benchmark their stock loans. Though Data

Explorers had hedge fund clients, the Prime Broker Defendants did not view these clients as

posing a real threat of market-wide price transparency. In 2010, however, Data Explorers signed

Och-Ziff, a major hedge fund whose Head of Portfolio Management, James O’Connor, was

vocal about Data Explorers’ usefulness.

       188.    After the Och-Ziff deal, Data Explorers began to take off among hedge fund

clients, and the Prime Broker Defendants took notice. During this period Data Explorers also

began offering “performance” data and other similar products, which would allow market end-

users (i.e., borrowers and lenders) to have some insight into whether the financial terms they




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were receiving for, say, lending a particular stock were consistent with the terms of comparable

market trades.

       189.      The Prime Broker Defendants’ mounting anxiety manifested in accusations that

Data Explorers was leaking data between borrowers and lenders. In a series of ten meetings over

the course of 2011 and 2012, Goldman Sachs’ Shawn Byron and William Conley repeatedly

grilled Data Explorers, paranoid about the prospect that Data Explorers was not siloing borrower

and lender data, despite Data Explorers’ constant assurances that there was no leakage.

       190.      The Prime Broker Defendants gradually decided they could not entrust market

data to a firm they did not control. They began to push back against the emerging threat they

saw from Data Explorers, which was gaining momentum and attracting a larger and larger client

base by allowing clients to begin to see through the stock loan market’s unnecessary fog of

opacity. Eventually, this distrust would coalesce into a coordinated plan to destroy Data

Explorers using EquiLend.

       191.      In one early example of this resistance, State Street faced powerful opposition

when its support for Data Explorers became known to the Prime Broker Defendants. In

approximately the second or third quarter of 2010, a representative from Goldman Sachs

contacted Peter Economou at State Street (a large, influential agent lender) and demanded that

State Street not report any of the trading data concerning State Street’s trades with Goldman

Sachs to Data Explorers, threatening State Street’s business if it did not comply. State Street,

regarding the data as their own, refused to comply, further heightening the Prime Broker-dealers’

anxiety about and desire to act against Data Explorers. Goldman Sachs also contacted numerous

hedge funds, including SAC Capital Advisors, in a campaign to try to keep them from sharing

any trading data with Data Explorers, with inconsistent success.




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       192.    The Prime Broker Defendants also took surreptitious steps to undermine the

quality of the market data that Data Explorers provided to its customers. For example, when

borrower clients instructed Morgan Stanley to provide Data Explorers with their market data,

Morgan Stanley would provide a file that contained stale, sparsely populated data scrubbed clean

of any timely or actionable information.

       193.    While Data Explorers did not offer an electronic trading platform like AQS and

SL-x, the Prime Broker Defendants understood the threat it posed. In the OTC stock loan

market, borrowers and lenders do not have access to real-time pricing. The Prime Broker

Defendants benefitted from this opacity which made it difficult, if not impossible, for borrowers

and lenders to engage in price discovery. Releasing this data would not only give borrowers and

lenders ammunition to push back on the Prime Broker Defendants’ opaque pricing and execution

practices, it would constitute a fundamental step towards a more transparent electronic trading

environment.

       194.    Data Explorers’ increasing momentum in the market thus gave the Prime Broker

Defendants reason to fear that the price transparency promised by Data Explorers would threaten

their profit center. Soon, that fear coalesced into active and coordinated countermeasures.

       C.      The Prime Broker Defendants Conspire to Boycott and Neutralize AQS and
               SL-x

       195.    The market momentum that products such as AQS, SL-x and Data Explorers were

gaining in the 2009 and 2010 time period posed a major threat to the multi-billion dollar stock

lending business of the Prime Broker Defendants. Each of these products separately, and

certainly in combination, threatened the Prime Broker Defendants’ privileged intermediary

position and their ability to extract huge profits on opaque and inefficient stock loan transactions.




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               1.     Goldman Sachs and Morgan Stanley Lead the Prime Broker Defendants to
                      Act as a Cartel

       196.    Goldman Sachs—the market leader that had the most to lose from the success of

these products and was a primary driver behind the conspiracy—recognized this threat from the

outset. As early as 2009, when AQS began marketing its services to the Prime Broker

Defendants and other market participants, Goldman Sachs refused ever to consider supporting

the platform. It took the same initial hard line approach to SL-x when that product began

marketing itself in 2011, and its stance never wavered.

       197.    Meanwhile, other second- and third-tier broker-dealers—including some of the

other Prime Broker Defendants—initially recognized the benefits to the market that were offered

by these platforms, and even saw benefits to themselves from these products’ ability to open up

competition with Goldman Sachs and Morgan Stanley from the smaller players in the stock loan

prime brokerage industry.

       198.    Even among top ten prime broker banks, Goldman Sachs and Morgan Stanley

held the large majority of the stock loan brokerage business, followed after 2008 by Credit

Suisse as a close third. The other broker-dealers who serviced this business—such as Interactive

Brokers, Jeffries, and certain other Prime Broker Defendants—benefitted from their collective

positions as market intermediaries, but not nearly to the degree that Goldman Sachs and Morgan

Stanley (and to a lesser degree Credit Suisse) did. They thus recognized a potential benefit to

themselves from products that might enable them more effectively to compete with Goldman

Sachs and Morgan Stanley for a larger share of the stock loan market.

       199.    As these platforms and products began gaining momentum in and around 2009,

however, Goldman Sachs and Morgan Stanley brought their enormous leverage to bear to corral

the remaining Prime Broker Defendants (all EquiLend member banks who held seats on



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EquiLend’s Board) to join a conspiracy by which the Prime Broker Defendants (collectively and

through EquiLend) acted as a cartel to neutralize and eliminate these platforms as competitive

threats, for the collective economic benefit of the Prime Broker Defendants.

       200.    In September 2009, Quadriserv/AQS executives learned that, during a

conversation with the Head of the Stock Loan Desk at Defendant Bank of America/Merrill

Lynch) that took place weeks earlier, Goldman Sachs’ Conley “got so angry at the mention of

[Quadriserv/AQS’s] name that spit was coming out of his mouth.” Conley told the Bank of

America executive that he was “opposed to transparency in any form,” and that his opposition

was driven by the above-market spread Goldman Sachs secretly made on stock loan transactions.

Conley pressured Bank of America to reverse course and to join the opposition to

Quadriserv/AQS or risk being ostracized by the other Prime Broker Defendants.

       201.    On September 29 and 30, 2009, the SEC held a roundtable discussion on

securities lending that included panels on “Improving Securities Lending for the Benefit of

Investors: Transparency; Electronic Platforms; Central Counterparties; Accountability” and

“Controls on ‘Naked’ Short Selling: Examination of Pre-Borrow and Hard Locate

Requirements.” Panel members included, among others, the Co-Founder and Chief Strategic

Officer of Quadriserv/AQS, the Chief Executive Officer of Quadriserv, Goldman Sachs’ William

Conley, Credit Suisse’s Shawn Sullivan, and representatives from SunGard’s Astec Analytics,

agent lender Brown Brothers Harriman, and custodial lender State Street.

       202.    In advance of these roundtable discussions, the executive from Bank of

America/Merrill Lynch that faced pressure from Goldman Sachs’ Conley convened what he

characterized as a meeting of “the five families”—a mafia-related term that the Prime Broker

Defendants often used to describe themselves collectively—so the Prime Broker Defendants




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could settle on their collective messaging about these new electronic platforms in advance of the

roundtable. The meeting occurred, and AQS began seeing a harsher tone from the Prime Broker

Defendants afterwards

       203.      Also during this same time period, Goldman Sachs’ Conley, Credit Suisse’s

Shawn Sullivan and various others held a private meeting to discuss the emerging threats from

electronic platforms like AQS. During this private meeting, they each agreed to oppose AQS

and disparage AQS and central clearing during the roundtable discussion. One of the members

present at this secret meeting later expressed personal remorse to another conference attendee

regarding the planned attack, quietly telling the attendee that she felt “sorry for what we’re about

to do” to AQS.

       204.      Following the meeting, Sullivan of Credit Suisse spoke out against the AQS

offering at the roundtable discussions. He told the group that there was no proposal for central

clearing that “truly addresses the unique characteristics inherent in the securities lending

market,” and that a central counterparty would “most likely reduce liquidity in the

marketplace”—a sentiment seemingly without basis and unsubstantiated by industry or academic

opinion. He also stated, contrary to the economic reality of central clearing, that “if you have

more bidders in the process, you’re most likely going to have a deterioration in the credit quality

of the counterparts, and that’s something that a beneficial owner does not want to be exposed to.”

       205.      As a result of the pressure of Goldman Sachs, Morgan Stanley, Credit Suisse, and

others, the behavior of Prime Broker Defendant Bank of America also began to shift. As noted

above, Bank of America was a strong early supporter of AQS and its vision for the stock loan

market, making equity investments in AQS in 2007, 2008, 2009 and early 2011. This early

support was driven by Rohit D’Souza, who had run Capital Markets for Merrill Lynch and




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believed Merrill should take a leadership role in modernizing the whole industry. Senior

management and business units followed through on D’Souza’s mandate, under the direction and

leadership of Mike Stewart (Head of Equities), Syl Chackman (co-Head of Prime Brokerage),

and Artie DiRocco as (Head of Securities Lending).

       206.    As a result of the pressure from Goldman Sachs, Morgan Stanley, and others,

however, this support began to wane. By late 2011, Bank of America’s attitude had markedly

changed. Bank of America/Merrill Lynch personnel who had formerly supported AQS were

purged. For example, Mike Stewart, Global Co-Head of Equities, had supported and actively

promoted the AQS investment, and encouraged sales and operations personnel to try to help

AQS succeed. Stewart was abruptly replaced with someone who would bring Bank of America

into line with Goldman Sachs, Morgan Stanley, and the other Prime Broker Defendants: Stuart

Hendel, the former head of prime brokerage at Morgan Stanley and UBS, was named the new

head of Global Prime Brokerage at Bank of America.

       207.    Once appointed, Hendel immediately began shutting down internal resources

dedicated to AQS and directing personnel to discourage and disavow the investment. He ordered

the stock loan desk to limit the volume of transactions that could be placed on the AQS platform:

Going forward, the desk could put on only $1 billion of notional loans each day, a tiny fraction

of Bank of America’s normal daily volume. The new policy choked off dealer volume on AQS.

Under Hendel’s direction, Bank of America made no further investments in AQS and stopped

providing any meaningful support.

       208.    The conspiracy among the Prime Broker Defendants to boycott and eliminate

AQS, and SL-x that strengthened by 2011 is evidenced by the identical actions by each of the

Prime Broker Defendants to act in concert to pull its support from the products (in many cases




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after initially acknowledging the products’ great value to the market), to starve the products of

the liquidity and data that they needed to survive, and to bully and coerce others to turn their

back on the products. Although the specific facts surrounding Defendants’ adverse actions

against each of AQS, SL-x, and Data Explorers were unknown to each of the respective targets at

the time, in hindsight and with full knowledge, the similarities in Defendants’ approach vis-à-vis

each product are striking.

               2.      The Prime Broker Defendants agree to boycott AQS and starve it of
                       liquidity

       209.    When AQS began marketing its platform to the broker-dealers in and around

2009, the Prime Broker Defendants conducted several meetings with AQS executives, initially

expressing (or feigning) interest in the product in order to gather intelligence on the product’s

offerings. Coming out of these meetings, Goldman Sachs refused to support the AQS platform

under any circumstances.

       210.    The immediate response of the other Prime Broker Defendants was not as

strident, at least at first. Yet it swiftly became clear to AQS executives that the Prime Broker

Defendants had agreed on a common stance vis-à-vis AQS. Eventually, Prime Broker

Defendants Credit Suisse, JP Morgan, Morgan Stanley, and UBS each communicated, in

separate meetings with AQS executives, an identical position concerning AQS: that the only

way they would support the platform was if AQS made it an exclusive space for the Prime

Broker Defendants to trade—i.e., made it a broker-only platform. They all uniformly made it a

condition of their participation that lenders and borrowers would be barred from trading on the

platform.

       211.    AQS refused to submit to these parallel demands, which would effectively have

gutted the intent and benefits of the platform to the market as well as to stock borrowers and



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lenders. Unable to get AQS to back down, the Prime Broker Defendants met and discussed what

their next move should be. They held these discussions not only at regular EquiLend Board

meetings, but also among smaller groups outside official EquiLend Board meetings.

       212.    The Prime Broker Defendants decided that AQS was a “gateway drug” that could

lead to a marginalization of the Prime Broker Defendants’ dominant market position, and that the

only effective response was to starve AQS of its necessary lifeblood: liquidity. They agreed to

do this by collectively refusing to participate on the platform, and thereby to keep their trade

flow and trade data outside of the platform’s electronic market. The collective decision by the

Prime Broker Defendants not to use AQS meant that the efforts of other market participants—for

example, hedge funds and other broker-dealers (e.g., Charles Schwab)—to use the AQS

platform, which they liked and wanted to succeed, was seriously compromised.

       213.    Not only did the Prime Broker Defendants themselves boycott the AQS trading

platform, they also took concerted steps to prevent other market participants from transacting on

AQS. The prime brokers knew that for AQS to survive it needed hedge fund borrowers at a

minimum to participate on its platform. So the Prime Broker Defendants began to exercise

leverage over their hedge funds clients. In addition to providing critical prime brokerage

services across many asset classes, the Prime Broker Defendants also routinely assisted

(officially or unofficially) their own alumni employees, now at hedge funds, in raising capital

and accessing various financial markets, gave them access to scarce initial public offerings,

shared proprietary research with them, and provided other valuable services outside of stock

lending. These were services that the Prime Broker Defendants could—and did—threaten to cut

off if their hedge fund clients decided to trade on AQS.




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       214.    The Prime Broker Defendants also refused to give their hedge fund customers

access to AQS. Stock loan market standards require that a broker-dealer (acting as a “qualified

borrower”) be the legal borrowing entity in every stock loan transaction, and the OCC’s

amended by-laws (which set forth the standards and rules applicable to clearing transactions on

the AQS platform) explicitly provided that only broker-dealer members of OCC, such as the

Prime Broker Defendants, could transact on AQS, either as the lender or borrower. Accordingly,

for borrowers and agent lenders to have access to trade on the AQS platform, they needed to be

“sponsored” by, and granted access through, a broker-dealer, who would stand in to facilitate and

clear their trades. The Prime Broker Defendants’ point blank denial of access for their clients to

AQS meant that those clients simply could not trade on the platform.

       215.    In many cases, the Prime Broker Defendants also outright threatened to deny the

hedge funds access to critical prime brokerage services if they traded on AQS. In the face of

these threats, many of the hedge fund borrowers opted not to participate in AQS. For instance,

Renaissance Technologies—one of the world’s largest and most successful quantitative hedge

funds—asked each of the Prime Broker Defendants that it used for prime brokerage services for

direct access to AQS. Each one not only refused, but told Renaissance Technologies that if it

was not happy, it could take its business to another firm—an idle threat, as they each knew none

of them would agree to give Renaissance Technologies access to AQS, because they had

collectively agreed not to do so.

       216.    The same thing happened to dozens of large hedge funds, including flagship funds

like D.E. Shaw, Millennium Management, and SAC Capital. After inquiring about AQS, each

was stonewalled by the Prime Broker Defendants. Each was told that, if it was not happy with

the Primer Broker Defendants’ decision, it could take its business elsewhere.




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       217.    This strategy to deny clients access to AQS would not have worked if each Prime

Broker Defendant had acted unilaterally. Without assurances that other Prime Broker

Defendants would also refuse, no Prime Broker Defendant would risk losing its best customers

by inviting them to take their business to another Prime Broker Defendant. This only made

sense because there was no viable “elsewhere” for the hedge funds to go.

       218.    The Prime Broker Defendants’ threats were not restricted to their clients. For

instance, they took swift action when they learned that agent lender BNY Mellon, an important

source of stock lending supply, planned to use AQS for stock loan transactions. Upon learning

of this in 2012, Goldman Sachs told executives at BNY Mellon, including James Slater (Head of

Global Collateral Management and Securities Finance), that if BNY Mellon continued to use the

AQS platform, Goldman Sachs would return all of the open stock borrowing trades with BNY

and stop trading with the BNY stock loan desk altogether. Faced with this threat, BNY Mellon

withdrew its support for AQS.

               3.      Defendants collude to withhold support from and boycott SL-x

       219.    The Prime Broker Defendants’ boycott of SL-x followed the same playbook they

used to neutralize AQS. From the outset, Goldman Sachs was staunchly against the SL-x

product and refused to support it. In 2011, SL-x personnel met privately with William Conley

and others from Goldman Sachs. At the meeting, Mr. Conley was frank: If the Prime Broker

Defendants were to allow a central trading platform with counterparty clearing, it would

encourage smaller competitors, such as Jefferies, to enter the stock lending market and begin to

compete with the Prime Broker Defendants for market share. This would not be a good

development for the Prime Broker Defendants.

       220.    Mr. Conley also said to the SL-x executives that, if the Prime Broker Defendants

were to permit this kind of evolution at all, they would do it exclusively through an entity that


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they already controlled: EquiLend. “I ain’t supporting this,” Mr. Conley said, and showed the

SL-x executives to the door. Brad Levy, who was then Global Head of Goldman Sachs’

Principal Strategic Investments Group, was more definitive: “You ain’t going to get this done.”

       221.    SL-x executives reached out to EquiLend in late 2011 to propose a cooperative

approach. On August 1, 2011, SL-x sent a letter to EquiLend Chairman Jeffrey Benner to

introduce its product and propose a venture between SL-x and EquiLend that would afford

EquiLend “strong governance rights and a meaningful ‘seat at the table’ in the development of

the SL-x marketplace and shift to a CCP-model,” and also guarantee that EquiLend would use its

resources to foster and promote the SL-x platform.

       222.    SL-x executives followed this letter by meeting with EquiLend and many of its

member banks directly to further explain its product and pitch its proposed joint venture. But

this softer approach did not work, either. The Prime Broker Defendants understood that SL-x’s

platform would lay the foundation for a significant move in the direction of anonymous, price-

transparent, electronic stock loan trading of stock loan. SL-x provided a single marketplace to

which all participants in the transaction—borrowers, brokers dealers, and lenders—would

migrate in order to initiate, execute, and clear their stock loan trades. Once all these entities were

actively participating on SL-x’s platform, it would have been much easier for lenders and

borrowers to begin transacting directly with each other via clearing brokers, without the

participation of the Prime Broker Defendants as “middlemen.” The active participation in the

marketplace by many borrowers and lenders would also have made it easier for SL-x to later

offer an electronic, price-transparent trading platform, as the necessary sources of supply and

demand would already have been regular users of their product.




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       223.    In August and September 2011, EquiLend and its board members met and

discussed SL-x’s offer and whether to cooperate with or otherwise support the SL-x platform.

They decided against it. EquiLend and its board members agreed that EquiLend would not join

forces with or support SL-x, and neither would any EquiLend member banks. Instead, they

agreed that any such market innovations, if they were to occur at all, would need to be done

through EquiLend.

       224.    On September 21, 2011, EquiLend’s CEO, Brian Lamb, responded to SL-x’s

August 1 letter by email. Lamb, writing on behalf of the Chariman of the Board of EquiLend,

EquiLend’s directors, and EquiLend management, informed SL-x that all parties had uniformly

decided to reject SL-x’s offer.

       225.    With EquiLend having rejected its overtures, SL-x went back to trying to court

the Prime Broker Defendants individually. The reaction of the Prime Broker Defendants

(including Bank of America, which had earlier expressed an interest in helping to move the

market forward) was uniform and unwavering. Each held to the agreement reached among the

other Prime Broker Defendants and refused to support SL-x.

       226.    For instance, on September 21, 2011—the same day as Brian Lamb’s rejection

email to SL-x—Morgan Stanley’s Edward McAleer responded to SL-x concerning its overtures.

McAleer indicated that he had spoken that same day with Anthony Schiavo—Managing Director

at Morgan Stanley and a Director of EquiLend—concerning SL-x’s proposal. Schiavo’s view, as

relayed by McAleer, was that SL-x should deal with EquiLend directly rather than through

Morgan Stanley, and that “approaching a group of brokers outside the EquiLend arena is not an

approach he wants to take.”




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       227.    SL-x again followed up with McAleer. But Morgan Stanley held fast to its

agreement with the Prime Broker Defendants that nothing would happen outside of EquiLend.

Copying Schiavo on his response on October 12, 2011, McAleer explained once again to SL-x

that “all the relevant people at MS” shared the “house view” that “we do not want to participate

in a separate consortium,” noting Morgan Stanley’s “buy in that any solution of plan needs to

involve EquiLend.” Morgan Stanley’s opposition to SL-x was not about the merits of the

platform. One Prime Broker Defendant employee around this time praised SL-x as “the most

intelligent, thoughtful, and usable approach to the [stock loan] market that we have ever seen.”

       228.    Taking the parallel approach that they had agreed on, each Prime Broker

Defendant and EquiLend withheld capital and support from SL-x through the fall of 2011 and

throughout 2012, intent on seeing whether this would cause SL-x to wither and die on the vine.

       229.    Between 2012 and 2014, SL-x executives met with Robert Genkinger and Rajeev

Patel from Bank of America; Gene Gemelli, Ralph Lehnis, and Karl Bishti from Credit Suisse;

William Conley from Goldman Sachs; Judith Polzer, B.J. Marcoullier, John Shellard, and

Jonathan Cossey from JPMorgan; Anthony Schiavo and Edward McAleer from Morgan Stanley;

and Brendan Cusick and James Buckland from UBS. Each of these individuals sat on the board

of EquiLend USA or EquiLend Europe. Because EquiLend’s directors were high-ranking stock

loan executives at their respective Prime Broker Defendants, SL-x was often forced to pitch its

product to the very individuals who were regularly meeting and conspiring to ensure its failure.

As a result of the conspiracy, each of these personnel refused to support SL-x.

       230.    Again, this opposition was not about the merits of the SL-x offering. In fact,

certain personnel from within the banks praised the strength of the platform. In meetings with

SL-x executives that occurred on February 26, March 19, May 9, July 10, and September 6,




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2013, executives from Credit Suisse, Deutsche Bank, JP Morgan, Citigroup, and UBS,

respectively, praised the platform’s design and functionality, with Credit Suisse’s European

Prime Brokerage Desk Head, Karl Bishti, telling SL-x executives on February 26, 2013 that the

product’s functionality included “all the bells and whistles” he would expect, that the platform

lacked nothing that he could identify, and that he saw “no shortcomings” that would prevent the

platform’s imminent introduction into the marketplace. Deutsche Bank’s Head of Supply

Trading, Kevin Soobadoo, similarly told SL-x executives in a March 19, 2013 meeting that the

platform was “brilliant” and “impressive” and was the “most state-of-the-art piece of kit to hit

the securities lending space.” Executives from Nomura and Societe General, on February 28 and

October 17, 2013, respectively, also praised the SL-x platform as “fantastic” and “really an

awesome product.” UBS executives Casey Whymark and Laurent Issner, during a September 6,

2013 meeting, said the platform was “very cool and we are impressed.”

       231.    The Prime Broker Defendants’ executives also recognized that the stock loan

market was primed for this type of innovation, which was spurred by recent regulatory

developments, and acknowledged that the SL-x platform would be good for the market in

general. For example, in an December 4, 2012 meeting, executives in Prime Broker Defendant

UBS’s Zurich office (Casey Whymark, Managing Director and Co-Head of Securities Lending

and Financing, and Philipp Haller, Executive Director, Trading Strategy and Development)

acknowledged to SL-x executives that transitioning the OTC stock lending business to a

centrally cleared market would in principle be a good development for market participants, and

noted the “unmistakable momentum arising from regulatory considerations and other pressures”

toward this transition.




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       232.    HSBC’s Global Head of Equity Finance, Karl von Buren shared this same

sentiment in an October 16, 2012 meeting, informing SL-x executives of his belief that the stock

loan market was moving in the direction of a centrally-cleared market and that HSBC was

inclined to embrace a product like SL-x. JP Morgan Chase executives (Laura Allen, Executive

Director, Equity Finance Prime Brokerage, and Rosie Allott, Equity Finance Prime Brokerage)

in March 2013 also acknowledged that the features offered by SL-x would be a good

development for the overall stock loan market.

       233.    SL-x struggled to move forward. In 2013, the SL-x platform permitted central

clearing of certain European stock loan transactions (specifically those in Belgian, Dutch,

French, German, and Swiss stocks) executed on the platform through Eurex Clearing, a central

counterparty based in Germany. Also in early 2013, SL-x began making meaningful progress

with OCC towards a deal that would permit central clearing of U.S. stock loan transactions

executed on the SL-x platform through OCC. These discussions progressed rapidly, and by

summer of 2013, SL-x was in the process of developing and building out the infrastructure

necessary to connect its platform to OCC. SL-x and OCC began beta testing on that connectivity

platform by late 2013, suggesting that the completion of a deal between SL-x and OCC and the

working infrastructure to enable central clearing on SL-x through OCC would be imminent. The

consummation of a partnership between SL-x and OCC that would permit for U.S.-based stock

loan clearing was a game changer for SL-x.

       234.    Throughout the summer and fall of 2013, SL-x was also working toward a

partnership with global financial information services provider Markit that was publicly

announced in October 2013. This partnership would enable Markit customers who used the SL-

x platform to access to real time trading data from SL-x (at the time limited to European cleared




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trades) through Markit, along with other securities finance data and analytics provided by

Markit.

          235.   Although the SL-x trading data to be made available through Markit was limited

at that point to European cleared trades (through SL-x’s then-existing partnership with Eurex),

the existence of a SL-x/Markit partnership, together with what appeared to be an imminent deal

to clear U.S. stock loan trades through OCC, seemed primed to open the floodgates on

transparent access to real-time trading data from SL-x trades to the market at large.

          236.   In mid- to late-2013, the Prime Broker Defendants renewed their commitment to

standing against SL-x. They agreed to boycott SL-x, collectively refused to use its platform, and

took steps to ensure that other market participants turned their back on SL-x as well.

          237.   Notwithstanding the earlier praise and recognition provided by certain bank

executives, after several meetings in which SL-x executives shared with the Prime Broker

Defendants’ representatives details about SL-x technology and product offerings, each bank went

cold and, without explanation, refused to engage or proceed further with SL-x. Many of the

Prime Broker Defendants suddenly reported that they were no longer willing to be first movers

on SL-x and indicated that they would not break ranks with the other Prime Broker Defendants.

And as they had done with AQS, the Prime Broker Defendants in some instances threatened their

clients with the loss of other prime brokerage services if they signed on to the SL-x platform

against the Prime Broker Defendants’ wishes.

          238.   Prime Broker Defendant JP Morgan, for example, had several meetings with SL-x

executives from November 2012 to May 2013 where bank representatives praised the SL-x

product and showed interest in obtaining access to the platform as soon as possible. This




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momentum continued for some time, over the course of several meetings, until it abruptly ceased

without explanation in or around August 2013, leaving the SL-x executives stunned.

       239.    Echoing Goldman Sachs’ initial views, in an August 7, 2013 meeting with SL-x,

John Shellard (Managing Director of Trading Services at JP Morgan and an EquiLend Board

member) revealed a “general agreement among [the] directors” of EquiLend “that industry

advances should be achieved from within EquiLend” and not through third parties such as SL-

x.44 Shellard informed SL-x executives, for the first time, that following internal discussions

within JP Morgan a decision had been made to take no further action with SL-x at this time.

       240.    In similar vein, although certain executives within Credit Suisse had recognized

the obvious merit of SL-x’s product from the outset, they candidly acknowledged to SL-x that

the platform’s success would depend not on its own merits, but on breaking through the

organized broker-dealer cartel that was operating under the auspices of EquiLend. For example,

Credit Suisse’s European Prime Brokerage Desk Head, Karl Bishti, acknowledged to SL-x

executives in a February 26, 2013 meeting in London that the stock lending market would

“change overnight” into a more automated and operationally efficient business if the SL-x

platform could receive broad-based market support.

       241.    In that same meeting and a subsequent July 19, 2013 meeting, however, Bishti

(also an Associate Director of EquiLend) candidly confirmed to SL-x the reality that winning

such support would mean “facing off against EquiLend,” which he viewed as a major challenge

to SL-x that should not be underestimated. Comparing EquiLend to “the mafia run by five crime

families,” Bishti told SL-x executives that any transition to the SL-x trading platform and toward

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           Shellard also admitted that EquiLend was “simply the industry utility, owned and
supported by the major banks,” putting the lie to the notion that EquiLend is an independent,
profit-maximizing joint venture.



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central counterparty clearing would necessarily require the “cooperation” of, or a “collaboration”

with, EquiLend. Unsurprisingly, despite Bishti’s recognition of the benefits of the SL-x

platform, Credit Suisse stalled for months on signing on to SL-x, ultimately telling SL-x in July

2013 that it would only join the platform if and when the “Big Boys” (i.e., other large market

players) committed to the platform and there was evidence of substantial liquidity—an

eventuality Credit Suisse executives knew would likely never happen given the conspiracy.

       242.    Credit Suisse’s sentiments were echoed almost verbatim by executives from

Prime Broker Defendant UBS during a similar time frame. In a meeting with SL-x executives

that took place in May 2013, UBS was initially interested in and enthusiastic about the

functionality offered by SL-x. By July 2013, however, UBS’s Global Head of Securities

Lending James Buckland informed SL-x executives that UBS would not sign on to the SL-x

platform until and unless SL-x could secure commitments from other large market participants

and demonstrate evidence of significant liquidity. In that same meeting on July 26, 2013, and a

subsequent meeting that took place in London on September 26, 2013, Buckland frequently

referenced EquiLend in the context of discussing SL-x’s strategy to gain widespread market

acceptance of its platform, noting the benefit of being “inside the club” of EquiLend member

banks to effectuate market changes and suggesting that any market transition towards an SL-x

platform and central clearing of stock loan trades would need to come from inside EquiLend.

       243.    On June 18, 2014, in a meeting scheduled in Berlin to coincide with the

International Securities Lending Association’s annual conference, Morgan Stanley executives

(including Edward McAleer, an EquiLend board member) similarly informed SL-x that it would

only be pursuing cleared solutions through EquiLend. Around the time that Morgan Stanley

ceased contact with SL-x, Morgan Stanley’s European prime brokerage division threatened




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certain of its hedge fund clients that the hedge funds would lose other prime brokerage services

provided by Morgan Stanley if they were to “trade away” their securities lending business to

venues such as SL-x.

       244.    Similarly, when SL-x executives met with Bank of America in July 2014. Bank

of America told SL-x that there was considerable controversy within Bank of America about

how endorsing an outside platform would affect the bank’s relationship with EquiLend. After

this meeting, Bank of America never moved forward.

       245.    Many of the Prime Broker Defendants made strikingly similar statements to SL-x

concerning EquiLend’s role in their reluctance ultimately to engage with the SL-x platform.

Several Prime Broker Defendants—including JP Morgan, UBS, and Credit Suisse—echoed

Goldman Sachs by telling SL-x executives point blank that they would only support the types of

innovations that SL-x offered if this were done through EquiLend (which the Prime Broker

Defendants controlled), and that it was generally recognized that any market transition such as

that offered by SL-x would need to come from within EquiLend.

       246.    Echoing what JP Morgan’s Shellard had revealed to SL-x executives regarding a

“general agreement among [the] directors” of EquiLend “that industry advances should be

achieved from within EquiLend,” Credit Suisse representatives privately told SL-x executives on

February 26, 2013 that “a successful launch will require the cooperation of EquiLend”—despite

the fact that EquiLend did not then offer any similar capabilities.

       247.    In fact, any suggestion that EquiLend could offer competing functionality to SL-x

during this time frame was entirely false. As many of the Prime Broker Defendants’

representatives revealed in early meetings with SL-x, they viewed EquiLend as “archaic” and as

“an entrenched although unexciting system” whose functionality was very poor. Deutsche Bank




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executives in particular noted that the “fill-rate” of prospective trades on EquiLend—i.e., the

ability of brokers to locate and fill stock borrowing orders from their clients—was below 8%.

Or, in other words, that Deutsche Bank was “lucky if 4 out of 50 stocks are located on

EquiLend.”

       248.    Credit Suisse was similarly critical of EquiLend, with EquiLend board member

Frederick Nadd-Aubert admitting serious shortcomings with the platform. One ex-board

member of EquiLend from UBS (by 2012, working for BNY Mellon subsidiary Pershing) told

SL-x executives in October 2012 that he had told EquiLend years ago that they should build

something like SL-x, yet EquiLend had never done so.

       249.    Executives at several Prime Broker Defendants (including Credit Suisse and

UBS) effectively confirmed to SL-x executives that the Prime Broker Defendants used their

positions as Directors of EquiLend to meet and discuss threats to their business and to coordinate

a unified response. Credit Suisse’s Bishti, for example, informed SL-x in July 2013 that

EquiLend Directors—who he described as the “key players” in the stock lending industry and as

“members of the club”—regularly met and engaged in substantive discussions concerning

significant developments and trends in the stock loan market and particularly to address

“industry challenges such as central clearing.”

       250.    UBS’s Buckland confirmed this fact in meetings with SL-x executives that took

place on July 26, 2013 and September 26, 2013, stating that EquiLend’s Directors meet “every

six months to discuss market evolution,” including particularly the transition to central clearing

of stock loan transactions. He, too, referenced the obvious benefit of being “inside the club” of

EquiLend member banks in order to effect change in the stock loan market, and suggested that




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any market transition to a trading platform like SL-x and central clearing would be addressed

from within EquiLend.

       251.   As they did with AQS, the Prime Broker Defendants not only boycotted the

platform themselves, but pressured other market participants to do so. Other market participants,

such as BNY Mellon, State Street, and Northern Trust, met with SL-x personnel and

acknowledged the price transparency and other benefits the platform would bring to the market.

But they said that, since the Prime Broker-dealers—and particularly industry giants Goldman

Sachs and Morgan Stanley—were aligned against the platform, they could not support it.

       252.   In one such meeting that took place in London on October 12, 2012, Andrew

Clayton (Global Head of Securities Lending at Northern Trust) expressed interest in SL-x, but

explained that Northern Trust’s support of SL-x was subject to the approval of Goldman Sachs.

He indicated that Goldman Sachs’ Mr. Conley had “strong views” on directing business to

EquiLend instead of encouraging “outside industry initiatives” such as SL-x, and explained that

Northern Trust would not be inclined to proceed with SL-x without Goldman Sachs’ approval.

Thus, despite their interest in SL-x, none of these other market participants would come onboard

because they feared the consequences of crossing the Prime Broker Defendants’ cartel.

       253.   The Prime Broker Defendants also pressured clearinghouses to refuse to provide

clearing services to SL-x. In 2015, OCC’s Chief Operating Officer disclosed to SL-x that he had

been in constant contact with Goldman Sachs’ Conley during the period of the boycott and that

“nothing was going to happen” between SL-x and OCC without the Prime Broker Defendants’

blessing—and particularly the blessing of Goldman Sachs. The partnership between SL-x and

OCC that appeared to be imminent in 2013 subsequently, and without explanation, never

materialized. Similarly, Murray Pozmanter—the DTCC Managing Director who served as the




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gatekeeper for DTCC’s clearing business—admitted to SL-x that the DTCC could not offer SL-x

central stock loan clearing without the approval of Goldman Sachs and other Prime Broker

Defendants.

       D.      The Prime Broker Defendants Use EquiLend to Neutralize Data Explorers

       254.    In 2011, perceiving Data Explorers as a threat that could no longer be tolerated,

the Prime Broker Defendants met, under the auspices of discussing EquiLend business, to

discuss the threat posed by Data Explorers and how to neutralize that threat.

       255.    The solution that emerged during those discussion was that the Prime Broker

Defendants agreed that EquiLend would set up a competing business—DataLend—that,

controlled by the Prime Broker Defendants, would work to suppress Data Explorers and edge

them out of the market. It would monopolize and lock up data from agent lenders and prime

brokers. As reportedly stated by Goldman Sachs’ William Conley in those discussions,

DataLend would be set up to ensure that beneficial owners could never see the spread between

what they were paid to lend securities and what borrowers were charged to borrow them, a

nightmare scenario that would “kill our business.” In the first quarter of 2011, representatives

from Data Explorers were told by some clients that Brian Lamb, CEO of EquiLend, told them

that EquiLend had plans to “kill” Data Explorers.

       256.    This plan to kill Data Explorers represented a sharp reversal for the Prime Broker

Defendants. In the past, EquiLend had internally considered whether to launch a data product in-

house. Those plans disintegrated because the Prime Broker Defendants resisted anything that

smelled of transparency. Conley, in particular, said that EquiLend would get Goldman Sachs’

data only “over [his] dead body.” Morgan Stanley’s opposition was nearly as virulent.

Threatened with Data Explorers’ success, however, Conley and the Prime Broker Defendants

turned about-face in an effort to prevent Data Explorers from killing their profits.


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       257.    The Prime Broker Defendants formed DataLend as a data division within

EquiLend in 2011. They then agreed, in lockstep, to distribution agreements with DataLend that

placed substantially identical restrictions on how each Prime Broker Defendant’s trading data

could be used. These agreements included a prohibition on disclosing any prime broker data to

lender or borrower customers. Among other things, the Prime Broker Defendants agreed

amongst themselves, and then with DataLend, that they would not permit bid-side data (that is,

data showing what borrowers paid to borrow securities) to be provided to any beneficial owners.

Conley from Goldman Sachs, Mike Kelleher from JP Morgan, and other Prime Broker

Defendants on the board of EquiLend were involved in the discussions that led to these parallel

agreements.

       258.    The design of these restrictions—and the intent of the Prime Broker Defendants

from the outset—was to offer, through DataLend, just enough trading data to undermine Data

Explorers, but to withhold from the market the real-time retail and wholesale data that they knew

would lead to pricing compression (and a reduction in their fees) if it ever got out. The Prime

Broker Defendants now also agreed in parallel, and with captive competitor DataLend, that

DataLend would also withhold this data from the market.

       259.    As part of their plan to “kill” Data Explorers, the Prime Broker Defendants also

began using DataLend to undercut Data Explorers’ customer base in the market. The EquiLend

Board authorized DataLend to go out and directly engage with the customers who had already

signed up with Data Explorers. The Prime Broker Defendants also disparaged the data provided

by Data Explorers, falsely characterizing it to customers as inaccurate and unreliable.

       260.    The key to the Defendants’ plan was to cut off Data Explorers’ access to agent

lender data. It was relatively easy for the Prime Broker Defendants to ensure their own data




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never made it into borrowers’ or lenders’ hands. It was more difficult to ensure that borrowers

and lenders never got access to each other’s data. In order to prevent data leakage across the

borrower/lender divide, the Prime Broker Defendants targeted agent lenders—the handful of

firms who aggregated stock loan supply—and sought to monopolize access to their data.

       261.    For the agent lenders only—and in order to lure them away from Data

Explorers—the Prime Broker Defendants agreed to provide them directly with data similar to

that being provided by Data Explorers, but at very little cost or, in some cases, virtually for free.

For example, Data Explorers had multiple contracts with agent lenders in the range of $1-2

million for data provision services. To undercut Data Explorers’ pricing and poach their

customer base, DataLend offered to provide the same data services to agent lenders effectively

for nothing. Most major agent lenders—those who were members of EquiLend45—were at least

initially offered DataLend’s products for no additional fee.

       262.    DataLend’s provision of this data to agent lenders only was safe for the Prime

Broker Defendants, and did not pose as great a risk as the provision of that same data to end-user

beneficial owners and borrowers. Providing trading data to agent lenders did not implicate the

ability of borrowers to see market data or to have any visibility into (or ability to negotiate) the

price they were being charged for stock loans. Nor did the provision of trading data to agent

lenders improve the negotiating leverage of beneficial owners, who would never see this data

themselves. Yet at the same time, agent lenders formed a significant base of support for Data

Explorers, and removing this support would go a long way toward excluding Data Explorers

from having any material influence or effect on the overall market. In other words, this strategy

was a calculated risk by the Prime Broker Defendants to permit some limited data transparency

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            In other words, all major agent lenders except BNY Mellon.



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only to agent lenders in exchange for “killing” the far greater risk to their business posed by Data

Explorers.

       263.    Before Data Explorers emerged, EquiLend had never taken steps to monetize its

access to the banks’ trading data, because any additional degree of price transparency provided

market participants with leverage to challenge the Prime Broker Defendants’ prices. It was only

when faced with the threat posed by Data Explorers that the Prime Broker Defendants decided to

offer EquiLend’s minimal product as a gambit to avoid further damage.

       264.    The gambit worked. Agent lenders used the new stream of low-cost information

provided by DataLend to renegotiate prices with Data Explorers. Data Explorers’ revenues

plummeted and its momentum came to a dead stop.

       265.    Crippled by the assault from DataLend, Data Explorers was acquired by Markit, a

large market data and post-trade processing firm. Although Markit is an independent company,

the Prime Broker Defendants have considerable influence over it. Markit operates in a number

of different financial markets and is closely interconnected with the major banks, including all of

the Prime Broker Defendants. As such, Markit has shown no interest in carrying out Data

Explorers’ original vision of bridging the data divide between wholesale and retail customers.

       E.      The Prime Broker Defendants Agree to “Project Gateway”

       266.    By 2014, the Prime Broker Defendants’ collective boycott had largely succeeded

in sidelining these products from the market and eliminating the competitive threat.

       267.    Data Explorers, having been purchased by Markit and unable to withstand the

Prime Broker Defendants’ coordinated scheme to starve it of information and customers, was

relegated to the fringes of the market.

       268.    As described above, the Prime Broker Defendants collectively refused to conduct

significant transactions on the SL-x platform and prevented others from doing so. Starved of


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liquidity, and now confronted with the reality of the Prime Broker Defendants’ group boycott,

SL-x’s lifespan was brief. By September 2014, almost four years after development began, SL-x

had largely burned through its financial resources. It applied to cancel its UK Financial Conduct

Authority license as a trading facility and was forced to close and abandon its plan to enter the

U.S. market.46

        269.      AQS was facing a similar fate toward the end of 2014. Hobbled by Defendants’

group boycott and their threats against the hedge funds and other market participants, the AQS

platform was unable to develop sufficient liquidity to remain a financially viable stock lending

platform. It was relegated to the margins of the industry and forced to scramble for years merely

to stay afloat.

        270.      Having significantly weakened and all-but-eliminated both SL-x and AQS from

the marketplace, the Prime Broker Defendants agreed in late 2014 and 2015 to use EquiLend to

deliver the knockout blows: After boycotting these electronic trading platforms for years, the

Prime Broker Defendants directed EquiLend to purchase these platforms to complete the

elimination of them as competitors.

        271.      Around the end of 2014, the Prime Broker Defendants began negotiating with SL-

x’s private equity owner, Palamon Capital Partners, to purchase the intellectual property

(including several technology patents) held by SL-x. As it was building the platform, SL-x

obtained patents covering its core functionality, including the electronic negotiation of securities

transactions (permitting one party in the negotiation to remain anonymous) and automatic

matching of lenders and borrowers. Although SL-x had shut its doors, this patented technology

        46
           Mark Dugdale, Exclusive: SL-x to Shut Up Shop, SECURITIES LENDING TIMES, (Sept.
17, 2014), http://www.securitieslendingtimes.com/securitieslendingnews/
article.php?article_id=219512.



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remained available to be sold or licensed to a competitor who might still be able to bring the

technology to market.

       272.    In early 2015, EquiLend purchased SL-x’s patents and other intellectual property

for approximately £500,000. EquiLend had no intention of actually using this intellectual

property. EquiLend’s due diligence of the technology it was purchasing from SL-x was cursory

and superficial, and entirely devoid of the rigor that would be expected from a purchaser who

wanted to understand the technology or utilize it for a commercial purpose. In a due diligence

call on May 21, 2015 lasting only thirty minutes, Laurence Marshall, Chief Operating Officer of

EquiLend, along with EquiLend’s Arvin Kumar and Vik Gupta, asked cursory questions that

were answered in the previously provided pitch documentation, and had no discernable strategy

or timeline for using SL-x’s intellectual property. The acquisition occurred that same month.

EquiLend has never used the patents or attempted to commercialize the technology. Rather, it

put the patents on the shelf.

       273.    Unlike with SL-x, which was fatally crippled by Defendants’ boycott by the end

of 2014, AQS got a second wind in 2014 following the implementation of new accounting

guidelines specifically designed to encourage central clearing of stock loan transactions. AQS

had developed a platform and a partnership with OCC that permitted central clearing. This

regulatory development, and the resulting renewed interest in AQS, rendered the Prime Broker

Defendants’ boycott of AQS suddenly insufficient to ensure their continued dominance of the

stock loan market.

       274.    On January 1, 2014, the Basel Committee on Banking Supervision issued a set of

measures called “Basel III.” Basel III, which was adopted in large part by the United States

Federal Reserve, imposed new capital requirements on the Prime Broker Defendants for bilateral




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stock loan transactions. Basel III revised the “risk weighting” applicable to stock loan

transactions in which the Prime Broker Defendants acted as a direct counterparty. The revised

risk weighting required the Prime Broker Defendants to carry more capital on their balance sheet

to cover the same risk, which in turn reduced the bank’s reported rate of return on capital.

         275.   The rate of return on capital is a critical financial metric to determine the

profitability of a bank, or a particular business line within a bank, and bankers are compensated

(or de-compensated) accordingly as this metric increases or decreases. For investment banks,

return on capital is a critical metric of success, and the cost of capital is at least 10%.47

Therefore, for a business within an investment bank to be considered profitable, its return on

capital must exceed 10%. A business unit within a bank with a high rate of return on capital is

considered profitable and worth a great deal—and the employees who run and work in that

business are compensated accordingly. A business within a bank with a low rate of return on

capital is considered unprofitable and subject to shrinkage or potential closure.

         276.   Basel III essentially reduced the bank’s reported rate of return on capital for stock

loan transactions, unless the bank began centrally clearing its stock loan transactions (and

thereby offloading the risk to a central clearing counterparty). For one Prime Broker Defendant,

it was estimated that Basel III’s capital requirements could potentially reduce its return on capital

for stock loans to an “unprofitable” rate of less than 10% if it did not centrally clear its stock

loans.

         277.   Faced with Basel III, individual business units within certain banks began taking

steps toward central clearing of stock loan transactions. Under Basel III, banks could


         47
           Laura Noonan, Investment Banks’ Return on Equity Declines, FINANCIAL TIMES (Feb.
21, 2016), https://www.ft.com/content/0c65e85a-d719-11e5-8887-98e7feb46f27?mhq5j=e3.



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dramatically reduce the “risk weight,” and hence balance sheet costs, of stock loans by sending

them to central clearing. Centrally clearing their stock loans would therefore dramatically

improve the reported return on capital for their stock loan businesses.

       278.    Within these large prime broker banks, business units and reporting lines are often

siloed and lack effective coordination and communication. As a result, staff responsible for

balance sheet management within the banks tasked with improving the bank’s balance sheet

position were often kept separate from staff responsible for trading stock loan. The loan trading

staff did not know, and were not told by senior management until later, that a move toward

central clearing of stock loan transactions—while superficially beneficial under Basel III—

would be disastrous to the bank’s profitability on a much larger scale.

       279.    Upon discovering the steps being taken by their various middle management in

these working groups towards central clearing, senior management and stock loan executives at

many of the Prime Broker Defendants became alarmed. They recognized that central clearing

could significantly impair the outsized profits that they still managed to squeeze from every

stock loan trade. In their view, the loss of profits from potential market disruption would far

outweigh any potential balance sheet cost savings resulting from central clearing. The tension

between senior management and stock loan executives at the Prime Broker Defendants and their

midlevel business heads in charge of the bank’s balance sheet optimization in the wake of Basel

III is illustrated by events that took place at Defendant Morgan Stanley in 2014.

       280.    Credit Suisse’s Shawn Sullivan, in April 2014, recommended “get[ting] all the

members of the five families together” to discuss AQS and related stock loan issues that had now

emerged.




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        281.   In 2014, Thomas Wipf, as Global Head of Bank Resource Management at

Morgan Stanley, was running a new division that Morgan Stanley had created after the financial

crisis to centralize the firm’s funding, securities lending, collateral management, and

counterparty hedging activities. In the beginning of 2014, Mr. Wipf tasked his direct report—

Susan O’Flynn (Global Head of CCP Strategy, Governance and Optimization)—with a project to

reduce the bank’s balance sheet costs and increase its return on capital. Ms. O’Flynn decided to

do this through central clearing, which she viewed as the most effective way to reduce the

balance sheet cost of Morgan Stanley’s stock lending business and increase its return on

capital.48

        282.   In early 2014, Ms. O’Flynn publicly came out in favor of central clearing via

Eurex and OCC, discussing it favorably with Morgan Stanley’s customers (lenders and

borrowers). She set up working groups to develop “plumbing”49 for the banks to connect to

Eurex and OCC, and started lobbying to make the OCC’s rules friendlier to Morgan Stanley’s

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           Mr. Wipf did not direct Ms. O’Flynn—newly appointed in her role, with a background
in patent law and not connected to Morgan Stanley’s trading side—on how to go about achieving
her mission. In theory, there were a number of ways for Ms. O’Flynn to reduce the risk-
weighted assets held on Morgan Stanley’s balance sheet. She could increase the netting, “back
loading,” and optimization of fixed income trades, for example, which she did. Ms. O’Flynn
also decided to go down a path with an even higher potential reward in that it could dramatically
reduce the balance sheet cost of Morgan Stanley’s equities securities lending business and thus
dramatically increase its return on capital. She focused on the fact that Basel III provided an
escape hatch from the onerous balance sheet costs of bilateral trading imposed on the stock loan
business: central clearing. The “risk weight” for a centrally cleared stock loan was 2% under
Basel III while, under its tightened standards, the “risk weight” for a traditional bilateral stock
loan was between 20% and 120%. In other words, a centrally-cleared stock loan transaction was
between ten and sixty times cheaper in capital terms than a traditional bilateral transaction.
Clearing its stock loans would allow stock lending to continue to be a profit center for the banks
and maintain them as a highly profitable business with low balance sheet costs.
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           Plumbing refers to back office decisions regarding rules like posting initial margin /
haircut; posting and receiving variation margin (e.g., amounts needed to cover varying types /
changing valuations of collateral); Extensible Markup Language messaging protocols,
affirmation standards and timelines, and custodian, tri-party agents, and collateral schedules.



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specific needs under Basel III. While Ms. O’Flynn’s direct objective was to facilitate central

clearing of Morgan Stanley’s own stock loan trades, her vocal support of central clearing in

general with clients, and her efforts to improve the bank’s infrastructure for central clearing,

constituted a significant step down the path toward wider market adoption of central clearing on

all stock loan trades—something that, unbeknownst to her at the time, was very dangerous to the

Prime Broker Defendants’ privileged intermediary positions and their scheme to maintain them.

       283.    At Morgan Stanley, as in many banks, corporate strategy and trading were

separate and did not communicate regularly. Therefore, while Ms. O’Flynn provided Mr. Wipf

with projections concerning how much she planned to reduce the balance sheet cost through

central clearing, she did not raise her plan to embrace central clearing more widely with senior

management or executives on the stock loan desk.

       284.    In late 2015 or early 2016, however, executives from Morgan Stanley’s stock loan

business got wind of Ms. O’Flynn’s efforts and made Mr. Wipf and others aware of the threat

that a move toward central clearing posed to Morgan Stanley’s outsized profits as stock lending

intermediaries. Specifically, they were concerned that central clearing would eliminate the credit

quality justification for a middleman prime broker. Mr. Wipf then discussed this issue with

others at Morgan Stanley, including with the Head of Securities Lending and Bank Resource

Management in Europe, Matthew R. Collins.

       285.    At this point, it would have been difficult for Mr. Wipf simply to direct Morgan

Stanley to reverse course and cease all movement toward central clearing. Internally, the

projected savings had been widely socialized as a justification for the new Bank Resource

Management Division, as well as Ms. O’Flynn’s role. Externally, Ms. O’Flynn had publicly

advocated central clearing to Morgan Stanley’s customers, had encouraged the OCC to modify




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its central clearing rules to permit this evolution, and had started working groups with other

major industry participants to move towards central clearing. It would have been impossible, not

to mention highly suspicious, for Morgan Stanley to explain to customers a valid basis for

suddenly reversing course on a cost-savings strategy it had publicly and widely espoused,

particularly since it could never reveal its true reasons: that its internal cost-benefit analysis had

revealed any cost savings resulting from central clearing paled in comparison to the extortionate

profits the bank was able to wrest from those very customers in the current market structure.

       286.    On a more basic level, the balance sheet benefits that would result from central

clearing in the wake of Basel III were real—and Mr. Wipf had already told his superiors that he

would be providing those savings. Indeed, Mr. Wipf incorporated the savings projections that

Ms. O’Flynn had presented to him into the budgets he sent to his superior, Colm Kelleher, who,

in turn, incorporated those savings into budgets he sent to Morgan Stanley’s CEO, James

Gorman. To detrimentally revise those budgets now not only would have cost Ms. O’Flynn and

Mr. Wipf their credibility with their superiors and clients, but also would have affected their

compensation and their jobs.

       287.    Faced with this problem, Mr. Wipf devised a strategy that had two main

components. The first required Morgan Stanley and the other Prime Broker Defendants to

structure their own clearing mechanisms or “pipelines” to OCC in such a way as to ensure their

position as an intermediary. Specifically, when the Prime Broker Defendants cleared their

trades, they needed to make sure that: (1) the clearing would maintain the opacity of the

traditional stock loan market—with neither the lender nor the borrower knowing the price the

counterparty paid or received, (2) there would be no independent trading platform linked to the




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clearing house (like an exchange or central order book), and (3) the clearinghouse would not

publish market data.

       288.    The second part of the plan was to ensure that the only way for market

participants to clear trades was to use pipelines controlled by the Prime Broker Defendants. To

do that, the Prime Broker Defendants needed to completely control access to the clearinghouses.

       289.    There were only two major clearinghouses with an SEC license to clear securities

lending transactions in the U.S. in 2016: DTCC and OCC. DTCC did not offer clearing for

stock lending. OCC, on the other hand, did offer clearing of stock loan trades.

       290.    The Prime Broker Defendants had considerable influence over OCC, with seats

on the Board of Directors, and had direct access to central clearing for stock loan transactions

through OCC themselves.50 Bank of America and Goldman Sachs alone contributed roughly 40-

50% of the capital in OCC’s clearing fund. But they were not the only ones with access to OCC

for central clearing. AQS also had a deal with OCC that allowed anyone who traded on AQS to

clear their trades through OCC. Mr. Wipf and other senior executives within Morgan Stanley

feared that lenders and borrowers would increasingly shift their trades to AQS to take advantage

of its clearing function, and use its connection to OCC and its electronic platform to trade among

themselves via AQS’s exchange.

       291.    This fear was exacerbated by the existence of a pending deal that had been

initiated in early 2015 for OCC itself to purchase AQS and to offer open access to central


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            Affiliates of the Prime Broker Defendants are all members of the OCC and many of
their high-ranking employees serve on the OCC’s board of directors. For instance, in 2009, the
OCC Board of Directors included Frank J. Bisingnano, the Chief Administrative Officer of
Prime Broker Defendant JP Morgan Chase; Mitchell J. Lieberman, Managing Director, Global
Securities Services for Prime Broker Defendant Goldman Sachs; and Gary Yetman, Managing
Director of Prime Broker Defendant Merrill Lynch.



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clearing for AQS customers. Concurrent with the emergence of the deal between OCC and AQS

was AQS’s development of a new service relating to electronic trading and clearing of equity

repurchase agreements, which represents one financial reinvestment strategy employed by

lenders of securities who receive cash collateral from the borrower. So-called “equity repo”

activity accounts for between $400 billion and $700 billion in investment activity in the U.S.

alone, and is critical to successful and liquid US financial markets. The inclusion of equity

repurchase transactions on the AQS platform would have greatly enhanced the platform’s

efficiencies and benefits, and its attractiveness to market participants, particularly in the wake of

Basel III.

        292.   By early 2016, the material terms of this acquisition had been agreed to between

AQS and OCC management. OCC would pay AQS millions of dollars upfront and AQS would

receive a variable share of future revenue for the next three years. In exchange, AQS would be

sold to and become operated by OCC. But the OCC Board (on which several Prime Broker

Defendants hold seats as directors) had not approved this acquisition and the deal documents had

not been signed.

        293.   The prospective acquisition of AQS by OCC—an organization over which the

Prime Broker Defendants exerted substantial influence but did not entirely control—presented a

significant threat to the Prime Broker Defendants. It created the possibility of a pathway to

central clearing for market participants that the Prime Broker Defendants could not control. To

keep this from happening, Mr. Wipf and his colleagues at Morgan Stanley developed a plan that

they code-named “Project Gateway.” The goal of Project Gateway was to erect an iron-clad

“gate” through which all stock loan transactions must pass on their way to central clearing, which




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was now recognized as the inevitable result of Basel III. Project Gateway made certain that this

would be a “gate” that the Prime Broker Defendants would collectively control.

       294.    Mr. Wipf reached out to William Conley, who was the head of Global Securities

Lending at Goldman Sachs. Over a series of private calls and dinners paid for by Mr. Wipf at

restaurants in New York City, Mr. Wipf and Mr. Conley reached an explicit agreement on the

strategy and implementation of Project Gateway. They agreed that the two banks (who together

held the majority of the market share of stock lending revenue) should neutralize AQS by

arranging to acquire it. They agreed that they would do this by securing the agreement of the

other Prime Broker Defendants (who shared Morgan Stanley and Goldman Sachs’ interest in

preventing market disruption) to use EquiLend to purchase AQS for the sole purpose of

eliminating any alternate path to central clearing.

       295.    Mr. Wipf informed his colleagues at Morgan Stanley—including Susan O’Flynn

and Matthew Collins—of this agreement in January 2016, during a regularly occurring internal

teleconference (held on an internal system at Morgan Stanley known as iConference) referred to

as a “pipeline call” or a “global sales call.” (Recordings of this call likely exist.) In addition to

Mr. Wipf, Ms. O’Flynn and Mr. Collins, other participants included Tejash Patel (currently

Managing Director & Co-Head of U.S. Securities Lending) and Thomas Kinnally (currently

Global Head of Client Financing, Firm Financing and Collateral Risk Management).

       296.    At the outset of the call, Mr. Wipf informed his colleagues that he had spoken to

Mr. Conley at Goldman Sachs about AQS. He said that he and Conley agreed that Goldman

Sachs and Morgan Stanley needed to act together to “get a hold of this thing.” By the expression

“get a hold of this thing,” Mr. Wipf meant that Goldman Sachs and Morgan Stanley needed to

act together to acquire AQS and shut it down. Mr. Wipf said that getting rid of AQS was




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necessary because AQS provided a pathway to central clearing that was outside the control of the

Prime Broker Defendants.51

       297.    Following the Wipf/Conley meetings, Morgan Stanley and Goldman Sachs

coordinated and secured the participation of the other Prime Broker Defendants (each of whom

was an EquiLend Board member) in their common pursuit of Project Gateway. These

discussions took place at private dinners and meetings that often occurred at industry

conferences or under the auspices of EquiLend Board meetings. At these meetings, there was

common agreement among the Prime Broker Defendants that they needed to control a “universal

gateway” to central clearing through which every stock loan transaction would have to pass. To

further this goal, the Prime Broker Defendants all agreed to support Project Gateway and to clear

all stock loan transactions through their own direct pipelines to OCC—pipelines that were not

attached to an electronic trading platform.

       298.    As part of their support for Project Gateway, the Prime Broker Defendants agreed

to exert their influence as Directors of OCC and Directors of EquiLend to prevent OCC from

acquiring AQS. After an almost year-long negotiation resulting in an agreement on all material

terms, and at the stage at which final Board approval of the acquisition was required, OCC

abruptly pulled out of the deal to acquire AQS. It stopped returning calls from AQS and, in a

sudden about face and with no explanation, cancelled the transaction.

       299.    Tellingly, shortly after the deal between OCC and AQS collapsed, EquiLend itself

offered to buy AQS. After years of being boycotted and having spent nearly $100 million in

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           Morgan Stanley also seemingly took suppressive action concerning its then-Executive
Director in Bank Resource Management, Bruce West, who was acting as the bank’s liaison with
AQS. In early 2015, shortly after he began actively to use AQS as a trading platform and to tout
within Morgan Stanley that AQS allowed him to “do the work of six traders in one,” he suddenly
departed from the bank.



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investor money with very little volume or profit to show for it, AQS’s owners accepted

EquiLend’s offer of less than $5 million to purchase the assets of AQS.

       300.       On August 1, 2016, EquiLend purchased AQS. In the accompanying press

release, Brian Lamb, CEO of EquiLend, said: “Momentum has been building in the past two

years in support of CCPs [central clearing] in the securities finance marketplace. Balance sheet

costs, risk weighting and tougher capital-adequacy requirements have highlighted to the industry

the potential benefits of using central clearing services.”52 He claimed that by “providing

seamless access to OCC’s Market Loan Program, the securities finance market now will have

unprecedented access to central clearing services.”53

       301.       What Mr. Lamb did not say, however, is that the Prime Broker Defendants only

wanted central clearing on their terms. After buying AQS, the Prime Broker Defendants did not

increase their participation in their new electronic trading platform or take other action to make it

prosper. Instead, they bought it to complete their control of central clearing for stock loans and

to keep the AQS pathway to central clearing out of the hands of the market’s end users.

       302.       If the Prime Broker Defendants had acted unilaterally, each would have been

driven by the pressures of Basel III to pursue the procompetitive path to central clearing that Ms.

O’Flynn of Morgan Stanley had first pursued. In that event, the stock loan market, instead of

being the largest “dark pool” the world has ever known, would look more like the modern,

electronic, U.S. stock market itself. Borrowers would be able to choose any broker they wished

to price, trade, clear, and settle stock loans. And they could do so without facing pressure to

steer all their stock loan trading through the same broker at inflated rates. Lenders could post

       52
          EquiLend Acquires AQS to Facilitate OCC CCP Connectivity for Securities Finance
Market, EQUILEND, http://www.EquiLend.com/news/articles/2016/EquiLend_acquires_aqs.php.
       53
            Id.



                                                 100
their inventory on the stock loan trading and clearing platform of their choice, enjoying not only

genuine choice but far higher returns. There would be, in a word, competition, and lower

transaction costs for all.

         303.    To this day, no lender or borrower can trade and centrally clear stock loans

without the significant involvement and tacit approval of the Prime Broker Defendants. With

their successful capture of AQS, the Prime Broker Defendants stand Cerberus-like at the “gate”

of securities lending to prevent lenders and borrowers from clearing and trading securities loans

in a more efficient, and less costly, environment.

         F.      The Prime Broker Defendants’ Use of EquiLend as a Forum for Collusion
                 Triggers Special Scrutiny Under the Antitrust Laws

         304.    As previously described, the Prime Broker Defendants routinely used their

positions on the EquiLend Board to co-opt EquiLend as a vehicle through which to promote and

achieve their anticompetitive objectives. In doing so, EquiLend was not acting as a legitimate

market participant according to its own economic best interests as an independent competitive

venture. Instead, it was being used in illegitimate, non-competitive ways and taking actions that

in many cases did not further its own economic interests.

         305.    EquiLend Holdings LLC was formed in 2001, for the ostensible purpose of

“optimiz[ing] efficiency in the securities finance industry by developing a standardized and

centralized global platform for trading and post-trade services.”54 EquiLend mainly provides

reconciliation of stock loan transactions. Reconciliation is a process that, post-trade, determines

whether the shares from each counterparty were actually matched, whether margin due matched

margin received, whether collateral given matched collateral received, and so on. EquiLend has

         54
              See About Us, EQUILEND, at http://www.EquiLend.com/about/ (last visited Nov. 16,
2017).



                                                 101
gone on to add additional post-trade services, such as a settlement instructions repository,

contract comparison, mark-to-market comparison, billing comparison, billing delivery, recalls,

and returns.

        306.    EquiLend has also for many years offered a service called AutoBorrow.

AutoBorrow is a quasi-trading service that provides a daily automated, sequential execution for

general collateral stock loans. As with EquiLend’s effort to mimic other competitor’s products,

AutoBorrow is similar to SunGard’s LCOR product. All AutoBorrow transactions are priced at

a predetermined, fixed rate. Each trading day, AutoBorrow router visits broker-dealer

subscribers in a one-by-one, sequential order, with a basket of every general collateral stock that

agent lenders are currently offering. Each broker-dealer in the queue, in turn, decides how much

stock loan quantity they wish to borrow, and that quantity is then executed. The predetermined,

fixed rate for each stock loan does not reflect any particular market price for that stock loan

security, but rather the fact that the transactions are tied to the overall ratio lending contracts

between the agent lenders and the broker-dealers. Thus no price discovery takes place, and the

stock loan executions remain bilateral (i.e., one-to-one).

        307.    In contrast to AQS and SL-x, EquiLend does not offer fully electronic, price-

transparent trading capabilities or the ability to negotiate terms with multiple potential

counterparties simultaneously, nor does it offer central clearing to market end users. As

described above, its trading platform is presently considered to be “archaic” and “entrenched”

with very poor functionality and a significant inability to effectively “match” or “fill” stock loan

transactions. EquiLend’s acquisitions of AQS and SL-x bore no relation, or procompetitive

complement, to the products that EquiLend’s business model has traditionally offered. This

discontinuity can only be explained by the strategy of the Prime Broker Defendants brought to




                                                  102
light here, to capture and prevent the development of electronic stock loan trading with

actionable, real-time price discovery available to all.

       308.    The original investing firms in EquiLend were Barclays Global Investors, Bear,

Stearns & Co., The Goldman Sachs Group Inc., J.P. Morgan Chase & Co., Lehman Brothers

Holdings Inc., Merrill Lynch & Co., Morgan Stanley, Northern Trust Corp., State Street Corp.,

and UBS Warburg—each of whom committed $4 million to the newly formed enterprise. For

most if not all of the Class Period, the ten owners of EquiLend included all six of the Prime

Broker Defendants: Bank of America (formerly Merrill Lynch), Credit Suisse,55 Goldman

Sachs, JP Morgan, Morgan Stanley, and UBS.

       309.    Since its inception, the Prime Broker Defendants have dominated and controlled

EquiLend through its Boards of Directors. Those Board members of EquiLend Holdings LLC

(EquiLend’s USA entity) during the Class Period who were also employees of the Prime Broker

Defendants include: Fred Nadd-Aubert, Director, Prime Services & Strategic Product

Development at Credit Suisse; Gene Gemelli, Director, Prime Services, Strategic Product

Development at Credit Suisse; Shawn Byron, Managing Director, Goldman Sachs; William

Conley, Head of Global Securities Lending at Goldman Sachs; William Marcoullier, New York

Desk Head at JP Morgan; Michael Kelleher, Managing Director, Equity Finance at JP Morgan;

Ben Challice, Managing Director, Global Head of Collateral Management & Agency Lending at

JP Morgan; Stefano Bellani; Managing Director, Global Head of Trading Services at JP Morgan

Chase; Judy Polzer, Global Head of Securities Lending Product at JP Morgan; Robert

Genkinger, Managing Director, Equity Finance Sales & Trading at Bank of America Merrill

Lynch; Anthony Schiavo, Vice Chair, Managing Director, at Morgan Stanley; and Brendan

       55
            Credit Suisse became a co-owner of EquiLend in 2005.



                                                 103
Cusick, Managing Director at UBS—with Goldman Sachs’ Conley taking a particularly

influential role on stock lending matters within this group. For EquiLend Europe Ltd., Board

members who were also employees of the Prime Broker Defendants include: Karl Bishti,

European Prime Brokerage Desk Head at Credit Suisse; Ralph Lehnis, Managing Director,

Credit Suisse; Martin Cosgrove, Managing Director, Goldman Sachs; Michael Slomienski, Vice

President, Goldman Sachs; John Shellard, Managing Director at JP Morgan; Jonathan Cossey,

Managing Director, Head of Equity Finance at JP Morgan; Edward McAleer, Managing Director

at Morgan Stanley; Matt Collins, Executive Director, Head of European Securities Lending,

Morgan Stanley; Rajeev Patel, Global Head of Securities Lending and Head of EMEA Equity

Finance at Bank of America; and James Buckland, Global Head of Stock Borrow & Lending at

UBS.

       310.    Though EquiLend is nominally organized as a joint venture, this fact does not

shield it—or the Prime Broker Defendants—from the antitrust laws. This is because EquiLend

does not act in its own economic interests as an independent, rational market participant by

improving its products and services so as to meet customer demand and generate increased

revenue for the company. Instead, as detailed above, EquiLend has been used by the Prime

Broker Defendants as a centralized forum for collusion and the advancement of their particular

anticompetitive interests in the stock loan market.

       311.    The cover story that EquiLend is a legitimate, for-profit business enterprise is

belied by the actions taken, and not taken, by EquiLend and its member banks during the Class

Period. The Prime Broker Defendants used EquiLend to: (i) suppress price transparency by

refusing to release pricing data to its customers, despite having access to this data and despite a

clear market demand for such data; (ii) force competitors out of the market by coercing their




                                                104
customers to use EquiLend and/or DataLend, even though EquiLend and DataLend offered

lower quality or entirely different services than what their customers desired and what

prospective competitors offered; and (iii) stymie procompetitive market developments by

purchasing valuable patents and trading platform technology from SL-x and AQS for valuable

consideration, and then refusing to use or capitalize on those assets in any way, despite the fact

that such patents and platform technology were essential for market developments that were in

high demand and could have been used to bring extra revenue into the company.

       312.    The Prime Broker Defendants did this by, among other things, conspiring to

boycott and then to acquire and neutralize emerging platforms and data services that would have

given market participants the centralized marketplace and price transparency that the market

sorely lacked. They did this not only at EquiLend Board meetings, but also while attending

numerous dinners and industry conferences and events ostensibly on behalf of EquiLend. They

did this explicitly in emails, Bloomberg chats, text messages, internal memoranda, and recorded

phone calls that are housed on EquiLend’s and the Prime Broker Defendants’ servers. And, from

at least 2009 to the present, they used EquiLend to ensure that all EquiLend member banks—

both the Prime Broker Defendants and others—“understood” what their direction was to be and

not to “break ranks” with the Prime Broker Defendants.

       313.    EquiLend’s role as a vehicle of collusion is illustrated by the way its board

members steadfastly ignored the distinction between their prime brokerage businesses and their

supposedly independent “joint venture.” When making decisions on behalf of EquiLend,

William Conley talked about starting DataLend to ensure wholesale prices would not “kill our

business”—meaning the Prime Broker Defendants’ stock lending business. Similarly, as AQS

and SL-x made the rounds of the Prime Broker Defendants in an effort to sell their platforms, at




                                                105
every turn they were told that the EquiLend directors had decided that any evolution toward

central clearing would happen through EquiLend—meaning, through a vehicle that the Prime

Broker Defendants controlled. Nonetheless, in meeting after meeting, the Prime Broker

Defendants made clear that they considered themselves bound by understandings reached in

EquiLend board meetings.

       314.    EquiLend’s counter-profit behavior is further illustrated by the Prime Broker

Defendants’ economically irrational refusal to permit EquiLend to be sold at any price—even

when the price would have represented a substantial profit for all members. In or around August

2011, private equity firm Palamon Capital Partners, together with emerging stock loan trading

platform SL-x and/or its principal founders, made an attractive offer to acquire EquiLend at a

price that presented a significant profit proposition for all parties and would have led to an

improvement on EquiLend’s existing infrastructure. Rather than engage with the prospective

buyers regarding this offer—either to accept it, try to improve on it, or in any other way—the

EquiLend Board (controlled by the Prime Broker Defendants) simply refused even to respond.

       315.    If EquiLend had truly behaved as a profit-maximizing firm, it would naturally

have sought to contribute to the competitive evolution of the stock loan market by promoting

true trading efficiency through a centrally-cleared electronic marketplace and offering its clients

transparent access (for a fee) to the market data it already owns and collects. It would also have

capitalized on the valuable assets and technology that it purchased for material consideration

from AQS and SL-x, by further developing these assets for its own use or licensing them for use

to third parties, in either case in exchange for increased revenues. In fact, as noted, at least one

of EquiLend’s executives complained that EquiLend needed to upgrade its services and build

something like SL-x, and EquiLend never did so.




                                                 106
       316.    Instead, EquiLend remains a “Potemkin village” for the Defendants’ collusive and

anticompetitive behaviors——it offers just enough operational efficiency to be relevant through

its bilateral trading platform and the provision of certain administrative and back-office services.

Yet it carefully avoids (and takes active steps to thwart others from engaging in) any activity that

would threaten the Prime Broker Defendants’ position as dominant market intermediaries.

       317.    Even ignoring the actions EquiLend failed to take that would have modernized the

market, it is hard to square the actions it did take with an independent enterprise. If EquiLend

was content to act as an industry utility, leaving innovation to other firms, it is unclear why it

was moved to purchase the technology needed for an electronic, centrally cleared stock lending

platform with real-time, transparent pricing, only to leave that technology on the shelf to collect

dust. If EquiLend was content with its position as a bilateral trading platform and trade

processing service, it is unclear what moved it to introduce a subpar data product at unbelievably

low prices, at just the right time to kill a product that threatened to expose the stock lending

market to full price transparency. That EquiLend was able to do so shows only that it was an

effective tool of Defendants’ conspiracy, because it was capable of quickly shifting the direction

of the development of the stock lending market.

       318.    The actions taken by the Prime Broker Defendants through EquiLend amounted

to naked restrictions on competition and output. They were intended to, and did, reduce the

volume and quality of stock lending overall, and the amount and quality of pricing data

distributed by EquiLend and available to market participants, to the detriment of all market

participants except for the Prime Broker Defendants.56 The Prime Broker Defendants’



       56
           Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 1912f (3d ed. 2011)
(defining output “to include changes in both quantity and quality” and explaining that “[a]



                                                 107
restrictions on EquiLend’s development and offered services were not necessary for or related to

any procompetitive actions by EquiLend. In fact, they ran directly contrary to EquiLend’s stated

purpose of “optimiz[ing] efficiency in the securities finance industry.”

       319.    EquiLend’s own actions that in many cases ran counter to its own economic

interests (and were only in the collective interests of the Prime Broker Defendants who

dominated its Board) demonstrate that it is not the independent joint venture that it purports to

be, but in reality is and has long been used by the Prime Broker Defendants as an empty shell for

collusion. EquiLend’s actions should thus be viewed as concerted actions by the Prime Broker

Defendants that are fully subject to Section 1 of the Sherman Act.57

       320.    It is well recognized that such collaborations among horizontal competitors,

regardless of whether they are organized as a joint venture, pose a high risk of anticompetitive

harm. As the Antitrust Guidelines for Collaborations Among Competitors issued by the Federal

Trade Commission and Department of Justice explain:

       Competitor collaborations may harm competition and consumers by increasing
       the ability or incentive profitably to raise price above or reduce output, quality,
       service, or innovation below what likely would prevail in the absence of the
       relevant agreement. Such effects may arise through a variety of mechanisms.
       Among other things, agreements may limit independent decision making or
       combine the control of or financial interests in production, key assets, or

reduction of any of these is anticompetitive in the sense that it reduces consumer welfare by
producing either a higher price or a smaller package of goods and services at the same price”).
       57
            See, e.g., Am. Needle, Inc. v. Nat’l Football League, 560 U.S. 183, 192 (2010)
(explaining that a joint venture that is nothing more than a “formalistic shell for ongoing
concerted action” is subject to Section 1 liability); United States v. Topco Associates, Inc., 405
U.S. 596 (1972) (cooperative association made of up grocery stores liable for per se illegal
conduct under § 1); United States v. Sealy, Inc., 388 U.S. 350 (1967) (group of mattress
manufacturers could not escape per se § 1 liability by operating through a single corporation that
they jointly controlled); see also Fed. Trade Comm’n & U.S. Dep’t of Justice, Antitrust
Guidelines for Collaborations Among Competitors 9 (2000) (“Antitrust Guidelines”) (“In any
case, labeling an arrangement a ‘joint venture; will not protect what is merely a device to raise
price or restrict output; the nature of the conduct, not its designation, is determinative.”).



                                                108
       decisions regarding price, output, or other competitively sensitive variables, or
       may otherwise reduce the participants’ ability or incentive to compete
       independently.58

       321.    That risk is particularly acute here, because the Prime Broker Defendants already

possess substantial market power (over 70% of the market) and new market developments thus

threaten only to “cannibalize their supracompetitive earnings.”59 Because the Prime Broker

Defendants already control much of the stock lending market and profit greatly from its opaque,

OTC structure, they have no incentive to foster innovation in that market, launch new products

or services, or improve the quality of existing products or services. Instead, the Prime Broker

Defendants have the exact opposite incentive—to preserve the antiquated OTC market at all

costs, including by working together to stifle procompetitive developments that risk their

disintermediation. The adoption of consortium strategies in such markets carries no positive

benefits and only “increase[s] the likelihood of an exercise of market power by facilitating

explicit or tacit collusion,” as occurred here.60



       58
           Antitrust Guidelines at 6 (emphasis added); see also id. at 12 (“Anticompetitive harm
may be observed, for example, if a competitor collaboration successfully mandates new,
anticompetitive conduct or successfully eliminates procompetitive pre-collaboration conduct,
such as withholding services that were desired by consumers when offered in a competitive
market.”).
       59
            Id. at 15; see also id. (“An exercise of market power may injure consumers by
reducing innovation below the level that otherwise would prevail, leading to fewer or no
products for consumers to choose from, lower quality products, or products that reach consumers
more slowly than they otherwise would. An exercise of market power also may injure
consumers by reducing the number of independent competitors in the market for the goods,
services, or production processes derived from the R&D collaboration, leading to higher prices
or reduced output, quality, or service.”).
       60
            Id. at 12. Lest there be any doubt, it is explicit collusion that is alleged here. It is
worth noting that the banks have pursued similar collusive strategies in other markets. One
recent study, for example, found “more than 400 instances of large banks involved in at least 63
separate illegal conspiracies.” See John M. Connor, Big Bad Banks: Big Rigging and
Multilateral Market Manipulation, American Antitrust Institute Working Paper No. 14-04 (May



                                                    109
       322.    By working together to destroy or “swallow” nascent competitors, the Prime

Broker Defendants have contributed to a prolonged period of sluggish growth, lagging

productivity, and stalled innovation that is partially attributable to the inability of new market

entrants to challenge incumbents like the Prime Broker Defendants.61 These negative effects are

borne out by recent research showing that the exercise of market power by incumbent firms in

concentrated markets, such as the stock lending market, harms customers by contributing to

pricing markups and preventing new entrepreneurs from entering the market.62

III.   DEFENDANTS’ CONSPIRACY CAUSED ANTICOMPETITIVE HARM IN THE
       STOCK LOAN MARKET

       323.    As a result of their conspiracy, the Prime Broker Defendants continue to dominate

the stock loan market, collectively controlling over 70% of the stock loan brokerage market and



5, 2014), https://www.antitrustinstitute.org/sites/default/
files/WorkingPaper14-04.pdf.
       61
             See Ben Casselman, A Start-Up Slump Is a Drag on the Economy. Big Business May
Be to Blame, N.Y. TIMES (Sept. 20, 2017), https://www.nytimes.com/2017/09/20/business/
economy/startup-business.html (collecting literature supporting the proposition that “the rising
power of the biggest corporations,” including the banks, “is stifling entrepreneurship by making
it easier for incumbent businesses to swat away challengers – or else to swallow them before
they become a serious threat”).
       62
            See Jan De Loecker and Jan Eeckhout, The Rise of Market Power and the
Macroeconomic Implications (2017), http://www.janeeckhout.com/wp-content/uploads/RMP.pdf
(finding that significant increases in market power since the 1980s have resulted in average
markups of 67% on products overall); Benefits of Competition and Indicators of Market Power,
Council of Economic Advisers Issue Brief 6 (Apr. 2016), https://obamawhitehouse.archives.gov/
sites/default/files/page/files/20160414_cea_competition_issue_brief.pdf (finding “evidence of 1)
increasing concentration across a number of industries,” including financial services, “2)
increasing rents, in the form of higher returns on invested capital, across a number of firms, and
3) decreasing business and labor dynamism”); see also generally Delegation of the U.S. to the
Competition Comm. of the OECD, Competition and Financial Markets 3 (2009) (explaining that
competition in the financial industry “encourages businesses to minimize costs and to innovate”
and that “[w]ithout these innovations, the real economy would have grown more slowly”),
https://www.ftc.gov/sites/default/files/attachments/us-submissions-oecd-and-other-international-
competition-fora/09financialcrisis.pdf.



                                                 110
taking for themselves more than 65% of the multi-billion-dollars per year in gross revenue

generated by stock lending activity.63

       324.    As detailed above, the Prime Broker Defendants have maintained their dominant

market position and supracompetitive profits by collectively boycotting and suppressing any

platforms or services that might lift the veil of opacity or lead to a fully electronic and

transparent trading environment. The result of the Prime Broker Defendants’ anticompetitive

actions has been to keep the stock loan market and each of its participants in the stone age.

Stock lending persists in an inefficient, antiquated OTC structure that depends on the central

position of the Prime Broker Defendants.

       325.    OTC market structures may make sense where there is customization of terms and

no standard contract. However, stock loans are standardized contracts that are well-suited for a

transparent market structure such as a trading platform or an exchange. By preventing the

development of such platforms or exchanges, the Defendants have directly imposed significant

financial harm on other market participants.

       326.    In the current bilateral OTC market, trade negotiation remains one-on-one,

placing both borrowers and lenders at a substantial bargaining disadvantage vis-à-vis the Prime

Broker Defendants. These market end-users lack the information that the Prime Broker-dealers

possess about pricing (i.e., what the other side of the transaction is willing to pay/accept) and


       63
            Collectively, the Prime Broker Defendants controlled the vast majority of the prime
brokerage industry, with a market share (based on hedge fund clients) as of 2016 of 70.4%—
with Goldman Sachs at 19.1%, Morgan Stanley at 16.4%, J.P. Morgan at 13.7%, Credit Suisse at
8.3%, UBS at 6.6%, Bank of America at 6.3%. See Prime Broker Ranking, HEDGE FUND ALERT,
(May 3, 2017), https://www.hfalert.com/rankings/rankings.pl?Q=149. These share estimates are
based on number of clients, rather than trade volume or revenues. Because the hedge fund
industry is heavily weighted toward major players, the Prime Broker Defendants likely control a
much larger share of the actual volume of stock loan trades.



                                                 111
volume/availability (i.e., which counterparties own the desired stock and how much is available

to trade) for any specific loan in question. Borrowers and lenders also lack any mechanism to

effectively “price shop” or efficiently compare dealer pricing and terms over many dealers.

When offered terms by a dealer, there is no way for the lender or borrower to be confident that

the dealer’s quote is at or near the best available quote in the market, nor to know which other

dealer might be willing to supply more favorable terms and pricing.

       327.    Because the Prime Broker Defendants have inserted and collusively maintained

themselves as middlemen, lenders and borrowers cannot work to obtain better terms and pricing

by trading directly with the corresponding party that has the actual motive to transact. Nor can a

lender or borrower realistically force multiple dealers to compete against each other for a

transaction because of the bilateral nature of the bargaining process.

       328.    The current stock loan market involves high search costs and inefficient pricing.

It can take numerous phone calls over several hours to locate a hot stock and negotiate pricing.

The lender has no indicative level of pricing other than the demand information provided by the

brokers, which the lender has no way to verify. In other words, the securities lending market

requires considerable manual effort to complete transactions that in other markets take seconds

or minutes at most. Because of the fragmented nature of the market, identical loans can trade

simultaneously through different channels at very different prices. These high search costs

preclude arbitrage across liquidity pools.

       329.    While a lender or borrower can, in theory, reject the price terms quoted by the

dealer with whom it is negotiating and search for better terms, these negotiations would be

cumbersome and difficult to do. The market participants cannot choose the best terms from

among a large number of various dealers simultaneously. And the fact that a lender or borrower




                                                112
could eventually negotiate quotes from multiple dealers does not in itself cause dealers to

compete aggressively with each other.64

       330.    When facing a lender or borrower, each dealer holds a degree of monopoly power

because the counterparty has no ability to pick the best of many simultaneously executable

terms. The Prime Broker Defendants’ exploitation of this monopolistic market power both

(i) reduces the volume of trades that would otherwise occur in the stock lending market, and

(ii) raises the costs associated with searching for desirable transaction terms (i.e., reduces what is

known as “matching efficiency”).

       331.    It is well-established in recent academic literature that the introduction of a central

clearinghouse for stock loans would reduce search frictions and borrowing costs. AQS itself

explained the benefits of a move to electronic, price-transparent trading in 2009: “As a result [of

market evolution], pension funds better realize the full intrinsic value of the securities they are

lending, while hedge funds and other asset managers reduce short-selling costs by borrowing

securities directly from beneficial owners of assets.”65 The economic benefits may have been

even greater for “hard to borrow” securities, for which additional (often opaque and exceedingly

high) fees exist as a result of limited supply. Yet this is what the Prime Broker Defendants

prevented from happening.

       332.    The financial harm suffered by borrowers and lenders in this system can be

measured and quantified. One way to do so is to compare the current world of stock lending—


       64
          See Haoxiang Zhu, Finding a Good Price in Opaque Over-the-Counter Markets, 25:4
REV. OF FIN. STUD. 1255, 1255-56 (2012).
       65
           Quadriserv, Inc. Highlights Securities Lending Innovations At TradeTech 2007,
NASDSAQ - GLOBENEWSWIRE (Mar. 9, 2007), https://globenewswire.com/news-
release/2007/03/09/356337/115225/en/Quadriserv-Inc-Highlights-Securities-Lending-
Innovations-At-TradeTech-2007.html.



                                                 113
with the Prime Broker Defendants acting as middlemen and taking more than 65% of the market

revenues—with the “but for” world where the role of the Prime Broker Defendants is

significantly reduced and their cut in large part flows instead to the borrowers and lenders, minus

the small fees charged by an efficient platform and the clearing broker who provides the

borrower and lender access to the central clearinghouse. This, of course, is essentially the same

trading model used by the stock, options, and futures exchanges today—all of which provide

price competition via central limit order books and price transparency to those trading on those

exchanges—in exchange for a tiny, transparent fee to the clearing broker who provides access to

the exchange.

       333.     There is a great deal of academic research on the liquidity impact of electronic

trading, including a recent case study of the Kansas City Board of Trade, an American

commodity futures and options exchange.66 As one of the last futures exchanges to offer two

side-by-side trading methods for the same instrument—traders can trade either through

traditional “open outcry” trading67 and/or electronic trading—it affords the ability to observe

differences in liquidity from these alternative execution methods. Of the Kansas City Board of

Trade, researchers observed that the range of bid/offer spreads in open outcry trading are orders

of magnitude greater that of the identical instrument traded electronically.68



       66
          Samarth Shah & B. Wade Brorsen, Electronic vs. Open Outcry: Side-by-Side Trading
of KCBT Wheat Futures, 36(1) J. OF AGRIC. & RESOURCE ECON. 48, 48-62 (2011),
http://www.waeaonline.org/jareonline/archives/36.1%20-%20April%202011
/JARE,Apr2011,pp48,Shah.pdf.
       67
            “Open outcry” trading refers to a traditional method of trading on a physical trading
floor of an exchange using verbal communications and/or hand signals to communicate bids and
offers and execute trades.
       68
         Samarth Shah & B. Wade Brorsen, Electronic vs. Open Outcry: Side-by-Side Trading
of KCBT Wheat Futures, 36(1) J. OF AGRIC. & RESOURCE ECON. 48, 56 (2011),



                                                114
       334.    It could reasonably be expected that spreads in the stock loan market would

compress to a similar or greater degree upon the introduction of electronic trading. In futures

trading, even in the non-electronic platform environment there is a single central venue where

traders gather to facilitate price discovery. By contrast, trading in the OTC stock loan market is

far less efficient due to its decentralized nature. Accordingly, the gap in pricing between

decentralized OTC and electronic trading is likely to be even larger than the gap observed in the

futures market between open outcry and electronic trading.

       335.    The financial harm suffered by stock loan borrowers and lenders can also be

measured and quantified by comparing the stock loan market with the markets for other financial

instruments that have migrated from less transparent or OTC trading platforms to electronic,

transparent exchange trading over the last two decades. The migration of financial

instruments—from bespoke, illiquid instruments traded OTC to increasingly standardized and

liquid instruments traded electronically via more transparent and competitive platforms—is well-

documented and has been the subject of numerous empirical studies and substantial academic

research.

       336.    Examples include the migration of equities trading on NYSE and Nasdaq to

electronic communication networks starting in the mid-1990s,69 the introduction of post‐trade

price transparency for corporate bonds in 2002,70 the subsequent migration of corporate bond


http://www.waeaonline.org/jareonline/archives/36.1%20-%20April%202011/JARE,Apr2011,
pp48,Shah.pdf.
       69
          James McAndrews & Chris Stefanadis, The Emergence of Electronic
Communications Networks in the U.S. Equity Markets, 6 CURRENT ISSUES ECON. & FIN. 12 (Fed.
Reserve Bank of N.Y.), Oct. 2000, at 2-3, https://pdfs.semanticscholar.org/1ea6/52dbbba884d11
6f55d28ae958e18465cc955.pdf.
       70
          Hendrik Bessembinder, William Maxwell & Kumar Venkataraman, Market
Transparency, Liquidity Externalities, and Institutional Trading Costs in Corporate Bonds, J.



                                                115
trading from OTC to electronic platforms,71 the opening of electronic order book trading on the

NYSE to off-the-exchange-floor market participants in 2002,72 and the migration of dividend

swaps from OTC to exchange-like trading in 2008,73 as well as municipal bonds in 2005,74

certain mortgage-backed securities in 2012, and asset-backed securities in 2015.

       337.    The 2002 imposition of post-transaction reporting in U.S. corporate and municipal

bond markets through the Trade Reporting and Compliance Engine (“TRACE”)—and the

resulting decrease of execution costs for buy-side customers that this post-trade transparency

brought about—is one especially well-documented instance of this phenomenon.75 As a general


FIN. ECON. 82, 2006, at 251-288; Amy K. Edwards, Lawrence E. Harris & Michael S. Piwowar,
Corporate Bond Market Transaction Costs and Transparency, 62:3 J. OF FIN. 1421, 1438, 1444-
50 (June 2007); Michael A. Goldstein, Edith S. Hotchkiss & Erik R. Sirri, Transparency and
Liquidity: A Controlled Experiment on Corporate Bonds, 20 REV. FIN. STUDIES 2, Mar. 2007, at
235.
       71
           Terrence Hendershott & Ananth Madhavan, Click or Call? Auction Versus Search in
the Over-the-Counter Markets, 70:1 J. OF FIN. 445 (2015).
       72
          Ekkehart Boehmer, Gideon Saar & Lei Yu, Lifting the Veil: An Analysis of Pre-
Trade Transparency at the NYSE, 60:2 J. OF FIN. 783, 783-815 (2005); Kee H. Chung & Chairat
Chuwonganant, Transparency and Market Quality: Evidence from SuperMontage, 18 J. FIN.
INTERMEDIATION, Jan. 2009, at 93-111.
       73
          Kian Abouhossein, Delphine Lee & Cormac Leech, Global Investment Banks:
Regulatory Proposal Analysis: Structural IB Profitability Decline, J.P. MORGAN, Sept. 9, 2009,
at 19.
       74
           See Paul Schultz, The market for new issues of municipal bonds: The roles of
transparency and limited access to retail investors, 106:3 J. OF FIN. ECON. 492, 502-04 (2012)
(examining requirement instituted in 2005 that municipal bond dealers to report price and
quantity of all trades within 15 minutes of trade execution, and finding that the mean standard
deviation of purchase prices falls sharply in response, resulting in a 40% reduction such that
“investors are now less likely to pay wildly different prices for the same amount of the same
bond on the same day [because p]ost-trade transparency allows investors to see what other
investors pay for bonds, but it also allows bond dealers to see what their competitors charge.”).
       75
            See, e.g., Hendrick Bessembinder and William Maxwell, Markets: Transparency and
the Corporate Bond Market, 22:2 J. OF ECON. PERSP. 217 (2008); Hendrick Bessembinder,
William Maxwell, and Kumar Venkataraman, Market Transparency, Liquidity Externalities, and
Institutional Trading Costs in Corporate Bonds, 82:2 J. OF FIN. ECON. 251 (2006).



                                               116
matter, competition is improved by fast and comprehensive post-trade transaction reporting.

TRACE meant that there was quick public dissemination of transactions prices, giving all market

participants an indication of the prices at which trades were taking place. This knowledge of the

going price is a particularly important factor that mitigates the bargaining disadvantage of buy-

side market participants, who generally have much less direct observation of trading than do

dealers.76

       338.    In each of these cases, and many others, the empirical research and academic

literature establish that the move towards price transparency and electronic, exchange-based

trading increased market efficiency and lowered costs. For example, scholarship studying the

migration of corporate bonds away from OTC trading concludes that transaction costs for the

buy side decline rapidly as the number of responding dealers in electronic auctions increases,

thus proving the commonsense point that “[c]ompetition lowers costs.”77 A 2012 academic

study comparing bid/ask spreads of bonds that trade on the New York Stock Exchange with

bonds that trade only OTC similarly concludes that “the test group [NYSE-traded bonds] has on

average 25 basis points smaller effective bid-ask spreads than the control group [bonds traded

OTC only].”78 As one academic study put it, “[t]o date, the equity loan market remains

relatively opaque despite the increasing accessibility of electronic networks, and search costs



       76
          The Dodd-Frank Wall Street Reform and Consumer Protection Act (commonly
known as “Dodd-Frank”) sought to create similar post-trade transparency in the swaps market by
mandating (with some exceptions) the immediate, public transaction reporting of standardized
swaps.
       77
           Terrence Hendershott & Ananth Madhavan, Click or Call? Auction Versus Search in
the Over-the-Counter Markets, 70:1 J. OF FIN. 411 (2015).
       78
         Fan Chen & Zhuo Zhong, Pre-Trade Transparency in Over-the-Counter Markets,
Working Paper, Aug. 2012, at 3.



                                               117
could be reduced, or possibly eliminated, by the creation of a central reporting mechanism for

share availability and loan pricing.”79

       339.    Quadriserv’s own internal research conducted in advance of launching the AQS

trading platform confirmed that this phenomenon would be equally applicable to the stock loan

market. This analysis found that an electronic trading platform like AQS would offer substantial

savings to both lenders and borrowers and that the modernization promised by AQS would

substantially reduce the total fees paid by borrowers and redistribute total revenues more fairly

between beneficial owners, agent lenders, and broker-dealers.

       340.    Specifically, Quadriserv’s analysis predicted a 32% reduction in the total fees

paid by stock borrowers as a result of credit and pricing efficiencies on AQS, effectively saving

borrowers approximately $4.5 billion per year in fees paid on stock loan transactions. This

analysis also predicted that fees paid to stock lenders would also increase from an approximate

26% of gross annual stock loan revenue paid to beneficial owners in the current inefficient OTC

market to an approximate 52% of gross annual revenue under the efficient, AQS model, netting

beneficial owners approximately $1.44 billion more in gross revenues each year.

       341.    The economic logic behind inflated bid-ask spreads and other costs in inefficient,

opaque markets is straightforward. Dealers charge wider spreads, which provide a massive

profit center, when they perceive that market participants do not have a realistic option to search

for other quotes nor sufficient market data to contextualize their own trades. In a dealer-

dominated, opaque OTC market, the stock lender and borrowers face the prospect of a costly

delay to find another suitable dealer, followed by another negotiation with a new dealer who has


       79
          Adam C. Kolasinski, et al., A Multiple Lender Approach to Understanding Supply
and Search in the Equity Lending Market, 68:2 J. OF FIN. 559, 593 (2013).



                                                118
a bargaining position of similar strength to that of the first dealer contacted. They lack any

meaningful opportunity to have multiple dealers bid against each other, giving rise to artificially

wider bid-ask spreads than would be available in a market that enjoys a price transparency or a

multilateral trading platform on which dealers bid directly against each other.

       342.    In the context of an electronic, exchange-based trading platform, by contrast,

market participants compete for the opportunity to trade and execution costs narrow as a natural

result. That is, on an electronic, exchange-based platform, the best price quotes could be

transparent to all market participants and simultaneously executable. Thus, the lender or

borrower—by virtue of pre-trade transparency—could choose the lowest of all of the

simultaneously available quoted prices.

       343.    The stock loan market, however, lacks a central marketplace where buyers and

sellers can meet directly. Instead, when a hedge fund wants to borrow stock, its trader must call

its broker-dealer on the telephone, over Bloomberg chat, or otherwise; the broker-dealer will

give the hedge fund a price, and then it must go out and secure the stock. The hedge fund has

little or no insight into the price at which other parties might be willing to transact.

       344.    In the stock loan market, institutions looking to borrow stock want to minimize

borrowing costs, and institutions holding stock want to maximize returns by lending out stock

that would otherwise sit idle. The inefficient OTC structure of the stock loan market prevents

borrowers and lenders from using the forces of competition to drive pricing. If a lender knew

what other lenders were receiving for a given stock loan, they could use that information to shop

around or to negotiate a better price. The same logic applies to borrowers.

       345.    Cost savings associated with market transparency are fully consistent with

economic theories and empirical research supporting the notion that post-trade transaction




                                                 119
reporting allows market participants to monitor and discipline the execution quality of their

trades by comparing the prices obtained from a dealer with the prices obtained for other trades

conducted around the same time in the market. If a dealer is aware that it is (or even could be)

monitored through post-trade price dissemination, it is at risk of losing business over poor

execution prices, and will thus provide better pricing.

IV.    DEFENDANTS’ HISTORY OF COLLUSION IN THE FINANCIAL MARKETS

       346.    The stock loan conspiracy is but the latest in a string of anticompetitive

conspiracies involving the financial markets in which the Prime Broker Defendants have

participated—all with the goal, as here, of preserving an existing anticompetitive advantage

against the natural tide of progress. As detailed below, the Prime Broker Defendants’ blatant

disregard for the antitrust laws over the last decade has been exposed in numerous instances in

relation to other financial markets. In several instances, certain of the Prime Broker Defendants

have pled guilty to the anticompetitive conduct. In other instances, certain of the Prime Broker

Defendants have been fined for, or settled claims relating to, alleged anticompetitive conduct.

These admissions not only demonstrate a pattern of repeated conduct, but demonstrate more

generally the existence of a corporate culture wherein the Prime Broker Defendants are ready

and willing to violate the law and collude with one another whenever they deem it necessary to

preserve profits. This history and culture of collusion demonstrates the inherent plausibility of

the stock loan conspiracy alleged herein.

       A.      Municipal Bond Investments Market

       347.    In or around 2010, Defendant Bank of America approached the United States

Department of Justice (“DOJ”) and voluntarily reported its involvement in a conspiracy to rig




                                                120
bids in the municipal bond derivatives industry.80 Later, on December 7, 2010, the DOJ

announced that Bank of America agreed to pay $137.3 million in restitution to federal and state

agencies in connection with its admitted participation in that conspiracy.81 The restitution

payment, along with Bank of America’s cooperation in the DOJ’s parallel investigations of Bank

of America’s co-conspirators, was a condition for Bank of America’s admission into the DOJ’s

Antitrust Corporate Leniency Program.82

       348.       On May 4, 2011, the DOJ announced that Defendant UBS AG, as part of a non-

prosecution agreement, agreed to pay $160 million in restitution, penalties, and disgorgement to

federal and state agencies in connection with admitted anticompetitive conduct in the municipal

bond investments market.83 As part of its non-prosecution agreement, UBS AG admitted that

certain of its then-employees “entered into unlawful agreements to manipulate the bidding

process and rig bids on certain relevant municipal contracts, and made payments and engaged in

other activities in connection with those agreements, in violation of Section 1 of the Sherman

Act, 15 U.S.C. § 1, and certain sections of Title 18 of the United States Code.”84




       80
           See Press Release, DOJ, Bank of America Agrees to Pay $137.3 Million in Restitution
to Federal and State Agencies as a Condition of the Justice Department’s Antitrust Corporate
Leniency Program (Dec. 7, 2010), https://www.justice.gov/opa/pr/bank-america-agrees-pay-
1373-million-restitution-federal-and-state-agencies-condition-justice.
       81
            Id.
       82
            Id.
       83
          See Press Release, DOJ, UBS AG Admits to Anticompetitive Conduct by Former
Employees in the Municipal Bond Investments Market and Agrees to Pay $160 Million to
Federal and State Agencies (May 4, 2011), https://www.justice.gov/opa/pr/ubs-ag-admits-
anticompetitive-conduct-former-employees-municipal-bond-investments-market-and.
       84
          See Non-Prosecution Agreement letter In re UBS AG, DOJ, (May 4, 2011),
https://www.justice.gov/atr/file/761041/download.



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       349.    On July 7, 2011, the DOJ announced that Defendant J.P. Morgan Chase & Co., as

part of a non-prosecution agreement, agreed to pay $228 million in restitution, penalties, and

disgorgement to federal and state agencies in connection with anticompetitive conduct in the

same market—i.e., the municipal bond investments market.85 As part of its non-prosecution

agreement, J.P. Morgan Chase & Co. admitted that certain of its then-employees “entered into

unlawful agreements to manipulate the bidding process and rig bids on certain relevant

municipal contracts, and made payments and engaged in other activities in connection with those

agreements, in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, and certain sections of

Title 18 of the United States Code.”86

       B.      LIBOR Market

       350.    On December 19, 2012, the DOJ announced that Defendant UBS AG, as part of a

non-prosecution agreement, had agreed to pay $1.5 billion in fines for manipulating LIBOR

rates. According to the DOJ’s press release, “By causing UBS and other financial institutions to

spread false and misleading information about LIBOR, the alleged conspirators we’ve charged—

along with others at UBS—manipulated the benchmark interest rate upon which many

transactions and consumer financial products are based.”87 Other banks ensnared by this




       85
          See Press Release, DOJ (July 7, 2011), https://www.justice.gov/opa/pr/jpmorgan-
chase-admits-anticompetitive-conduct-former-employees-municipal-bond-investments.
       86
          See Letter from Christine A. Varney, DOJ, to Thomas Mueller (July 6, 2011),
https://www.justice.gov/sites/default/files/atr/legacy/2011/07/07/272815a.pdf.
       87
            See Press Release, DOJ (Dec. 19, 2012), https://www.justice.gov/opa/pr/ubs-
securities-japan-co-ltd-plead-guilty-felony-wire-fraud-long-running-manipulation-libor.



                                               122
investigation included The Royal Bank of Scotland, Rabobank, Deutsche Bank, and Barclays,

among others.88

       C.      Foreign Currency Exchange Spot Market

       351.    Beginning in 2013, media reports surfaced that governmental regulators and

enforcement authorities in the U.S. and Europe were investigating potential manipulation of the

foreign exchange (“FX”) market. Those investigations quickly grew in scope to include

authorities from across the globe, and have already resulted in criminal guilty pleas, settlements,

and fines totaling over $11 billion, as well as the release of orders, notices, and reports detailing

exactly how the banks colluded to manipulate the FX market.

       352.    On May 20, 2015, the DOJ announced that Defendants JP Morgan and UBS,

along with Barclays, Citi, and RBS, were fined a total of $3 billion by the DOJ, and each pled

guilty to criminal conspiracy charges for manipulating FX prices and benchmark rates.89 The

DOJ has since brought criminal charges against individual employees and former employees of

the banks for their role in manipulating the FX market, including a former Managing Director at

JP Morgan.90 Also in May 2015, the Federal Reserve imposed more than $1.8 billion in fines on

Defendants Bank of America, JP Morgan, UBS, plus Barclays, Citi, and RBS, for their “unsafe




       88
           See Financial Institution Fraud, Criminal Division, DOJ, https://www.justice.gov/
criminal-fraud/financial-institution-fraud.
       89
           See Press Release, DOJ, Five Major Banks Agree to Parent-Level Guilty Pleas (May
20, 2015), https://www.justice.gov/opa/pr/five-major-banks-agree-parent-level-guilty-pleas; see
also 2015 Enforcement Actions, CFTC, http://www.cftc.gov/LawRegulation/Enforcement/
EnforcementActions/ 2015EnforcementActions/index.htm.
       90
           See Press Release, DOJ, Three Former Traders for Major Banks Indicted in Foreign
Currency Exchange Antitrust Conspiracy (Jan. 10, 2017), https://www.justice.gov/opa/pr/three-
former-traders-major-banks-indicted-foreign-currency-exchange-antitrust-conspiracy.



                                                 123
and unsound practices in the foreign exchange markets,”91 and the New York Department of

Financial Services fined Barclays over $400 million for conspiring with other banks, including

JP Morgan, to manipulate FX prices.92

       353.   These settlements followed a wave of Orders from November 2014, where the

U.S. Commodity Futures Trading Commission (“CFTC”)93 and U.K. Financial Conduct

Authority94 imposed over $1.9 billion in fines on JP Morgan, UBS, Citi, HSBC and RBS for

manipulating the FX market, the Office of the Comptroller of the Currency fined Bank of

America, JP Morgan, and Citi another $950 million,95 and the Swiss Financial Market

Supervisory Authority fined UBS $141 million for “manipulation, collusion, and other market

abusive conduct.”96

       354.   Other global regulators that have investigated the banks’ manipulation of the FX

market include the Brazilian Council for Economic Defense, which imposed fines on JP Morgan

       91
            See Press Release, Federal Reserve, Federal Reserve announces fines totaling more
than $1.8 billion against six major banking organizations for their unsafe and unsound practices
in the foreign exchange (FX) markets (May 20, 2015),
https://www.federalreserve.gov/newsevents/press/enforcement
/20150520a.htm.
       92
          See Consent Order, ¶ 44, In the Matter of Barclays Bank PLC (Nov. 17, 2015),
http://www.dfs.ny.gov/about/ea/ea151117.pdf.
       93
           See Press Release, CFTC, CFTC Orders Five Banks to Pay over $1.4 Billion in
Penalties for Attempted Manipulation of Foreign Exchange Benchmark Rates (Nov. 12, 2014),
http://www.cftc.gov/PressRoom/PressReleases/pr7056-14.
       94
            See Press Release, U.K. Financial Conduct Authority, FCA fines five banks 1.1 billion
for FX failings and announces industry-wide remediation program (Nov. 12, 2014),
http://www.fca.org.uk/news/fca-fines-five-banks-for-fx-failings.
       95
          See Press Release, OCC, OCC Fines Three Banks $950 Million for FX Trading
Improprieties (Nov. 12, 2014), http://www.occ.gov/news-issuances/news-releases/2014/nr-occ-
2014-157.html.
       96
           See Press Release, The Swiss Financial Market Supervisory Authority, FINMA
sanctions foreign exchange manipulation at UBS (Nov. 12, 2014), https://www.finma.ch/
en/news/2014/11/mm-ubs-devisenhandel-20141112.



                                              124
and several other banks,97 the South African Competition Commission, which found that Bank of

America, Credit Suisse, JP Morgan, and several other banks had a “general agreement to

collude,”98 the Australia Securities and Investment Commission,99 and the Korea Fair Trade

Commission.100 Many of the governmental investigations of FX manipulation remain ongoing,

including major inquiries by the European Commission.101

       355.    The governmental settlements lay out the details of how the banks colluded to

manipulate FX prices to their benefit. For instance, the CFTC found that Defendants JP Morgan

and UBS, along with Citi, HSBC, and RBS, “used private electronic chat rooms to communicate

and plan their attempts to manipulate the Forex benchmark prices.”102 Traders used those inter-

bank chat rooms to “coordinate[] their trading with certain FX traders at other banks to attempt

to manipulate certain FX benchmark rates,” and to “disclose[] confidential customer order

       97
            See Noticias, Administrative Council for Economic Defense, Brazil, CADE signs five
agreements regarding a cartel investigation in the foreign exchange market and opens a new
cart investigation in the Brazilian exchange market (Dec. 9, 2016), http://en.cade.gov.br/cade-
signs-five-agreements-regarding-a-cartel-investigation-in-the-foreign-exchange-market-and-
opens-a-new-cartel-investigation-in-the-brazilian-exchange-market.
       98
           See Media Statement, Competition Commission, South Africa, Competition
Commission prosecutes banks (currency traders) for collusion (Feb. 15, 2017), http://www.
compcom.co.za/wp-content/uploads/2017/01/Competition-Commission-prosecutes-banks-
currency-traders-for-collusion-15-Feb-2016.pdf.
       99
          See Georgia Wilkins, ASIC launches investigation into foreign exchange
benchmarks, THE SYDNEY MORNING HERALD (Mar. 21, 2014),
http://www.smh.com.au/business/asic-launches-investigation-into-foreign-exchange-
benchmarks-20140320-355wo.html.
       100
           See South Korea fines Deutsche Bank, BNP Paribas $157,000 over FX forwards
rigging, REUTERS, (May 16, 2017), http://www.reuters.com/article/us-southkorea-antitrust-
idUSKCN18C06G.
       101
           See Gaspard Sebag and Stephanie Bodoni, FX Probe Said to Emerge From Shadows
as EU Seeks Bank Data, Bloomberg (June 3, 2016), https://www.bloomberg.com/news/articles/
2016-06-03/currency-probe-said-to-emerge-from-shadows-as-eu-seeks-bank-data.
       102
          See, e.g., Order Instituting Proceedings, In the Matter of JPMorgan Chase Bank,
N.A., CFTC Dkt. No. 15-04 (Nov. 11, 2014).



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information and trading positions, alter[] trading positions to accommodate the interests of the

collective group, and agree[] on trading strategies as part of an effort by the group to attempt to

manipulate certain FX benchmark rates.” Those exclusive chatrooms were often given colorful

names like “The Cartel,” “The Mafia,” “The Club,” “The Bandits’ Club,” “The Dream Team,”

“One Team, One Dream,” and “The Sterling Lads.”

       D.        Interest Rate Swaps (ISDAfix)

       356.      Numerous Prime Broker Defendants have also paid substantial sums to

government regulators, private plaintiffs, or both to settle claims that they exploited their

position on a panel of banks to manipulated the widely-used financial benchmark known as

ISDAfix in violation of antitrust and anti-manipulation laws.

       357.      Prime Broker Defendants Bank of America, Credit Suisse, Goldman Sachs, JP

Morgan, and UBS have collectively paid over $222 million to settle private antitrust and

common laws claims concerning these banks’ collusive manipulation of the ISDAfix benchmark

at the expense of their counterparties and clients. Goldman Sachs has paid an additional $120

million to settle proceedings initiated by the CFTC for conduct the Commission described at

times as “particularly brazen”103 and always designed to move the benchmark “in the direction

that was best for Goldman at the expense of its counterparties and clients.”104

       358.      Numerous of Goldman Sachs’ horizontal competitors also paid hefty settlement

sums to the CFTC for their manipulation of ISDAfix.105 Numerous investigations into ISDAfix



       103
           See In re The Goldman Sachs Group, Inc., and Goldman, Sachs & Co., CFTC No.
17-03, 2016 WL 7429257, at *8 (Dec. 21, 2016).
       104
              Id. at *7.
       105
           See In re Barclays PLC, Barclays Bank PLC, and Barclays Capital Inc., CFTC No.
15-25, 2015 WL 2445060 (May 20, 2015); In re Citibank, N.A., CFTC No. 16-16, 2016 WL



                                                 126
manipulation by various governmental bodies remain ongoing. Highlighting the seriousness of

the misconduct of the ISDAfix panel banks, these investigations reportedly involve a criminal

dimension.106

       359.     The Prime Broker Defendants’ misconduct related to ISDAfix was undertaken,

like that described above, to line their own pockets at the expense of investors, providing another

illustration of a lack of internal controls and a culture where the bottom line was used to justify

serious misdeeds.

       E.       Credit Default Swaps

       360.     In the Credit Default Swaps (“CDS”) litigation,107 Defendants Bank of America,

Credit Suisse, Goldman Sachs, J.P. Morgan & Chase, Morgan Stanley, and UBS, together with

several entities not named as defendants in this action, were accused of participating in a

remarkably similar conspiracy to the one alleged here.

       361.     In the CDS litigation, plaintiffs alleged that the defendants—who dominated the

over-the-counter CDS market and took advantage of its inefficiencies to reap supracompetitive

profits from bid/ask spreads—were threatened by the development of electronic exchanges and

clearinghouses for CDS transactions. These electronic trading platforms threatened to introduce

price transparency and other efficiencies that would have eliminated the CDS defendants’ ability



3035030 (May 25, 2016); In re The Royal Bank of Scotland plc, CFTC No. 17-08, 2017 WL
511925 (Feb. 3, 2017).
       106
            See Matthew Leising & Tom Schoenberg, CFTC Said to Alert Justice Department of
Criminal Rate Rigging, BLOOMBERG (Sept. 9, 2014), https://www.bloomberg.com/news/articles/
2014-09-08/cftc-said-to-alert-justice-department-of-criminal-rate-rigging-i2z7ngfn. Indeed, at
his deposition in the private civil case, the head of Deutsche Bank’s swaps desk from 2007 to
2012 invoked his Fifth Amendment right to avoid self-incrimination in response to questions
about his desk’s ISDAfix practices.
       107
              In re Credit Default Swaps Antitrust Litigation, No. 13-md-2476 (DLC) (S.D.N.Y.).



                                                127
to charge artificially inflated bid/ask spreads. In response, the CDS defendants (most of which

are named as Defendants here) allegedly conspired to squash this threat by agreeing in secret

meetings to, among other things, boycott the use of these new trading platforms. As a result,

according to the CDS plaintiffs, the defendants were successful in blocking the natural evolution

of the CDS market from an inefficient, over-the-counter market to a more efficient, exchange-

traded market, resulting in significant damages to those market participants who were forced to

continue paying grossly inflated bid/ask spreads.

        362.    The defendants in the CDS litigation ultimately agreed to pay over $1.86 billion

to settle those claims.

                               CLASS ACTION ALLEGATIONS

        363.    Plaintiffs bring this action on behalf of themselves and, under Federal Rules of

Civil Procedure 23(a) and (b)(3), as representatives of a Class defined as follows:

        All persons and entities who, directly or through an agent, entered into stock loan
        transactions with Bank of America, Goldman Sachs, Morgan Stanley, Credit
        Suisse, JP Morgan, or UBS in the United States from January 7, 2009 through the
        present (the “Class Period”). Excluded from the Class are Defendants, their
        employees, parents, subsidiaries, and co-conspirators, whether or not named in
        this Complaint.

        364.    Numerosity. Members of the Class are so numerous that joinder is impracticable.

Plaintiffs do not know the exact size of the Class, but believe that there are at least thousands of

class members geographically dispersed throughout the United States.

        365.    Typicality. Plaintiffs’ claims are typical of the claims of the members of the

Class. Plaintiffs and all members of the Class were damaged by the same wrongful conduct of

Defendants. Specifically, Defendants’ wrongdoing caused Plaintiffs and members of the Class

to pay inflated rates when they borrowed stock or receive unduly low rates when they lent stock.




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         366.   Plaintiffs will fairly and adequately protect and represent the interests of the

Class. The interests of Plaintiffs are coincident with, and not antagonistic to, those of the Class.

Accordingly, by proving its own claims, Plaintiffs will prove other class members’ claims as

well.

         367.   Adequacy of Representation. Plaintiffs are represented by counsel who are

experienced and competent in the prosecution of class action antitrust litigation. Plaintiffs and

their counsel have the necessary financial resources to adequately and vigorously litigate this

class action. Plaintiffs can and will fairly and adequately represent the interests of the Class and

have no interests that are adverse to, conflict with, or are antagonistic to the interests of the

Class.

         368.   Commonality. There are questions of law and fact common to the Class, which

questions relate to the existence of the conspiracy alleged, and the type and common pattern of

injury sustained as a result thereof, including, but not limited to:

                (a)     Whether Defendants and their co-conspirators engaged in a combination

and conspiracy among themselves to prevent the emergence of platforms that permitted efficient

electronic trading and clearing of stock loan transactions with real-time, transparent pricing; to

boycott emerging platforms and force customers to boycott them; to interfere with clearing

organizations’ agreements with emerging platforms; to jointly purchase and mothball emerging

platforms and their intellectual property; and to jointly prohibit real-time price disclosures;

                (b)     Whether Defendants’ conduct violated the antitrust laws;

                (c)     Whether the conduct of Defendants and their co-conspirators, as alleged,

caused injury to the business and property of Plaintiffs and other members of the Class;




                                                  129
               (d)      The effect of Defendants’ alleged conspiracy on the prices associated with

the lending and borrowing of securities in the United States during the Class Period;

               (e)      The appropriate measure of damages sustained by Plaintiffs and other

members of the Class;

               (f)      Whether Plaintiffs and other class members are entitled to injunctive

relief; and

               (g)      The appropriate injunction needed to restore competition.

        369.   Predominance. Questions of law and fact common to the members of the Class

predominate over questions that may affect only individual class members because Defendants

have acted on grounds generally applicable to the entire Class, thereby making a common

methodology for determining class damages as a whole appropriate. Such generally applicable

conduct is inherent in Defendants’ wrongful conduct.

        370.   Superiority. Class action treatment is a superior method for the fair and efficient

adjudication of the controversy. Such treatment will permit a large number of similarly situated,

geographically dispersed persons or entities to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, or

expense that numerous individual actions would engender. The benefits of proceeding through

the class mechanism, including providing injured persons or entities a method for obtaining

redress on claims that could not practicably be pursued individually, substantially outweighs

potential difficulties in management of this class action. The Class has a high degree of

cohesion, and prosecution of the action through representatives would be unobjectionable.




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       371.    Ascertainability. The members of the Class are ascertainable by applying

objective criteria to business records maintained by the Prime Broker Defendants and class

members.

       372.    Plaintiffs know of no special difficulty to be encountered in the maintenance of

this action that would preclude its maintenance as a class action.

              EQUITABLE TOLLING OF THE STATUTE OF LIMITATIONS

       373.    Defendants’ conspiracy was conducted in secret, since that is the only way it

could have prospered. Defendants also affirmatively concealed their anticompetitive conduct

from Plaintiffs and the proposed Class since the inception of Defendants’ conspiracy. As a

result, Plaintiffs and members of the proposed Class did not previously discover, nor could they

have discovered through the exercise of reasonable due diligence facts comprising their claims,

including facts concerning the nature of the injuries alleged above; facts concerning to whose

conduct their injuries were attributable; facts concerning when such injuries occurred; and facts

concerning the intent, formation, and execution of Defendants’ conspiracy.

       374.    Defendants’ wrongful conduct was carried out, at least in part, through means and

methods specifically designed to avoid detection and which, until very recently, successfully

eluded detection. In particular, Defendants participated in secret meetings and communications

whereby they agreed upon the course of anticompetitive conduct described in this Complaint.

These included private meetings of the EquiLend board, which are not open to the public, as well

as one-on-one meetings between Defendants’ senior executives. Plaintiffs and other members of

the proposed Class were not present at and had no way to attend or access the proceedings of

these secret meetings, and had no way of accessing Defendants’ other relevant communications.

Defendants also concealed their actions through the use of secret names and code words like

“Project Gateway” for their conspiratorial conduct.


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         375.   Plaintiffs had no reason contemporaneously to know or suspect that these

meetings were being used to plan and execute a conspiracy to stifle and boycott innovation.

Indeed, the significant and substantial efforts and investments of AQS, SL-x, and Data Explorers

along with the financial and other backing of market participants, see, e.g., ¶¶18, 157, 160, 162

185, 187, would not have been rational if Defendants’ conspiracy had been known. That

financial resources were prioritized for these initiatives by savvy market participants belies any

suggestion that Defendants’ actions were known to Plaintiffs or the class.

         376.   The very nature and structure of the securities lending market itself—an OTC

trading environment with Defendants serving as intermediaries—was designed and maintained

by Defendants. This structure made it impossible for Plaintiffs and other members of the

proposed Class to compare quotes or otherwise scrutinize Defendants’ bid/ask spreads.

Preserving this lack of price transparency is part of the reason Defendants conspired in the first

place.

         377.   In addition, Defendants publicly misrepresented to customers, potential vendors,

and the general public their support for a trading platform that could centrally clear securities

lending transactions. Through those false statements, Defendants actively misled Plaintiffs and

the proposed Class as to the true, collusive, and coordinated nature of their actions. Defendants

made these false statements with the purpose and effect of concealing their conspiracy to

preserve the opaque OTC market that enabled them to charge supracompetitive spreads for

intermediating securities lending transactions.

         378.   For example, EquiLend states on its web site that: “In 2000, a group of 10 global

financial institutions joined together, looking for ways to optimize efficiency in the securities

finance industry by developing a standardized and centralized global platform for trading and




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post-trade services. EquiLend Holdings LLC was formed in 2001, and the platform went live in

2002.” But as discussed throughout this Complaint, the Prime Broker Defendants used

EquiLend to achieve the exact opposite ends—i.e., preventing the opaque, over-the-counter

securities lending market from evolving into a more efficient, centrally cleared electronic

platform with improved price transparency.

       379.    As detailed above, Defendants also made repeated statements at marketing and

sales meetings concerning about their enthusiasm and support for the boycotted platforms and

entities. See ¶¶171, 209, 230, 237, 238. These statements were false and contrary to

Defendants’ coordinated, hidden plan to thwart each initiative. But they had their intended effect

of masking the conspiracy.

       380.    Other examples of affirmative misstatements made by Defendants that concealed

their conspiracy include, but are not limited to, the following:

               (a)     An October 2014 press release announcing that Morgan Stanley was

becoming a member of Eurex Clearing’s Securities Lending CCP, in which Susan O’Flynn

stated: “Morgan Stanley is supportive of CCP [central clearing] solutions for securities lending

such as the Eurex Clearing model as it allows us to preserve our client relationships and deliver

best execution with risk, resource and operational efficiencies.”

               (b)     An October 2016 interview by the Securities Lending Times in which

Thomas Wipf was asked how things were progressing with respect to Morgan Stanley’s central

clearing on Eurex, and where Mr. Wipf replied: “We have grown cleared balances meaningfully

since the inaugural launch and look forward to broader volume increases as new members come

online.”




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               (c)     An August 1, 2016 announcement by EquiLend regarding its acquisition

of AQS, where EquiLend CEO, Brian Lamb stated: “Momentum has been building in the past

two years in support of CCPs [central clearing] in the securities finance marketplace. Balance

sheet costs, risk weighting and tougher capital-adequacy requirements have highlighted to the

industry the potential benefits of using central clearing services. [. . .] By providing seamless

access to OCC’s Market Loan Program, the securities finance market now will have

unprecedented access to central clearing services.”

       381.    In reality, Morgan Stanley and the other Prime Broker Defendants did not want to

broaden participation in, and use of central clearing services for securities lending transactions

because they feared it would result in direct participation by buy-side firms. Nor did EquiLend

acquire AQS to provide greater access to central clearing; EquiLend acquired AQS so the Prime

Broker Defendants could control the gateway through which any centrally cleared securities

lending transactions would have to pass.

       382.    Defendants’ market power and willingness to abuse it to silence, punish, and

exclude those who dared to cross them is one important reason why their conspiracy was able to

operate under the radar until recently. As noted above, Defendants wielded their considerable

clout to bully and threaten even large, established entities in the stock loan market. See ¶¶18, 19,

191, 213, 215, 237, 243. This clout meant that even their more aggressive tactics could remained

unspeakable by those who feared retaliation. Defendants’ threats—and the power behind

them—kept those to whom they were directed quiet about the conspiracy they furthered. Those

who were targeted feared incurring the wrath of those Defendants on whose services and

relationship they depended if they did anything that would inform the market (including

Plaintiffs and the class) about the strategies to quash emerging market innovation.




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       383.    While certain statements made by Defendants at meetings with the boycotted

entities may, in hindsight and with the full knowledge of the broader market context, have

suggested the existence of the conspiracy, these statements, too, were unknown to Plaintiffs and

the Class. Moreover, they were at odds with the contrary representations Defendants made to the

public concerning their position on central clearing and market efficiency.

       384.    As a result of Defendants’ affirmative misstatements and acts of concealment,

Plaintiffs and the proposed Class had no prior knowledge of the conspiracy, or of any facts or

information that would have caused a reasonably diligent person to investigate whether a

conspiracy existed. Because Defendants planned and executed their conspiracy in private, in

fora shielded from public view, Plaintiffs had no reason to suspect that the terms of their stock

loan transactions reflected not market forces but anticompetitive collusion. Thus, all applicable

statutes of limitations affecting Plaintiffs’ claims and those of the proposed Class have been

tolled during the period of Defendants’ concealment.

       385.    Plaintiffs, either directly or through investment professionals and/or attorneys

they hired, regularly monitored their investments—including their activities in the stock loan

market—and conducted due diligence to try to avoid being harmed by financial misconduct

throughout the Class Period. Through these relationships, Plaintiffs endeavored to obtain the

best prices and return on their stock loan transactions.

       386.    Throughout the Class Period, Plaintiffs and their investment professionals and/or

attorneys regularly monitored new reports concerning the financial industry and the stock

lending market. Such efforts were made in order to invest wisely and maximize returns, but

practically speaking, there were substantial limitations to how much Plaintiffs and the class could

monitor prices in the opaque stock loan market.




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        387.    The foregoing allegations constitute a continuing violation of the antitrust laws,

including misconduct and recurring injuries within the limitations period. Accordingly,

Plaintiffs and the proposed Class can recover for damages suffered throughout the limitations

period, even absent a finding of equitable tolling or fraudulent concealment.

                                      CAUSES OF ACTION

                               FIRST CAUSE OF ACTION
        (Conspiracy to Restrain Trade in Violation of Section 1 of the Sherman Act)

        388.    Plaintiffs hereby incorporate each preceding and succeeding paragraph as though

fully set forth herein.

        389.    As alleged above, Defendants and their co-conspirators entered into and engaged

in a horizontal contract, combination, or conspiracy in restraint of trade to restrict competition in

the stock loan market and to jointly boycott entities that would introduce competition on stock

loan rates in the United States in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1. Such

contract, combination, or conspiracy constitutes a naked, per se violation of the federal antitrust

laws and is, moreover, an unreasonable and unlawful restraint of trade that lacks any

countervailing procompetitive rationale.

        390.    Defendants and their co-conspirators’ contract, combination, agreement,

understanding, or concerted action was without procompetitive justification and occurred within

the flow of, and substantially affected, interstate commerce.

        391.    Stock loan transactions are, and are widely perceived by those in the industry to

be, a unique financial product. The market for stock loan in the United States is treated as a

distinct financial market by market participants, government actors, and in economic literature.




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        392.    Other products are not substitutable for stock loan. Taking “short” positions on

equity securities that an investor does not already own requires that the investor first borrow the

security in the stock loan market.

        393.    The relevant geographic market is the United States. The Dealer Defendants,

however, dominate more broadly defined geographic markets as well, including the global

market.

        394.    As a direct and proximate result of Defendants’ scheme and concrete acts

undertaken in furtherance thereof, competition in stock loan transactions between Defendants

and their non-Defendant customers has been severely curtailed. Plaintiffs and class members

have been injured and financially damaged in their respective businesses and property, in

amounts that are presently undetermined. Plaintiffs’ and each class member’s damages are

directly attributable to Defendants’ conduct, which resulted in class members either paying

artificially high rates to borrow stock or receiving artificially low rates to lend on every stock

loan transaction they conducted during the Class Period. Plaintiffs’ injuries consist of artificially

inflated costs or deflated proceeds associated with stock loan transactions in the United States

caused by Defendants’ misconduct. Plaintiffs’ injuries are of the type the antitrust laws were

designed to prevent, and flow from that which makes Defendants’ conduct unlawful.

                                SECOND CAUSE OF ACTION
                           (Unjust Enrichment Under New York law)

        395.    Plaintiffs hereby incorporate each preceding and succeeding paragraph as though

fully set forth herein.

        396.    Because of the acts of Defendants and their co-conspirators as alleged herein,

Defendants have been unjustly enriched at the expense of Plaintiffs and the Class.




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          397.   Plaintiffs and the Class seek restitution of the monies of which they were unfairly

and improperly deprived, as described herein.

                                     PRAYER FOR RELIEF

          398.   WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Class of

similarly situated entities, respectfully request that the Court:

                 (a)    Determine that this action may be maintained as a class action pursuant to

Federal Rule of Civil Procedure 23(a) and (b)(3), direct that reasonable notice of this action, as

provided by Federal Rule of Civil Procedure 23(c)(2), be given to the Class, and declare

Plaintiffs as the representatives of the Class;

                 (b)    Find Defendants jointly and severally liable for the damages incurred by

Plaintiffs and the Class;

                 (c)    Award the Class treble damages;

                 (d)    Award reasonable attorneys’ fees and costs;

                 (e)    Award all available pre-judgment and post-judgment interest, to the fullest

extent available under law or equity from the date of service of the initial complaint in this

action;

                 (f)    Decree that Defendants and their co-conspirators have unlawfully

conspired to block the emergence of platforms that offered electronic trading and clearing of

stock loan transactions with real-time, transparent pricing in the United States in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1;

                 (g)    Decree that Defendants have been unjustly enriched by their wrongful

conduct and award restitution to Plaintiffs and the Class;

                 (h)    Permanently enjoin Defendants from continuing their unlawful conduct,

which has prevented competition from entering the stock loan market, a market valuable to not


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only Plaintiffs and class members but also to the nation’s financial system and broader economy

for the risk management and liquidity benefits it can provide; and

               (i)    Order such other, further, and general relief as is just and proper.




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                                        JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs, on behalf of themselves and

the proposed Class, demand a trial by jury on all issues so triable.


DATED: New York, New York
       November 17, 2017

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